Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 1 of 130 PageID #:1141




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   MARY pwirruLA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                           Plaintiffs,

            v.


   BED BATH & BEYOND INC.,

                           Defendant.



                                DECLARATION OF BRIAN SNELL

       I, Brian Snell, based on my personal knowledge       the lads stated herein, testily by

Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testily to the matters

contained in this Declaration, and if so called, would testily to the lads below.

       2.        All of the statements in this Declaration are true and accurate to the best or my

knowledge.

       3.        The facts set [brill in this Declaration are based on my own personal knowledge.

       4.        I became employed by Bed Bath and Beyond Inc. (- BBB- ) in 2003 as a

Department Manager.' I was then promoted to a District Customer Service Manager in or around

2004, and to a District Human Resources Manager in or around 2005. Presently. I am a Regional

Human Resources Manager or the Northeast Region and have served in that role since 2006. My




 The Company no longer employs Department Managers.


                                                  1
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 2 of 130 PageID #:1142




territory in the Northeast Region includes stores in New York., Connecticut, and New Jersey.

There are currently 75 stores in my territory or the Northeast Region.

       5.      Six of the Plaintiffs in this action worked in my stores during their time as

Assistant Store Managers. These Plaintiffs are: Brad Brede; John Dunne; Chris Dykeman; Lori

Forde; Danielle Reha; and Daniel Kehoe.

       6.      When Assistant Store Managers warn or discipline associates, they must do so in

writing, and copies of the same are maintained in the personnel files of the associates that receive

the warning or discipline. Attached hereto as Exhibits 1. 2. and 3 are true and accurate copies of

documents from various associates' personnel tiles of John Dunne, Danielle Reha, and Daniel

Kehoc's warning and disciplining of associates.

       7.      Assistant Store Managers are also required to complete performance reviews for

the associates they supervise. Copies of these performance reviews are also maintained in the

personnel tiles of the associates that receive the performance reviews. Attached hereto as

Exhibits 4, 5, 6, 7. and 8 are true and accurate copies from various associates' personnel files of

performance reviews conducted by Brad Brede, John Dunne. Chris Dykeman, Danielle Reha,

and Daniel Kehoe.

       8.      Assistant Store Managers also assist in hiring and firing store associates. Copies

of associate applications, reference checks, and documents relating to an associate's termination

are maintained in the personnel tiles of the associate. Attached hereto as Exhibits 9. 10. 1 1. and

12 are true and accurate copies from various associates' personnel fi les or documents relating to

John Dunne, Lori Forde, Daniel Kehoe, and Chris Dykeman's assistance in hiring and firing

store associates.
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 3 of 130 PageID #:1143




       9.     When Assistant Store Managers are disciplined or terminated. Store Managers

usually document the discipline and a copy of the warning or discipline is maintained in the

Assistant Store Manager's personnel file. Brad Brede. Danielle Reha, John Dunne, and Chris

Dykeman were all disciplined on more than one occasion and/or were ultimately terminated.

True and accurate copies of discipline and/or termination related documents from Brede, Reha,

Dunne, and Dykeman's personnel files are attached hereto as Exhibits 13. 14. 15 and 16.

       10.    Specifically, Brad Brede was terminated for violating company policy when he

borrowed money from two other Assistant Store Managers. and attempted to borrow money from

one of his subordinate associates. 1 had been told that the reason for Brad Brede's requests to

borrow money were to cover his gambling debts. However, when questioned about the incidents,

Brad Brede claimed that he needed the money to move out of his house and lease a car due to a

divorce.

       11.     Danielle Reha was terminated for violating company policy when she hosted

parties at her home to promote and sell Pampered Chef products, which are competitive to

BBB's products and demonstrated a conflict of interest in her role as a senior manager with the

Company. Further, at her request, several of Danielle Reha's subordinates attended the party.

       1 2.   Chris Dykeman was terminated for misconduct when a $1,200 deposit went

missing from his store.



       I declare under penalty of perjury that the foregoing is true and correct.




                                                 3
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 4 of 130 PageID #:1144




Executed this   day of December, 2017.



                                         Br an S ell
                                           gioppal Human Resourc    anager
                                         B d-tath and Beyond- nc.




                                         4
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 5 of 130 PageID #:1145




                       EXHIBIT 1
             Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 6 of 130 PageID #:1146



                                                   ASSOCIATE DISCIPLINAW: NOTICE
                               REDACTED
        Associate's Name                                                       Date:

        Date of hire:                                            ss# : xxx-xx 157                         Store II:
                                                                        (Iasi four digit-on

        Circle one:                 Termination                                Warning

        A. Reason(s) for notice (check applicable reasons and exp 111- lise tion B):
        I. ( ) Absence (indicate if unreported, excessive, etc.)  4. ( Failure to follow directions
        2. ( ) Tardiness                                          5. ( ) Violation of company rules
        3. ( ) Improper conduct                                   6. ( ) Other




     B. Facts leading to the discipline (Be specific, stating detailed exp:anation of incident, date/time of incident,
     witness(es), rule violated, etc; refer to any
                                                 . previot s verbal nnflifIr
     warning(?)                   d ,i \ 1)9 q 1      1            f        fn REDACTED
      ,t, J     ft‘rvt- O              c ,,r,._, (WI--          v   Cfi       itantes/-1 1,10(ri
REDACTED                                                                   ► ►vw il        le.
                          vv-t_sn             Ottn c)                        VNS   Cc<                 Y—P      v%)
                                                   vi\eg



         C. Describe       e Company's expectations of associate: ,                     kick                                         _a   REDACTED
                           {'npaNQ i a     CA w\'‘''Ri eA--Prhr                                0 v‘
                    -r               crag    1-\10v\ p   AC cA‘()\44A



         D. Next disciplinary step:
                                                                                                                                                'I
                                                                                                                                 ,

                                                                                                  I
                                                                                                  REDACTED

         Manager's Name                Date            Mana4                    Date                  Associate's Signature Date
                                                                                                      (This signature indicates that
                                                                                                      9ssociate is aware of this notice.)
                                   ore,
        PAX\ k'9
           an ager's Signa re          Date
                                              (2
                                                           nager's Signat e      Date

         (Once completed and sinned, file in associate's personnel file.)
                                                                                                              I IR 026A II/I I
       Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 7 of 130 PageID #:1147
                                           ASSOCIATE DISCIPLINARY NOTICE
                         REDACTED
 Associate's Name:_                                                      Date:    LV/S' 7, (,

 Date of hire:        99E// $                             SSil : xxx-xx                         Store #1:
                                                                 (last four digits only)

Circle one:                   Termination                                Warning

A. Reason(s) for notice (check applicable reasons and explain in section B):
1. (00 Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
2. ( ) Tardiness                                           5. ( ) Violation of company rules
3. ( ) Improper conduct                                    6. ( ) Other




B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
witness(es), rule viol led, etc:, i efer to any previous verbal and/or N ritten
wamin s).) •PA -1/4-                       bx,6_,REDACTED                       h k y ivi 15/14        ScitAck,.k,
              • Y/2.- /u • yli                          ylr 7 7/         .44                  2 A67,--,7,
 31                   31,24/ /6 .                                 A.„,_ervIL e/j




C. Describe the Company's expectations of associate:                                                    cA 64 &,          L„v-
    czr                                                   .11)                                           pti,4            eCAtrttk_____
  iv      Gil etik.



D. Net discipl          ry step: ,             t/A-04.4,144;-,/,
al a% 4.-1:-.             c              y,..tt=4A.e                     1;7             Gi"2-,/t'a
                                                                                             ira-CGAwil
Art-4                      1                                                   /Li


                                                                                           REDACTED
                                clal          tAln e)14--c-0:11-ry i-f71-7.-(41 16
Manager's Name                 D to            Manager's Name             ate              Associate's Signature Date
  1                                                                                        (This signature indicates that
                                                                                           associate is aware of this notice.)
                                                                            z-i      6
Ma ager's Signature            Date                 ager's                 ate

(On, • completed and signed, file in associate's personnel file.)
                                                                                                  HR 026A 11/11
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 8 of 130 PageID #:1148


                                               ASSOCIATE DISCIPLINARY NOTICE
                  REDACTED
Associate's Name:.                                                                     Date:     yAikt ,

Date of hire: V1/.06-.                                              SS# : xxx-xx 3S                             Store II:   /7- Y6
                                                                          (lastfour digits only)

Circle one:                    Termination                                             Warning
                                                                                                  r
A. Reason(s) for notice (check applicable reasons and expo section B):
I. ( ) Absence (indicate if unreported, excessive, etc.) 4. ( ) Failure to follow directions
2. (/. Tardiness                                         5. ( ) Violation of company rules
3. ( ) Improper conduct                                  6. ( ) Other




B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
                                                                    i nr Axil-if-14n
                                                           ..a_I :An_v
witness(es), rule violated, etc; refer to any previous ve.rI,
warning(s).) 62-/N. ,a-t- Ark:                         REDACTED                        I—,             ,Z.
                                          '. ,4-'-''
  _J-e6-7--/,--3 .a -j-, -• (' c// /4 / 6 -//zd//c- /                                Y  Z, a . 1 .-   -X.."."
 ,.;(6, 4,. /ss.   ..4z.o..e        .0,...v-   14...-6-,....--ti..c...-tq .




C. Describe the Company's expectations of associate:                                 1'1- A .0(1 22.-,- ..x         en Al-A-          g
                                                              6.../tALL:ka    71
                                                                               .-;     Ara
 0 -Lk- /N-        iii    Arrt-


D. Next discipli ary step:             a          v,-„e„,..t-c<7,,                                                                    eteit-4N—
&Lel, 4,                                                                                                                     jL t

                                                                                                                  114

      -7b                                  ,647'At-LA-444.0                                           I     2




                                                                                                          REDACTED
              „A../               4/ 11/G                I ovt,                  10,4
                                                                                   Date
                                                                                        601C
                                                                                                          Associate's Signature Wale
    'lager's Name               Date                   anager's Nam
                                                                                                          (This signature indicates that
                                                                                                          associate is aware of this notice.)
                               "1                                                        (// ) 0C
Ma ager's Signature             Date                v anager s Signati e                Date


(Once completed and signed, file in associate's personnel file.)
                                                                                                                   FIR 026A I I/I I
    Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 9 of 130 PageID #:1149



3
          BED BATH &                               "ere 'ALUES                                    Clie
                                                                                                     siVops
                                                                                                                                          bilYbU3r


                                                                                                                                          A          • s.
                                                                                                                                          Mi=lagEENSWEIM
          Beyond any store of its kind:




                    Note File
                                              REDACTED
                   Associate's Nam+                                                     Date of hire:
                   Store #:          /.2y 6
                   Date: ito /.2 7 //I



              REDACTED
                                                   6-111.(' 4/&11-14- • 5- 4.41r        REDACTED
                                                                                             TED
                   A,,i6            S      aAys-    1,1 UGC      _   J  sPol4 e  p ,14.


                    ffrick      _0 ic   V(,9/,v        -414-1-A             ivivic                        v- c    71 hI LL.

                                                       o'ci4                                        Ad/el            oit
                    r),„i

                  0144A— el.C A                    44.C.4      _              0, (/`/' e )          le /114N-7(



                   of                                 piil                   /;,,/                                                  N,i

                                    414A                           PA   •
                   vie 1?
                   Ni F`c   ii(07




                                   -4-   Asfn._                         (once completed angsigned, rile in associsto's personnel file.)
                1Vianager's Printed Name /'title


                                                   J 7/
                Mau ger's Signature
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 10 of 130 PageID #:1150



                                                  ASSOCIATE DISCIPLINARY NOTICE
                 REDACTED                                                             Date: 1/3/2017
Associate's Name:

Date of hire: 3112115                                             SSN       xxx-xx                              Store #: 1246
                                                                           (lagfinir

Circle one:                    Terminat ion                                           Warning

A. Reason(s) for notice (check applicable reasons and explain in section [3):
I. ( 4) Absence (indicate if unreported. excessive. etc.)  4. ( ) Failure to follow directions
2. (t,..) Tardiness                                        5. ( ) Violation of company rules
3. ( ) Improper conduct                                    6. ( ) Other



                                                               REDACTED
B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident.
witness(es), rule violated. etc; refer to any previous verbal and/or written
warning(s).) Since last conversation on October 18th about her attendance as been late to work 14 times, and missed work 5 times.
On 10/26 and 10/27 she called out sick. She was late 11/8 and 11/16, and called out again on 11/21. In the month of December , Rosanna was late 12/1
12/2, 12/5, 12/6. 12/12, 12/13 12/14, 12/15, 12/16, 12/19/ 12/27. and 12/30. She also called out sick on 12/9 and 12/26.




C. Describe the Company's expectations of associate: It is Expected of                                    to show up for her scheduled shifts on time,and
not to call out excessively




D. Next disciplinary step:               Any violations of these rules or any other action, which in the opinion of management is detrimental to the
orderly conduct or integrity of the business, will result in disciplinary action. up to and including immediate termination of employment.




                                                                                                              REDACTED                          13((°
                                  dli/                                            N--     If(75/1`)
Manag is Name                        ate              Manager's Nat                Date                   Associate's Signature Date
                                                                                                          (This signature indicates that
                                                                                                          associate is aware of this notice.)
                                                                                  DroN
Ma ger's Signature                D to                   anager'. Signat          •    Date

(Onc'e completed and signed. lilt in associate's personnel lile.)
                                                                                                                     I IR 026A I I/I I
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 11 of 130 PageID #:1151



                                             ASSOCIATE DISCIPLINARY NOTICE
                  REDACTED
Associate's Name:.                                                              Date:      Vi/L7

Date of hire:       (11771                                      SS# : xxx-xx
                                                                      dam jinn. digits ?n40
                                                                                                    Store 4: id&


Circle one:                   Termination

A. Reason(s) for notice (check applicable reasons and explain in section B):
I. (X) Absence (indicate if unreported. excessive. etc.)   4. ( ) Failure to Ibllow directions
2. ( ) Tardiness                                           5. ( ) Violation of company rules
3. ( ) Improper conduct                                    6. ( ) Other


                                         REDACTED

B. Facts leading to the discipline (Be specific. stating detailed explanation of incident. date/time of incident.
witness(es), rule violate . et refer to any previous verbal and/or written
warning(s).) 0A1 V qi,7,                    r),4,./eDi iv _s-4„, 44,0 4- A .5 fel.e-AulA SII: Fr - ne-
 itif A IPA 1,1-5 Alf 'I-     4-42-    -
                                    6)01  fewne  na -4-- Iv eigt)Cu 4,...i sAi'r 1" 44 PAI/d),i1- bx ,...,2&-t
 -gz Pcit.sb, /u' sAr,0 A-e ?or i-h 6- vet_ .7r4 ; 0 A& tiAj tut/4/(10 Cinf-A-, 74<'.1 /e!-i
44.0 slwit_e__ /.../ ' .00 Pos ,Ho,/ o,, .' &A i ,1 -rwa 6Aki / 4..r1) M r Ce14 C) CIA 111,4, et- Se, e i , 4-
  //I/ A A✓/l nepl,..< Ivey,



C. Describe the Company's expectations ol'associate:                                     erciec/e.a04
                   Arfoc. A                1011   4".1     1,,44c_,    .5     Au                 e,„./   (2A..   c3 1  10 A/ PA-       / e t A 0...e I

      Set        C LV


D. Next disciplinary step: /by,/                  //,e.):,, ,,-ma OF Via?, tekle-f DA-          ,tipiy                                  04:41.
 iN 114_                          op   ,4'i v,4     .            i)          t                             1-0k e. a         cniJ.t. i...cff
 ie./ 40 cit.,          or=    44-b<L S           4_11 /               de St, r   1./   S,-(Ct,(4/4A      dt/hlW            (.4 /1 k          viA4
                                                                                                                        I
                                  •                                          e-Aty




                                                                                                                    A
                                                                                         /i   REDACTED
                                                                                                Associate's Signature Date
                                                                                                                             ‘IIt       fi
Man pie 's Name                   Date             Man.
                                                                                                (This signature indicates that
                                                                                                associate is aware of this notice.)
                              q
Man' ger's Signature              Date                                Signa


(On   completed and signed. rile in associate's personnel file.)
                                                                                                         I lit 026A I I 1 I
     Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 12 of 130 PageID #:1152



                                                  ASSOCIATE DISCIPLINARY NOTICE

Associate's NameREDACTED                                                                    Date: 5/1/2017

Date of hire: 2/10/15                                                 SS/I : xxx-xx .2                                      Store #: 1246
                                                                             dam /our digris onlp

Circle one:                     Terminal ion                                                 \\lamina

A. Reason(s) for notice (check applicable reasons and explain in section B):
I. ( ) Absence (indicate if unreported, excessive. etc.)   4. ( ) Failure to follow directions
2. ( ) Tardiness                                           5. ( ) Violation of company rules
3. t   Improper conduct                                    6. ( ) Other




B. Facts leading to the discipline (Be specific, stating detailed explanation of incident. date/time of incident,
witness(es). rule violated. etc: refer to any previous verbal and/or written REDACTED
warning(s).) On 4122/17, a customer visited the store and filed a customer complaint over poor service and conduct performed by I 'vas observed through

video handling the sales transaction with poor body language, and utilizing her cell phone for unauthorized uses, also not satisfying the customer for the price
discrepancies over/under 55.00, which all cashiers have been trained and empowered to do .  f has been spoken lo previously by SM
          and ASM John Dunne concerning other customer complaints regarding her exhibiting poor service at the Front End prior to this complaint on
2/10/17 and 2/11/17




C. Describe the Company's expectations of associate: It is expected of all Bed Bath and Beyond associates to follow all rules and
training policies in regards to customer service in the store.




D. Next disciplinary step:             Any further violation, or any other violation which in the opinion of management is detrimental to the orderly conduct and integrity of the

business, may result in further disciplinary action, up to and including immediate termination of employment




                                                                                                     // 7           REDACTED

                                   Date                Manager's Name                       Date                     As4iite's SigYature Date
                                                                                                                     (This signature indicates that
   7                                                                                                                 associate is aware of this notice.)
                                          I/1-1
Manager's Signat r                 Date                Ma ner's Signature                     Date

(Once completed and signed. lily in associate's personnel
                                                                                                                                  I    02611 I I I I
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 13 of 130 PageID #:1153




                       EXHIBIT 2
       Case:
2017-07-22   1:17-cv-05124 Document
           00:12             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 14 of 130 PageID #:1154
                                                           16319824728              P 10/45




    BED BATH &                            "FACE VALUES""                           frees ops
    BEY0111111304
    Beyond any store of its kind:



              Note to File


                                          REDACTED
              Associate's Name:                                       Date of hire:
              Store #:
              Date: ),P.,) P-1)

                                                                        REDACTED
                                    i(4               2,Pb)C.° 1-1:3                                     or)
               Re ciao. oL,C                Qc       uSizifrui               ti)         )(1,ZryF                         .


                     . ,„,frynAAs L, REDACTED
                                                                )e-vo ciLeA    pr•Le 8
             (
            • -r-cuLe                             rilutin                ()icy)
                                                                                               REDACTED
                         oa(A
                 a) \_.0,1r                      6t,v))-(4)ASA      ,S'011(t, .ocit C_3 SU.
                                                       ,si‘ - rxit) /                                                ti
                       ..nqtriA                        7a      1     ,c) s ,(-17)


                          )22 i)        01  14                (Ones completed find signed, filo in aueociato'8pccsorRicigic.)
              Manager's Printed Name /Title

                        Ac,L)
                       )( --Q                       tqi ((—
              Manager's Signature                   Date
        Case:
2017-07-22    1:17-cv-05124 Document
           00:19              Store ##:0260
                                        61 Filed: 12/20/17
                                            5167948677   >>Page 15 of 130 PageID #:1155
                                                            16319824728              P 30/45




     BED BATH &                     "FACE VALUIEck'                   C4144mii,
                                                                       Tree8 °Ps
     BEYOINIM
     Beyond any store of kind!
                        its




              Note to File

                                    REDACTED
              Associate's Name                                 Date of hire:
              Store
              Date; 511a) ((:)


               ounw                                                                      11.o
              OLIciPdLne)             09p1<__nt      ().nr-mir -apecfc4-noo
             2         L_Ri-ft.1l
               G                        p               5tyltn+-
                 CA,                                  (00,11                                        _




                                                                -1 1i1 64f




                                                       (O we completed and elgoed, filo in associate's pevsonnel file.)
              Manager's Printed Name /Title

                                        Z116 I R,0
              Manager's Signature          Date
       Case:
2017-07-22   1:17-cv-05124 Document
           00:21             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           16 of 130 PageID #:1156
                                                            16319824728              P 36/45




    BED BATH &                               wgi:CL ALuEs- CT41.070D5
    BEYONIElli
    Beyond   ony store of its kind:.




               Note to File

                                             REDACTED
               Associate's Nato ,                                         Date of hire: 3\a5) 1(-49
               Store #:
               Date:
                                                 REDACTED                                            REDACTED




         REDACTED

                serl                                                                  REDACTED..
                                                ,)n          or                                               s ,nzv
                S\r\C
             REDACTED


                                                                              S                   1‘./     0    t-'1
                                                                          REDACTED                      r_zLiocoi

                         \ 5-C,        0,-     QiCA.W\r\          -cNN.J2kr\ R_,,w(*)ruo.AILLA

                                                                  (Once completed and signed, file in associate's personnel 1510.)
               Manager's Printed Name /Title


                  anager's Signature                  Date
       Case:
2017-07-22   1:17-cv-05124 Document
           00:21             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 17 of 130 PageID #:1157
                                                           16319824728              P 37/45




             cc-2:)coe       -\\               A\D (1)76 .--ro

                                       - -\\(\cv                                     \Yu.
                                                   REDACTED
                          0\i.):•)n     Aor\03-

                           .)
         REDACTED                                                      \   c.)      \ r \ r•- •
                                                                                            1t    l




                             (Do_nct--t,e.,
                                 cA_)       orc 11)                                  r
          REDACTED
                                       ci\           (_x)c-A.cs
                                              ikrAfREDACTED
                                                                           _,e)<J \--)c
             \\D                   S                     d                       (2./..c    04
                                                                  On
       Case:
2017-07-22   1:17-cv-05124 Document
           00:16             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 18 of 130 PageID #:1158
                                                           16319824728              P 22/45




    BED BATH &                                E AWES'                             rtsimks
                                                                                 reesnoD5
    BEIIONIEW
                                     HrikC
                                      d



    Beyond any stars of its' kind:




              Note to File

                                     REDACTED
              Associate's Name                                     Date of hire:
              Store #: a()0
              Date: 75/10) I (0


                 On           51 )01 ik REDACTED               o t nct

                                                        oiccu-Y \ru_,A Ea_e(auxiy--
               ectt)                         REDACTED




               um\ arc) 7)pkr)        7,w10,1
                     -r1(-)0,L___„:y_i                                                                        •
               C-11          (J300_1L anc:
                                              u1-ed



             banl d I CR-Qhc.,           rth               (Once completed and signed, file in associates personnel file.)
             Manager's Printed Name /Title

               0),LIM
              Manager's Signature                Date
       Case:
2017-07-22   1:17-cv-05124 Document
           00:22             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           19 of 130 PageID #:1159
                                                            16319824728              P 41/45




    BED BATH.&                          FACE ALUES"                        4ittsimks
                                                                             reesilms.
    Beyond ony store of its kind:




              Note to Fite

                                        REDACTION
              Associate's Name:                                 Date of hire: 10- )                    11

              Store #: c-̀ 1.0
              Date: 51 ) -kc,



          REDACTION
                                                        C                           (Iv
                                    REDACTION
                                                    o cur\rve_                        t)co_x



                                                                      REDACTION


                                    o



                      c,c)aan cz_n_Ot
                       TAJI I                                                 11.




                                                         (Once completed and signed, 510 associate's personnel file.)
               Manager's Printed Name /Title

                w
               Manager's Signature              Date
       Case:
2017-07-22   1:17-cv-05124 Document
           00:22             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 20 of 130 PageID #:1160
                                                           16319824728              P 42/45



                                                     ASSOCIATE DISCIPLINARY NOTICE
                              REDACTED                                                                                         11
     Associate's Name                                                                     Date:' 114E0'J                 I

     Date of hire: 10/25/2011x                                        SS# : xxx-xx                                   Store #: 0260
                                                                            (last four digits only)

     Circle one:                    Termination

     A. Reason(s) for notice (check applicable reasons and explain in section B):
     1. ( ) Absence (indicate if unreported, excessive, etc.)   4. (X) Failure to follow directions
     2, ( ) Tardiness                                           5. ( ) Violation of company rules
     3. ( ) Improper conduct                                                              6. ( ) Other


                                                               REDACTED

     B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
     witness(es), rule violated, etc; refer to any previous verbal and/or written
     warning(s).) On 06/24/2016, Danielle Raha and                           spoke to Ashley about her dress code.            acme to work wooring 3 See through
     white tee shirt.        vas spoken to on 05/11/16 by Danielle about her dress code. On that day, she also came In wearing a different see through shirt,
     it was explained to         that she must follow dress code.




     C. Describe the Company's expectations of associate: All associates must be in dress code.




     D. Next disciplinary step:
     Danielle and    reiterated the expectations that BB has for all associates and made it deer that any reoccurrence of this or any other violation
     of company policy, inconsistent work performance, or any other action, which in the opinion of management Is detrimental to the orderly conduct or
     integrity of the business, will result in further disciplinary action, up to and Including Immediate to mination.




                                                                                                              REDACTED
               Raha                     0601/16            Skip Schumann                   08/24116
     Manager's Name                     Date               Manager's Name                  Date                 Assobiate's Signature Date
                                                                                                                (This signature indicates that
                                                                                                                associate is aware of this notice.)
                                           2,q1 ty,                                 -3,44
     Manager's Signature                Date               Manager's       Signature Date

     (Once completed and signed, Lilo in associate's personnel file.)
                                                                                                                             MR 026A I 1/11
       Case:
2017-07-22   1:17-cv-05124 Document
           00:20             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           21 of 130 PageID #:1161
                                                            16319824728              P 35/45


                                                          ASSOCIATE DIS(APIAINARY NOTICE
                                   REDACTED                                                      Date: i1/05/16
     Associate's Name:

     Date of hire: 05/16/10                                                SSIP ; xxx-xx                                   Store II:no
                                                                                      finir

     Circle one:                        Termination                                    (          Warning

    - A. Reason(s) for notice (check applicable reasons and explain in section 13):
      L (SO Absence (indicate if unreported, excessive, etc.)    4, ( ) Failure to follow directions
      2_ (-A") ' 'art( i floss                                   5. ( ) Violation of company rules
      3, ( ) Improper conduct                                    6. ( ) Other


                                          REDACTED

         l'acts leading to the discipline (Be specific, slating detailed explanation of incident, date/time of incident,
      witness(es), rule violated, etc; refer to any previous verbal and/or written
      warning(s).)      was late 1 horn HIM 4S ininutoti on 11105116. watf. $pnIceri In about ids ntleildenco on 00/28/16 and given written waminu




     C. Describe the Company's expectations of associate: And Rath and Beyorkl expects all employees to be at work on lime !or their




      D_ Next disciplinary step:                Any reoccur/el-me of h its or any oilier violation of company policy, inconsistont work pOlfOrMCMCO, or any other
      ROHM), wittili   In lito opinion of management Is detrimental In the orderly conduct or Inluyrlly at 11w Liwinotio will mull In further dlecIplinery nction Lin ro nod
      including Immediate termination.




                                                                                                                     REDACTED
      Dardellu Holm                         uffivm              Robert Cain                           11(0-5/10

      Manager's Name                        Date               Manager's Name                     Date                Ass'oeiateg Signature Dale
                                                                                                                      (This signature indicates that
                                                                                                                      associate is aware of this notice.)
        kli0     1216-N II`    4)                                                    —1,L,.-•-• • •
      Manager's Signature Date                                        tiger's igna lure                Dale

      (Once cm/10mA and signed, file in associaLe's personnel file)
                                                                                                                                 Hit 026A I I/11
       Case:
2017-07-22   1:17-cv-05124 Document
           00:23             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 22 of 130 PageID #:1162
                                                           16319824728              P 43/45


                                                     ASSOCIATE DISCIPLINARY NOTICE
                     REDACTED
    Associate's Name:                                                                     Date: 01 /18/2017

     Date of hire: lorz5aoli
                          •                                           SS# : xxx-xx                                  Store 4: 260
                                                                            (lastfour digits only)

    Circle one:                     Termination                                           Warning

    A. Reason(s) for notice (check applicable reasons and explain in section B):
    I. ( ) Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
    2. ( ) Tardiness                                           5. ( ) Violation of company rules
    3. ( ) Improper conduct                                    6. ( ) Other


                                        REDACTED

    B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
    witness(es), rule violated, etc; refer to any previous verbal and/or written
    warning(s).) On 01/1812017, Danielle and spoke to, about her dress code, came to work on 1/17/17 not in proper dress code. was
     wearing a shirt that said STAR WARS in big letters, and the whole front of the shirt was a graphic scene from the movie. The shirt had a hood.
     was told she could not work in improper dress code, she left for the day and did not work her shill.            las been spoken to on 05/11/16,
     06/24/2016 and 08/20/16 about not being in proper dress code.




    C. Describe the Company's expectations of associate: BBB expects all associates to be in proper dress code at all times.




    D. Next disciplinary step: Danielle and                  reiterated the expectations the BBB has far all associates and made it clear that any
    reoccurrence of this or any other violation of company policy, Inconsistent work performance, or any other action, which in the opinion of
     management Is detrimental to the orderly conduct or Integrity of the business, will result in further disciplinary action, up to and Including
     Immediate termination,



                                                                                                              REDACTED

     Craig Donohue                      011141117         Danielle Reha                   Mn WW

                         me            Date               Manager's Name                  Date                Associate's Signat1Jre Date
                                                                                                              (This signatui n icates that
                                     1 .                                                                      associate is aware of this notice.)

       anager s         =nature        Date               Manager's Signature
                                                                                      Q
                                                                                          Qte
     (Once completed and signed, file in aSsOelate's personnel file.)
                                                                                                                         RR 026A 1 1 /1 1
        Case: 1:17-cv-05124 Document
                             Store # #: 61 Filed:
                                     0260         12/20/17
                                           5167948677   >> Page                     P 44/45
                                                                23 of 130 PageID #:1163
                                                           16319824728
2017-07-22 00:23


                                          CNAIIM011^

                                                                   WE `r                      glair s
                                                                                             pee ops'
         boyeitattni( 4i3re




                   Nate Ile

                                          REDACTED
                  Assoolato's Name:                                             Date! of Sarre:
                  Store #: c/-Y-0
                 Date:        ,Y)

                                                             REDACTED

                REDACTED                                     .     ,      ..)
                                                                       r+:                                    •
              REDACTED

                                      -                  • n,                 r ( 110-0 con,,..


             (it   r 01 -7L) ,,ck.x=5k.1(      cs3acc).
                   hac.-1                 cfc.
              Unclor                   u=1Qui    not, clatc__,

                                C.             -11)
                 U'ACIL,-
                        11 .k) I-Li:Sty), (110
                    )( REDACTED


            1 -An I'd                                              (Om* cmptoted nixlisigrior1,111D ill asvo Wares peronnol
                  ei'93 P 'nted.,A0     e fntle
                                (c_ze                        i'•
                vilagerla Signature                    ate
        Case:
2017-07-22    1:17-cv-05124 Document
           00:23              Store # #: 61 Filed:
                                       0260        12/20/17
                                            5167948677    >> Page 24 of 130 PageID #:1164
                                                              16319824728              P 45/45




               }ty::41- n(fe,___«x:tui        _..4 (-_ .L.r.-y_i) f-)0)--
                (_..e.)ixw-)ci Viy:-.,c_..K... ___,CA .,_.Lx)(.,ccc_,(.rA-.V.-)1,( \
              Ci..Icit:e, \ ,--2i-.:_.-. -.3. _...1/ 0.17-)c.1 (r).suut.:-_1-:_w_c_)11.r-x_.:21-fc',.
        Case:
2017-07-22    1:17-cv-05124 Document
           00:09              Store ##:0260
                                        61 Filed: 12/20/17
                                            5167948677   >>Page                      P2
                                                                25 of 130 PageID #:1165
                                                            16319824728



                                                 "A.m.
                                                  FACE:VALUES"                                                Fees
    Nyond any st6re rjF as kiner



              Note to File


                                                  REDACTED
             Associate'g Name: ,                                                               Date of hire;
             Store IIL_ 7 _
             Date:                  k
            REDACTED
                                                            L. la

                                    •
                            44
                 1 ,k‘' k        --Cid.-                S           (31--‘61 t '


                                                                           •(A_J      1C-(5-           !k--    •                      t-, ,vc
                                                                                                                                            <     •
                            1- ka            CIA (f.(




                                                                                   (OrLnf oonipleted and3igned, Lilo in. tissocinten peuonotl fitis) •
            Manager's irited ►*line /Title
                       n.
                                        yA
                onager's Signature
       Case:
2017-07-22   1:17-cv-05124 Document
           00:22             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           26 of 130 PageID #:1166
                                                            16319824728              P 40/45




                                                                                                 Nirbuy
      BED BATH &                      "FACE VALuEsn' Ctisin oDs
     BEYONSINOw
     &wand any Mara a I13 kind:




              Note File

                                  REDACTED
              Associate's Nair                             Date ofhire: _
              Store #:       0    b
              Date:
                                                         REDACTION
                                                                                   (1)
              a_                                          v)AA                    mY4

                                                   ,tts                                       •\7)m-----   -
               (At+                lyq /1.0 CVC1
                                  (n o/ REDACTION

                                             ()a

              ri^,) a.noLuo                             6,x)9AL-
                     v(-•


                                                   Once complacd and *nod, fllo in associates pauonncl


                                         it` icy
             Manager's Signature             Da
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 27 of 130 PageID #:1167




                                                                                                      0.1114MMS titollegUill301




                                                                                                        1 :4 111Fa
            (.oil; louuanicf omujooniII! om. ytrifis puu pz1914.141.105ai,10).
                                                                                        \ (517   11




               -4(12.1.(ffic.                                                                Ciq              TYWal
                                                                       'qr-9141-•       (PA-
                  ceiovcoei p• -2)T77r,                                      . ic,p7a7C4c1             ()(25Rb-d
                              c.)W":7
                                                                                          :)c)                   )
                                                     aDr

                             0310VGal                                            6 7(1

                                                                                                 714:100 (k
                                                                                                  cny                -://: oREtS
                                         :01F110 21Ua                                            OLIKIN SMO!OOSS            V
                                                                                 0310VG2e1




                                                                                                        M 010

                                                                                                         .PUP 41l.4v aico Aun iemo/Coo



                                                                                                         'T2HMI 'MEI
                                                                                    '




SV47 d                     92th286404 << 219847619LS 0920 # 0-104.S                                                           04:00 22-2.0-L402
       Case:
2017-07-22   1:17-cv-05124 Document
           00:21             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           28 of 130 PageID #:1168
                                                            16319824728              P 38/45


                                                     ASSOCIATE DISCIPLINARY NOTICE
                                 REDACTED
     Associate's Nal=                                                                    Date: 04/25/201/

     I.)itte, or hire: 11/18/2015                                     SSit    xxx7xx                           Store 11: 0260
                                                                              Oast!bur digits only)

     Circle one:                     Termination                                         Warning

     A. Reason(s) (hr notice (check applicable reasons and explain in section B):
     1. ( .) Absence (indicate if unreported, excessive, etc.)  4. ( ) Failure to follow directions
     2. ( ) Tardiness                                           5. ( ) Violation cif company rules
     3. ( ) Improper conduct                                     6. ( Other


                                     REDACTED

     13. Facts leading to the discipline (lle specific, stating detailed explanation of incident, date/time of incident,
     witness(es), rule violated, etc; refer to any previous verbal and/or written
     warrring(s).) ON 04/25/17, DANILLLL R ANI/       WOK!, TO       • AROUT HIS FREQUENT ATTENDANCE. ISSUES.       HAS RFF.N SPOKEN TO
      REGARDING THIS ISSUE ON 02/210 BY I:HAIN 1.            CALLED OUT ON 03/14117 AND 04/24/17.       WAS LATE 8 MINUTES ON 03/07,
      0 MINS ON 03/28, 7 MINS ON 03/30, 7 MINS ON 04/12, 10 MINS ON 04/19 AND hi MINS ON 04/21.     IS Al LEAS I    MIND I ES LAIL EVERY
      siNGIE 61-arr.




           )eseri he the c ompany's expectations of associate: um um AND BEYOND EXPECTS ALL ASSOCIATES TO BE ON
      TIME FOR THEIR SCHEDULED SI III-IS.




     1). Next disciplinary step:          ANY RE-OCCURRENCE OF THIS OR ANY OTHER V101 ATION OF COMPANY P01 ICY, INCONSISTENT
      WORK PERFORMANCE, OR ANY AC HON WI 11011 IN TI IL OPINION OF MANAGEMENT IS DETRIMENTAL TO THE ORDERLY CONDUCT
      OT THE INTEGRITY OF THE BUSINESS, WI ICI I WILL RESULT IN I URI I                   DISCIPLINARY ACTION, UP TO AND INCLUDING
      TERMINATION.




                                                                                                             REDACTED
    Th atili?           ,01-)E1                      3 --\sii.e. ks                      •
     11/1anap,er's Name         fie                       Mat5e1.f.s4\lame               Date               Associate's Signature Date
                                                           .                                                (This signature indicates that
                                                                                                            associate is aware of this notice)
                           —.094 LIPP.
      Manager's Sig        ature Date                                             tura       )ate

     (0)1h:c COM pleled   211d   s     Ilk,: in   aSSOE'iateS   ptusorwl file.)
                                                                                                                   I1R 026A 11/11
       Case:
2017-07-22   1:17-cv-05124 Document
           00:12             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           29 of 130 PageID #:1169
                                                            16319824728              P 11/45



                                                     ASSOCIATE DISCIPLINARY NOTICE
                               REDACTED
     Associate's Name                                                                     Date: 05/02/2017

     Date of hire: 11/10/05                                           SS# : xxx-xx                                   Store       250
                                                                            (Iasi four digas only)

     Circle one:                     Termination                                          Warning

     A. Reason(s) for notice (check applicable reasons and explain in section 13):
     1. ( ) Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
     2. ( ) Tardiness                                           5. ( ) Violation of company rules
     3. ( ) Improper conduct                                    6. ( ) Other


              REDACTED
     B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
     witness(es), rule violated, etc; refer to any previous verbal and/or written
     warning(s).)        was spoken to on 412117 about attendance and punctuality. was told she needs to be at her designated urea
      by the time she is scheduled. Since that conversation           has not been at her designated area 10 more times. She has also celled out 2 times.




     C. Describe the Company's expectations of associate: The company expectations ere for all associates to be punched in and
      reedy for their shifts when they are scheduled.




      D. Next disciplinary step;                    reiterated the expectations that Bed Bath and Beyond has for all associates and made it clear that any
      renccurence of this or any other violation of company policy, Inconsistent work performance or any other action which In the opinion of management
      is detrimental to the orderly conduct or integrity of the business will result in further disciplinary action up to and including Immediate termination
      of employment.




                                                                                                            REDACTED
      Robert Cain                        5/2/17            Danielle Raha                   5/2117
      Manager's Name                    Date               Manager's Name                 Date                 'Associate's Signature Date
                                                                                                                (This signature indicates that
                                                                                                                associate is aware of this notice.)

      Manager's Signature               Date               Manager's Signature Dat-

      (Once completed and signed, file in a$c)ciatc'8 personnel
                                                                                                                          HR 026A I I/11.
        Case: 1:17-cv-05124 Document
                             Store # #: 61 Filed:
                                     0260         12/20/17
                                           5167948677   >> Page                     P 5/45
                                                                30 of 130 PageID #:1170
                                                           16319824728
2017-07-22 00:10

     BED BATH &                           HaCE AuuEs. CtIttems.
      SEYONEto
      Beyond any :lora of its kind:




                Note to File


                                             REDACTED
                Associate's. Name:                                               _ Date of hire:
                Store #: AO(
                Date: 1,1              I 47.

                                                                   -)LQ      iia)REDATED


                  '10(           01( CI alai net ha_._
                __CiAla")(1 CtrY_C               (`7.         )1-1L1
                 00 -r   .         .1(10.(21 (IV -(e SYYC.

                  wede                        CnOs(DERL,. LC;
                           --.11a1Q 1        yldio          (J)
                flirYV .                                                  .wdo
                                                                                                     otalnimivi
                              66)2             LAD_(krZN-DLYIS
                                      (V2_Q.Q.VD           --1 -         ry el) 11r-Ylx
                                               4S   \(1.   • Pr    -tS    73         CDi                 '-c1LNAS—k_3(11/\ ( 70
                                                                                                                              _            •



                                                                          (0 Lico co aipletell and   Lila in associateN personnel file.)
                Manner's Printed Name /Title

                                               --( ) (7.)'-)                          •
                manager's Signature                       sate
        Case:
2017-07-22    1:17-cv-05124 Document
           00:18              Store # #: 61 Filed:
                                      0260         12/20/17
                                            5167948677   >> Page                     P 29/45
                                                                 31 of 130 PageID #:1171
                                                            16319824728

      B D BATHeiii                     WAN`cE,YALUEF                 4iltsin
                                                                      teestops
      Beyond any store of its kind!




                Note to File

                                      REDACTED
                Associate's Nam                          Date of hire:. I Q1.all Le
                Store #:....r(
               Date: 5) q

                                                           REDACTED
                        Le_                       171:.
              11.-sc tg---ec u'er
              REDACTED
                                                 i a-froesac,s,


                                            ~1201lJP                             h
                                              Loaka




                                                 (Once completed gnd signed, file innagouintes rosonnel
               Manager's Printed Name /Title


               Manager's Signature
        Case:
2017-07-22    1:17-cv-05124 Document
           00:10              Store # #:0260
                                         61 Filed: 12/20/17
                                             5167948677   >>Page 32 of 130 PageID #:1172
                                                             16319824728              P3

     BED BATH                        HFARM
                                         A N.
                                            c
                                                    E      LI)    E
                                                                      STM             i   l et
                                                                                            t    D
                                                                                                 SVODS 9

     Beyond any store of its kind:




               Note to File
                                      6




                                     REDACTED
               Associate's Name                                            Date of hire:
                                                1
               Store #: a0C)
               Date: (D -0

                                           REDACTED                                              REDACTED

                                                                                                     •      J
                                                                                                                        11)
                                                                                                 REDACTED

                                                                                                           U



                                                                 otle_r) h,L--.6

                                                                                          orAt
                                                                             (LK otn_



                                                                  (Once completed and olgaed, Melo neseaiate'n personnel etc.)
                       ear's Printed Name /Ti le


              Manager's Signature                   Date
        Case:
2017-07-22    1:17-cv-05124 Document
           00:21              Store # #: 61 Filed:
                                      0260         12/20/17
                                            5167948677   >> Page 33 of 130 PageID #:1173
                                                             16319824728              P 39/45

        BED BATH &                    kFAG E, VA LUES'                         Cirtsin ops.
                                                                                Trees
        BEYON
        Beyondanyatom of its kind'
                                                            Ddit(L, Lig-\\I-e                                                  l) On`
               Note to File
                                      S



                                     REDACTED
               Associate's Nam                                           Date of hire'
               Store #:
               Date:
            REDACTED

                                             (Th
                                                                                                  C         .    cy1
                             a       hi                                            1 ,.REDACTED
                                                                               (ci.,1

           REDACTED
                                             -L -fl
                                             \P                        I(Y)\()               on                 )
                                             aAti                              cr)
                                       orni                 ñcUp..              con           q -eJ)
                               REDACTED icw             d


                ri)c2_                                          o\                                                  nv‹,(Le
               , REDACTED                          y4        e-(---b    V\ 14/ , (-.Nn ,
                                          L.?4"




                                          (\Th                  (Once completed and signed, file in aesociate's personnel MO
               Manager's Printed Name /Title


                 anager's Signature           Date
        Case:
2017-07-22    1:17-cv-05124 Document
           00:14              Store # #: 61 Filed:
                                      0260         12/20/17
                                            5167948677   >> Page 34 of 130 PageID #:1174
                                                             16319824728              P 16/45

     BED BATH 8,                      HA MUw

                                      FACE,           LUES"                  slols
                                                                           Npeesl °Ds
                                                                                -11'
     BEVICONEW
            its kind!
     Bnyonci any slam of




              Note to File

                                     REDACTED
              Associate's Narac                                     Date of hire:         6-1
              Store #: cisA_P 0

              Date: \`°
                                                    REDACTED                                         REDACTED


                                                                                                        (.1(j            ,
                           4 )1 b              abt -11L.   h            . (8.)       -114 ak

              (A)OQKi,i) 9 ,                                     _baca,t,civri
             cokojky)                 c.1104 ,REDACTED: __
                                                        ier          .)CIS            YN=Z") C

                                CA      C_Q/1/00:1Liting                                                          co_.
             Ibun                                                \MCIflotr_YikA)-1
                                      c(-rne_e_.      d    CAL
                                                                      REDACTED


              (b\o00 c l`nof) -vs. 0\ (Q,)a
                               :lbx) Ik.. Auld_
              hcAs-                                                              c;--- 0-Lic

                 -ftn(,CILE
                 )                                         (Oliuo uoirplexed   sigued, filo inassociaLc' porcoiiiiel film)
              Manager's Printed Name /fide

                                         k 0-      01()
                   ager's Signature               Date
       Case:
2017-07-22   1:17-cv-05124 Document
           00:14             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           35 of 130 PageID #:1175
                                                            16319824728              P 17/45




                  1y)ctf--10tc)
                              .'t.a_. u_3y-)0        ar.)              (11(y-
                                        )0) ,hck
                                 vc_)ica--
                        ...
                         Aeory._.
                               )     REDACTED    ((. v

            (-)    _
           Ac" 1__Q_AiOf
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 36 of 130 PageID #:1176




                       EXHIBIT 3
        Case:
2017-10-25    1:17-cv-05124 Document
           14:09                 0105#: 5163653970
                                        61 Filed: 12/20/17                           P 1
                                                           Page 37 of 130 PageID #:1177
                                                    >> 15167268413



                                                         ASSOCIATE DISCIPLINARY NOTICE
         88 ociate,,,s Name:REDACTED                                                                   Date; July 2f                  2016


         ate of hire: 12/28/Z015                                            SS#                                                                            Store 11: NUS
                                                                                        (Iasilbw' digits on1,0
       Circle one:                        Termination                                             (laming
         Reason(s) for notice (check applicable reasons and explain in s9etion B):
       I ( ) Absence (indicate if unreported, excessive, etc.) 4. (V) Failure to follow directions
       2 ( ) Tardiness                                           5, ( ) Violation of company rules
       3   ) Improper conduct                                    6. ( ) Other




       B. 'acts leading to the discipline (Be specific, stating detailed explanation CI.ri.11C.t.e111_
                                                                                                    ; I &at
                                                                                                        I Wrinir4 nr innittAyit,
        itness(es), rule violated, etc; refer to any previous verbal and/or written REDACTED
        arning(s).) On July 19, 2016,      Operations Manager, had a mold to tile conVoreatIon with       'ogarcling his work productiVity,
       h a stilly to follow directions, and his willingness to accept constructive crittaism, Al the end of the conversatIon, I           slated that ho understadd what the
       e potations were fOr 111m put•away reeponeibilitlas. On July 28,200,                i failed 10 POO Ills backstock in the towel stockroom,  placed merchandise on tho
              ,....,•
       a ler floor in the wrong locations, and wen unable to follow direction eta to where to merchandise a boxed window (resit-vim accessory. Bemuse of all of IN% he was
                                                                                                                                          ka 4,4 • ‘ • ‘   ,   %         ,,,,..”" ....•_u..u..,..„,.....,,-,,.,,,,    s,.. a_,,,...__,,,_,

       u sable to complote his conveyance In the I hour of elicited time to make his productivity goal,



                            . .                    ...... ,...                                              .
       C. Describe the Company's OXpeetation6 of associate: bad Bath and Beyond easoclatea are expected to follow Pertain generally
       accepted rules of conduct, Those rules ere designed to melee that our mutates behave al all times with common courtesy, common decency and
                                e.
       common tiene0‘ Any violation of those rules, or any other action, whiph In the opinion of management le detrimental to the orderly conduct or
       iniq rity of the business, will result in dleCiplinary action, up to and Including IMmodlate termination of employment,
                             .1.....   m...4               .,.


                                           ...41   I                    .        ...-    -   ....,....wia.6w.v.......-.,—.....,,,,,,,,A,,,,,,w__,....,....„..,,.......—.,....„...............—,—,....................,_

       D. Next disciplinary step; ,                          protionvity and lability to accomplish teeke will be evaluated And rneatiurod on an ongoing beats, Any
        kilu a to meet (110 expectations of finishing at leas( 1 conveyance In on hour; following directions given to him by the putliway team lead; finishing his Job
                                                                                                                                                                                                                          ."••••••4.1111111Y14,.......
        accUrately and in a Safe manner; will result In further disalplinaly action,




                                                                                                                                               REDACTED
       BMIL-6.13,L____Uhrlie
       Manager's Name
                                                                     ALS11.••••....1416/14                                                             . •.                       ad; ,d4
                       Date                                      Manager's Name    Date                                                        Associate's Signature Date
                                                                                                                                               (This signature indicates that
                                                                                                                                               associate is #twitre of tills notice.)
                                                                                          ;,1147res,'"
       Manager's Signature                     Date                             S gnature Date

       (C, nee coMpictod end signed, Mc in associate's personnel

                                                                                                                                                                    lit 026A I t/11
        Case:
2017-10-25    1:17-cv-05124 Document
           14:09                 0105#: 5163653970
                                        61 Filed: 12/20/17 Page 38 of 130 PageID #:1178
                                                    >> 15167268413                   P 2/35

                                                                               `1
                                                       ASSOCIATE DISCIPLINARY NOTICE

              date's Nam                                                                   Date: Auguat te,

                                                                       SS#                                           Store #: 105
                                                                                    (hollowr diglis only)
                                           Termination                                     Warning

       A, e son(s) for notice (check applicable reasons and explain in section B):
            ) Absence (indicate if Unreported, excessive, etc.)  4. (0‘) Failure to follow directions
       2. ( ) Tardiness                                          5, ( ) Violation of company rules
       3. ( ) improper conduct:                                  6, ( ) Other


                                                         REDACTED
       B, ra.cts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
       w' ss(es), rule violated, etc; refer to any previous verbal and/or written
       w n ing(s),) On August 10, 2010, As part of the put away team,                    Watt responsible (or dewing out a cage of merchandise for the second
        flo r, On his cage, ha had 0 sets of dreaelzone sheets In blue that ha should have backsIWIWITIltsheet stockroom. As I, Bernadette Price, was
       __,...                   MbWWIVan



        w lk tg the sheet stockroom I found the sheets left In a shopping cart, Men I asked             about it, he sold he left It there because he didn't
       kn where to put II, I asked hint what he should have done, he told me he could have paged someone for help. In the same shift, I found
       on hi, phone twice, I addressed him the first time as a warning and found him later on the phone again, During that time, he should have completed a
          all replenishment project in windows that should not have taken more than 30 min, He did not complete that project unit 100m, More than 2 hours
       aft r a started,           has had numerous conversations with members of the leadership team regarding the expectations of put away associates,
       fat U to follow directions and work productivity_
                                                                          -
       C     ascribe the Company's expectations of associate: 'The expectation of every employee al Oed Beth & Beyond Is Met they follow
       the di Factions of the company when it comes to company• •standards, This Includes putting merchandise away In the proper location, entering any
       m rotandise Mal Is being put away in the stockroom in our POG system, not using personal phones for personal use on company time one
                                                                                                             ..                                    '..     fl 11114Mil1•11111, 11.1AA

     ' hit in productivity goals for replenishing,



       D.      ext disciplinary step: .               Is being placed on a job In jeopardy at this time, Any violations of the rules, or any other action, which in
        the   anion of management Is detrimental to the orderly conduct or integrity of The business, will result In disciplinery action, up to and Including
              alien of employment •
                                                                                                                                                                  •—•—•-r•




                                                                         • R.{xv•




                                                                                        u,,,,o; Airilit, REDACTED                       A '7.16
                                                            Manager's Name                  Date                Associate's Signature Date
                                                                                                                (This signature indicates that
                                                                                                                associate is aware or this notice.)
                                       7).e&V.                                        ,RIELP,6
   ,„40                  ignature            Date              anager's Signature Date

       (01 o completed and signed, file In associate's personnel
                                                                                                                          FIR 02(A I I/11
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 39 of 130 PageID #:1179




                       EXHIBIT 4
          Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 40 of 130 PageID #:1180




    BED MTH&                                           REDACTED
                                                                                     SA I ES FORCE PERFORMANCE REVIEW (Page 1 of 2)

    BEYOND,'                                Num                                                 Store         A.50   Data of review:   "7/ 3 oi
    &wand ony store or its

                                                                     Circle review type   imucwie onto Duo!
                                 90 DAY REVIEW Din                      OTHER      Review) due:
                                ANNUAL RuviEw DUE: .1„/     ..:7739/149
                                       DATE OFHIRE:       9
                    Tins  PERFORMANCE REVIEW IS HEM PREPARRP I ANWOR RESua OF INPUT FROM THE 1(01,1,01\1NC MANA(iitcRS:
Printed Nome           1311,A             4,c,  Signaturc_,                    Position
Printed Name                                                  Signature                                         Position
Printed Name                                                  Signature                                         Position
    Printed Name                                            _Signature                                          Position
    Printed Name                                               Signature        ,„                              Position
    Printed Name                                               Signature                                        Position

I                  KEY: E Excellent, V - Very Good, G                                           - Needs Improvement, U - .Unacceptable
Paw a line through any skill which isn't ap >noble.                                                                        E V C N
    CUSTOMER SERVICE SKILLS
    * Understands that the customer is our main priority and consistently maintains a customer focus.                           E      VON          U
    * Ensures a prompt, friendly approach to all CustorrierS,                                                                    E     VON          U
    • Escorts customers seeking loention(s) of specific merchandise.                                                             E     VON          U
    * Is alert to customer needs and offers a cart whenever appropriate.                                                         13    VON          U
    * Determines customer needs and works to add-on/upgrade sell.                                                               EOGN   U
    * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                          E V  N
         Complies with Bridatand Gift Registry program standards .vhen servicing both registrants
         and guests.                                                                                                             R     V       N    1,1
    • Works to expand product knowledge within home department.                                                                  E     V GOU
    * Works to expand product knowledge throughout total store,                                                                  E     VGOU
    4' Answers phone promptly and uses proper phone etiquette.                                                                   E     V C. N U

    TEAM SKILLS

    * Demonstrates initiative and completes projects in a timely manner.                                                         E         41, N 11
    * Accepts constructive criticism and acts upon it.                                                                           E     VdN          U
    * Maintains a positive outlook toward job.                                                                                   E     VON          U
         Communicates effectively with Management and other associates.                                                          E     VON          U
    * Works the schedule set by the Manager but demonstrates flexibility when needs or the
      business dictate.                                                                                                          E ONO N
    * is a team player.                                                                                                          13 VON             U
    * Exhibits professional manner, dress and appearance at all times.                                                                 V 0 0        1,1

    OPERATIONS & PROCEDURES
    4' Understands and utilizes ,I DA to resolve selling floor inquiries.                                                        13    V   4110 N   U
         Is familiar with transfers, special orders, ship directs and follows through to completion.                             E     V   60 N
       Has developed knowledge of Bridal/Gift Registry service and adheres to all special
       operating procedures. -                                                                                                   Is    V            1,1
    4' Responds to phone orders quickly, notifies customer and ensures resolution of orders,                                     Li    V       N
       dandles all paperwork with accuracy and efficiency,                                                                       E     V 1:9 N U
    4' Adheres to shortage reduction and compliance procedures.                                                                  E     V     N
    is   Safely handles equipmentnticl maintains a safety awareness,                                                             E     V       N    U


            J: prsh,wd; (rev 2000; rev, 8/04; rev. 1107; rev. $/07;rev 06/10)

         9/g d                                      92/472864E94 << 652E2954E9 0880                                                        44:14 82-60-L402
    Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 41 of 130 PageID #:1181



                                                                           SALES FORCE PERFORMANCE REVIEW (Page 2 Or 2)

1. ATTENDANCE & PUNCTUALITY:                                                     Acceptable                     Net Acceptable

   GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected
from goals established at previous review or during the period.




Unaccomplished Objectives
List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected
results as defined in previous review or during the period.
                                                                           /OA

Goals and Objectives fax next Review Period:
Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (Ior
each goal or objective indicate how accomplishment ofgoal/objective will be measured and Indicate target date for
accomplishments.)
             R                                                                   Orik4C. JR-t                IA( Cw.,03c,
                               14,00 t     e, r.)(4-, •              kArsc,, 41 el 00_ --e (,ST''


Strengths and Weaknesses:
Desoribe any of the associate's strengths or.wcaknesses which you feel are materially related to their performance and which are not
addressed elsewhere in this rovi,-ui
                             REDACTED               v-voR                      Al t:z.e     11.) _st-A-        Fix kw6).)
           No /1747 41                          A-      Neva                                       Th .-.7?ii-: moag.7
                                                                                                                   Circle one rating
3. OVERALL RATING FOR PERIOD                                                                                      E VON U


Date of Review:
                                                                             REDACTED

Reviewed associate's signature after review conference:                                                                         q      t)-(tP
                                                                                 Signature                                           Dale


Reviewer's signature after review conference:
                                                                                                                                     Dale

                                                                                         v4                                          3D- e6
                                                                                 Reviewer's Printed Name                             bale:




       J: prsh.wd; (rev 2000; rev. 6/04; rev. 1/07: rev. 3/07;rev 06/10)

  9/9 d                                        9Z24i864£94 << 65 E2951,29 0590                                             44:24 82-60-1402
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 42 of 130 PageID #:1182



 BED BATH &                                   REDACTED
                                                                         SA   FnuCE PERFORMANCE REVIEW (Page I of 2)
IMEIMONEW
Beyond any more of kind!              Name;                                          th    i:35 o     Date of review:
                      as

                                                Circie review type & inctivate Dote No
                            90 DAY REVIEW DUE;                                OTHER (  Review) dile;
                           ANNUAL REVII3W DUE:         V          '30' /IP
                                  DATE OF HIRE:      9 • 9 • 45-
               TIIIS PERFORMANCE REVIEW IS BEING PREPARED I3V AND/URA RESIII3 OF INN IT It`ROlvi THE le01.3,011IM: NIANAO CRS:
Printed Name      BRAD BR                               Signature              27,4_.           Position




                                                                                                               ,••...^-•-•___
Printed Name            /111&19                         Signature,.
Printed Name                                            Signature
Printed Name      •                                     Signature                               Position
Printed Name                                            Signature                               Position.,
Printed Name                                            Signature                               Position
             KEYt E Excellent, V - Very Good, G 7 Good, N - Needs Improvement, U - Unacceptable
(Di4tw a lino through any skill which isn't applicable.)                                                                        E     V G N
CUSTOMER SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.                                          Ci N     ti
* Ensures a prompt, friendly approach to all customers.                                                                         E          Ci N     U
* Escorts customers seeking location(s) of specific merchandise.                                                                E               N
* Is alert to customer needs and offers a cart whenever appropriate,                                                                            N   U
* Determines customer needs and works to add-on/upgrade sell.                                                                                   N   li
  Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                              E          (3   N   1.1
  Complies with Bridal and Gift Registry program standards when servicing both registrants
  and guests:                                                                                                                   E     VON           tI

   Works to expand product knowledge within home department.                                                                    E ®G            N   11
   WorkS to expand product knowledge throughout total store.                                                                    E     V         N
   Answers phone promptly and uses proper phone etiquette.                                                                      E     V         N   U

TEAM SKILLS
'In Demonstrates initiative and completes projects in a timely manner.                                                          E     VON U
• Accepts constructive criticism and acts upon it.                                                                              E     V  N U
* Maintains a positive outlook toward job,                                                                                      R          G N U
* Communicates effectively with Management and other associates.                                                                                N
* Works the schedule set by the Manager but demonstrates flexibility when needs of the
   business dictate.                                                                                                            E     VGN           U
* Is a team player,                                                                                                                        G N      U
* Exhibits professional manner, dress and appearance at all limes.                                                                              N   11

OPERATIONS & PROCEDURES
* Understands and utilizes JDA to resolve selling floor inquiries.                                                              I     V         N   II
* Is Familiar with transfers, special orders, ship directs and follows through to completion.                                   l',   V         N   11
* Has developed knowledge of Bridal/Gift Registry service, mid adheres to all special
  operating procedures.                                                                                                                         N   U
   Responds to phone orders quickly, notifies customer and ensures resolution of ordors.                                                        N   11
   Handles all paperwork with accuracy and efficiency.                                                                          17:   V         N
* Adheres to shortage reduction and compliance procedures.                                                                      E     V     i   N
* Safel handles e ui mein and maintains a safer awareness.                                                                      E     V         N   U


         nrsh.wd; (rev 2000; rev. 8/04: rev.1107; rev, 3107;rev 00110)

  9/£ d                                      92P0361,01, << 65 EE95429 0590                                                               04:14 9Z-60-2.1.02
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 43 of 130 PageID #:1183



                                                                              SALES FORCE PERFOR             NCE REVIEW (Page 2 of 2)

I. ATTENDANCE & PUNCTUALITY:                                                       Acceptable                    Not Acceptable

   GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected
from goals established at previous review or during the period.




Unaccomplished Objectives
List the specific goals and objectives not accomplished by the associate during the appraisal period‘ compared with the expected
results as defined in previous review or during the period.




Goals and Objectives for next Review Period:
Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For
each goal or objective indicate how accomplishment of gPal/ohjective will be measured and indicate target date for
accomplishm—f-
              REDACTED                      WagysVc.                                                         Alv4,6
        /hAi6                      17 -A V-6.         OA)          /0 -2_\6      OPPotiiro.-?&C          77,5    472 grk:t
            I iTh&

Strengths and Weaknesses:
Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which arc not
addressed elsewhere in this review.
                                             LS
                                           <,)       ri   rr5      -     V t1           fielp,roC.. - _6?‹.reerY\dy
                               Ak)
                                                                                                                   Circle one Ming
3. OVERALL, RATING FOR PERIOD                                                                                              C N U


Date of Review:
                                                                                  REDACTED

Reviewed associate's signature after review conference!                                                                       / 0 ////‘
                                                                                   Signatur                                       Dale

                                                                                                                                10 i(A0
Reviewer's signature after review conference:
                                                                                   Signe                                              Date
                                                                                                                                 ff
                                                                                                                                             (/
                                                                                   Reviewer's Printed Name                             nt




      J: prah,wd; (rev 2000; rev. 8/04; rev, 1/07: rov. 8/07;tev 06/10)


 9/47d                                       922'728649L << 65 E295429 0590                                              L1 :21, 92-60-2402
      Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 44 of 130 PageID #:1184




   BED BATH &                                                                                    MEIICtIANDISING / STOCK (Page 1 of 2)
   Bnotiro
   kotld any stern of Pt kind' Name:
                                     REDACTED
                                                                              Store #: 14,,,c0 Date of review:
                                                               Circle review type r tndtenlq %lie Dm
             90 DAY REVIEW DUE:                                                               Review) duc;
            ANNUAL REVIEW DUE:
            DA-rg OP HIRE;                     <23
THIS PERFORMANeg RIPIEW 16 OILING PREPARED SY AND/OR A RESULT OF INPUT FROM THP, FOLLOWING MANAGERS:
                                                     `
Milted Mane         ....f.Paill3L     Sigmiture_21- _4:3,4              _, Position A.S
Primed Name                                        Sivilgure                                 Positum
Piloted Name                                                                                 Position_
Primed Himiy„.                                     Hipteum                                   Pusition
Primed Norms                                       SIP:Wore                                  Position
Printstl Nno:                                      Si nntUi                                  Position
                    K        E EYcellefit, V - cry oo                         god,           cede Improvexnent,    nateeptable        •
                                                                                                                        Choose one rating
41i2rfir±ftthrough                                                                                                     E V y NU
CUSTOMER, SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.                      E   VON
* Ensures a prompt, friendly approach to all customers,                                                                E   V C) N         ll
* Escorts oustOmers seeking lOcation(s) ofspecific merchandise,                                                        B   V ©    N
* Is alert to customer needs and offers li Oftrt whenever appropriate,                                                 5       G N li
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                     .       (I N l;
  Complies with Bridal and Gift Registry program standards when servicing both registrants
  !Ind guests.                                                                                                         E   V      N ti
  .)cterrniMs customer needs and works to add-on sell.                                                                 E   V      r       Ii
* Has developed good product knowledge; keeps abreast ofnew items and utilizes this knowledge
  to enhance service,                                                                                                  F. CD G N
* Answers the phone promptly and uses proper phone etiquette.                                                          n v        NU

TEAM WILLS
* Demonstrates initiative and completes projects in a timely manner.                                                   B        N
* Accepts constructive criticism and acts upon it.                                                                     E 0   Ci N U
* Maintains a positive outlook toward job.                                                                             E   V    N
* Communicates effectively with Management and other associates,                                                       E   V @ N U
* Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate,                                                                                                    E C) G N U
* Is a learn player.                                                                                                   E V (Di N Li
 * Exhibits professional manner, dross and appearance at all times,                                                    E   V () N U

MERCHANDISING & DEPARTMENT MAINT1ENANCE
* Works to maintain selling floor standards and recovery of the department.                                                       N U
• Is aware of product sell through and completes pull lists.                                                           E          N
* Demonstrates good product knowledgo and uses the information to merchandise the
  selling floor effectively.                                                                                           E        Ci N
  Understands and utilizes !DA to resolve selling floor inquiries.                                                     E   VGA CI N       U
* Adheres to shortage reduction and compliance procedures.                                                             E   V OC   N
  safely handles equipment and maintains safety awareness,                                                                      G N lJ



                PriliShAl(rov.2000;8104:1/07:3/07P 0)




                d                                 82VR964294 <4( 65ZEOG4E9 0580                                                002.4 92-60-L402
        Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 45 of 130 PageID #:1185




                                                                                           MERCHANDISING / STOCK (Page 2 of 2)
  I, ATTENDANCE & PUNCTUALITY:                                                         Acceptable        /         Not Acceptable

 2. GOALS AND OBJECTIVES
 Objectives Accomplished
 List the speoilic goals and objectives accomplished by the assooisite during the appraisal period, compared with the results expected from
       '-'""""        -----' -us review or during the period.
REDACTED                       ,467.7,./A/                   riAr                                                                 srel               D.sto        ,

                jziy i g„04                        4 4aLta ;44 3.sF                  e LjsJ)t )          /4a)))     Fyle4 /.71      00 r        trOlVO


  unaecomplished Objectives
  List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
  defined in previous review or during the period.
    .4/0           5J Q 4e t 0,/1/10, v.)-ti' 4 C:044 - .




  Go* and Objectives for next Review Period:
  Identify 2,-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period, (For each goal or
  objective indicate how accomplishment of goal/objective will be measured and indicate target date for accomplishments.)
                                                                         s
        letter,, s     L4j .s                              ja40,61                  1g 6              '114 e,                      •




  Strengths and Weaknesses:
  Describe any oNhe associate's strengths or weaknesses which you feel are materially related to their performance and which are not
  addressed elsewhere in this review,
REDACTED




   3. OVERALL RATING FOR PERIOD

   Date of Review:                                                                    REDACTED


   Reviewed associate's signature after review conference:
                                                                                        Signature                                               Date /:


   Reviewer's signature edict review conference:
                                                                                        Sign      .          •


                                                                                                                                            IIIC()           --
                                                                                                  ' Printed Nanf6                                Date



           J: Orrnsh,wd(rev.2000;8104;1107:8107:5110)




       9/2 d                                       922.4/296404 << 652i£95429 OS80                                                    O4:24 92-60-202
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 46 of 130 PageID #:1186




                       EXHIBIT 5
              Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 47 of 130 PageID #:1187


                                                                                                     MERCHANDISING / STOCK (Page 1 of3)
   BED BATH &                               REDACTED
   BEYONEW
   Beyond any
                                     Name:                                      Store #:                Date of review:     `fill b 6
                 skxo of its kind:
                                                                 I Circle review type & Indicate Date Due:
                90 DAY REVIEW DUE                LI   i.D. . / 1 4,                                     OTHER (           Review) due:
               ANNUAL REVIEW DUE:
                 DATE OF HIRE:                   \ /06       i      (0
Tills PERFORIVp\NCE REVI • W IS BEING PREPARED BY AND ft A RESULT F                     PUT FROM THE FOLLON         C MANAGERS:
                                                                                                                    57
Printed Nam                                  I   Signature                                       Position             11,—N

Printed Name                                     Signature                                       Position

Printed Name     —SO                             Signature                                       Position          /If/1-N
Printed Name g               S       (Isp        Signatu                                         Position         iv\
Printed Name                                     Signature                                       Position
Printed Name                                     Signature                                       Position
                   KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
                                                                                                                                          Choose ne rating
(Draw a line through any skill which isn't applicable.)                                                                                  E V GN IJ
CUSTOMER SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.                                        E   V (G) N U
* Ensures a prompt, friendly approach to all customers.                                                                                  E   V       N U
* Escorts customers seeking location(s) of specific merchandise.                                                                         E   VON  U
* Is alert to customer needs and offers a cart whenever appropriate.                                                                     E   VU N U
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                       E   V  N U
* Complies with Bridal and Gift Registry program standards when servicing both registrants
  and guests.                                                                                                                            E   V       N U
* Determines customer needs and works to add-on sell.                                                                                    E   V G          U
* Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
  to enhance service.                                                                                                                    E   V G    U
* Answers the phone promptly and uses proper phone etiquette.                                                                            E   V (9 N U

TEAM SKILLS
* Demonstrates initiative and completes projects in a timely manner.                                                                     E   V       NU
* Accepts constructive criticism and acts upon it.                                                                                       E   V    CGD N   U
* Maintains a positive outlook toward job.                                                                                               E   ON   G N U
* Communicates effectively with Management and other associates.                                                                         E   V (G) N U
* Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate.                                                                                                                      E   VON    U
* Is a team player.                                                                                                                      E   V G) N U
* Exhibits professional manner, dress and appearance at all times.                                                                       E           NU

MERCHANDISING & DEPARTMENT MAINTENANCE
* Works to maintain selling floor standards and recovery of the department.                                                              E   V       N U
* Is aware of product sell through and completes pull lists.                                                                             E   V       N U
* Demonstrates good product knowledge and uses the information to merchandise the
  selling floor effectively.                                                                                                             E   V G 3  U
* Understands and utilizes )13A to resolve selling floor inquiries.                                                                      E   V    NU
* Adheres to shortage reduction and compliance procedures.                                                                               E   VGE NU
* Safely handles equipment and maintains safety awareness.                                                                               E   VGN          U


         J: prmsh.wd(rev.2000;8/04:1/07;3/07:6/10)
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 48 of 130 PageID #:1188


BED BATH &                                     REDACTED
                                                                                          FRONT END LEAD/SUPERVISOR (Page 1 ort)..- S


BEYOND
                                     Name:                                        Store #:   1,4%1 6       Date of review:
                                                                                                                                                p
Beyond any of its kind:
              store

TIIIS PERFORMANCE REVIEW IS BEING PREPARED DV AND/OR                              IT OF INPUT FROM THE FOLLOWING MANAGERS:

Printed Name       3 -;,)        } 4.A.14 if`J L     Signature                                         Postion_29frh

Printed Name          A 4-44€.-       7.1 1c_y       Signature                                                         e.
Printed Name                                f\9      Signature                        <                postion
                                                     Signature                                         Poslion

Printed Name                                         Signature                                         Postion

Printed Name                                         Signature                                         POstiOn




 KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable

 I. PERFORMANCE SKILLS                                                                                                                      N
CUSTOMER SERVICE - overall rating                                                                                       E    V    "Cr N
I. Always leads by example the customer service standards which create positive experiences
    for employees and customers.                                                                                        F    V
2. Institutes practices that ensure all opportunities to enhance customer service are pursued.                          F    V
3. Complies with Bridal and Gill Registry program standards when servicing both registrants and guests                       V                  ll
4. Ensures that customers are viewed as a priority,                                                                     E    V                  11

FRONT END SKILLS - overall rating                                                                                       E    V             N    U
I. Ensure gift registry purchases are properly recorded_                                                                F    V             N    U
2. Maintains staffing levels at registers_                                                                              F    V             N    ll
3. Completes cashout accurately and in a timely manner.                                                                 E    V     G       N    11
4. Trains cashiers on new policies and procedures.                                                                      Ii   V 0           N    11
5_ Ensures GWP and rebate guides are up to date and cashiers are trained on procedures.                                 E    V     C 0          U
6. Monitors cashier scanning. 0/S + logs: discusses concerns with Management as necessary.                              E    V ( ...c,i ./ N    LI
7. Communicates security alerts to cashiers.                                                                            E    V        ' C,      ll
8, Identities and communicates unique and individual store opportunities Mcusing on the core customers needs            E    V     (       N    U
9. Adheres to all PIA1 policies and procedures.                                                                         F    V            (S)   1.1
10 Ensures all POS equipment is in working order.                                                                       F    V             N    U
1 I Ensures that annual Certifications and biannual Cart Test are conducted with all associates.                        E    V     C       N    U

OPERATIONAL SKILLS - overall rating                                                                                     E    V              N   U
I . Understands and executes principles of Process Improvement (PI).                                                    E    V
2. Knimledgeahle of and properly implements safety and loss prevention procedures.                                      F    V              N   I1
3. l'roperly utilizes and acts upon XBR reports.                                                                        E    V
4. Completes all necessary paperwork accurately and in a timely manner.                                                 E    V                  I1
5. Complies with Company standards Mr all operational policies and procedures.
6 Ensures department maintenance                                                                                        Ii   V              N   Il
7 Works in a safe manner and maintains safe, clean work environment.                                                    E    V              N
8. Understands the financial implications of adhering to front end policies and procedures                              E    V     G        N   II

INTERPERSONAL/MANAGEMENT SKILLS - overall rating                                                                        E    V                  U
i . Follows instructions.                                                                                               E    V                  U
3, Promptly advises Management of any problems.                                                                         F    V              N   LI
3. Seeks advice when appropriate.                                                                                       E    V     G            1.1
4. Ability to prioritize work effectively. control time and meet deadlines.                                             F    V     6            U
5. I ixhibits ability to work independently with minimum supervision. self-starter.                                     F    V     G            11
6. Exhibits Ail ii ti.) accept and act upon constructive criticism.                                                     F    V      •       N   U
7. Initiative. sel (motivation, enthusiasm. attitude and reliability.                                                   F    V     C        N   11
8. Communicates and works well with Management and other associates.                                                    E    V      •       N   U
9. Aptitude Mr dealing with people (tact).                                                                              E    V              N   II
10. Abihn to identify critical issues                                                                                   li   V              N   II
 I 1. Accomplishes objectives with a sense of urgency.                                                                  E    V    .4k   0       II

PERSONAL WORK CHARACTERISTICS - overall rating                                                                          E    V              N   U
I Exercises proper and ethical behavior at all times.                                                                   F    V              N   U
2, Works effectively under pressure.                                                                                    E    V                  ll


                                                                                                                                   . N Ll
3. Seeks greater level of responsibility.                                                                               Ii   V      i       N   U
4. Willing to work Mr the good of the Company: is a team player                                                        C±) V       G
5, Makes effective use (Winne.                                                                                          F  V                    1.1
FE Lead rev. 8/04; 1/07: 07/10
   Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 49 of 130 PageID #:1189
                                                                                                          "*N
                                                                                             Page\orm,


From:        EMAIL1246/Stores/BBBY
             Sent by: John Dunne/Shared/Stores/BBBY
To:

Date:    Saturday, August 20, 2016 03:OOPM
Subject:




 GOALS AND OBJECTIVES
 OBJECTIVES ACCOMPLISHED


      • Properly inform all management of any POS equipment not functioning. this includes
        scanners, EAS pads, battery backups, printers etc.
      • To help assist with front end training for all newly hired associates, including front end
        basics and cart tests.

 UNACOMPLISHED OBJECTIVES

      • Needs to complete all necessary paperwork for front end in a timely manner. Specifically
        but not limited to Daily Cash Reconciliations, Daily Chat Ins, Cashier Verifications, Weekly
        communication tracker.
      • Use guides and specs to ensure all front end sections are set up correctly and maintained.
        This includes register L's, Register Steps, Trash Wall and Framed Art Wall.
      • Maintain a clean safe work area at Customer Service. This will be done by ensuring he
        personally follows routines of finishing all return transactions, including the placement of
        damaged or non damaged items into their proper location.

 GOALS AND OBJECTIVES FOR NEXT REVEIW PERIOD
                REDACTED
   • It is imperative that     achieve the unaccomplished goals that were set for him for last
     review period. Setting new goals at this point isn't going to help with his development until
     he achieves past goals that were set for him. These Goals need to be set Immediately and
     to continue always.

 STRENGTHS AND WEAKNESSES
REDACTED
    •       is the ultimate team player. He is always willing to do what is best for our customers,
      fellow associates and our company.
    •       needs to show more urgency into getting tasks done.
    •       is very reliable and is willing to work whenever we need him.



REDACTED




                  1
hap://sharedmail.bedbath.com/mail/emaill246.ns17(%241nbox)/Snewf?OpenDocument&F...            8/20/2016
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 50 of 130 PageID #:1190


                                                                                    FROM        ND LEAD/SUPERVISOR (Page 2 of.1).,)

 I. ATTENDANCE & PUNCTUALITY:                                     Acceptable                       Not Acceptable

GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
goals established at gevious revie v or uri g fin; period.
                   e   VO-12-


Unaccomplished Objectives
I.ist the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
defined at previous review or du in , h • period.
                  Se_e_


Goals and Objectives for next Review Period:
Identify 2-3 quantitative and/or qualitative goals or objectives the associate should lbcus on during the next review period. (For each goal
or objective i dicate how ace 1 rpf -In cot of goal/objective will he measured and indicate target date lirr accomplishments.)
              t _Le
Strengths and Weaknesses:
Describe any of the associate's strengths or weaknesses which you leel are materially related to their performance and ‘\ hick are not
addressed elsewhere in this review,




 OVERALL RATING FOR PERIOD                                                                                              E    V       N     U
            REDACTED
Name.                                                                                Store Name and Number:                    0 -9 (
Date of I lire:    t                                                                            1131, of   Po•Vii.11,       r,I 1 v:,          Pa<
                                                                              REDACTED
Reviewed associate's signature after review conference:                                                                           /0- 13- /(
                                                                                   Signature                                     -- Date
                                                                                            ..._
Reviewer's signature after review conference:
                                                                                     ignature                                       Izel(37(6
                                                                                  C D t\   (
                                                                                                         1,5
                                                                                       •ieiwer's Prime Name
                                                                                                                            /9#ALid_t
                                                                                                                                    Date




FE Lead rev. 8/04: 1/07; 07/10
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 51 of 130 PageID #:1191




                       EXHIBIT 6
     Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 52 of 130 PageID #:1192
    OCT-27-2011 02:3TPM            FROIA-                                                                                     1-243       P 001/001    F-516




"KEDBATH &
BEVONIM                               Same:
                                                REDACTED
                                                                            SALES FORCE PERFORMANCE REVIEW (Page 1 of 2)
                                                                                        Store /0: 5t   C        Date of review:
Beyond Gm/ Aare el its kind'
                                                               Circle review pe & IndIate Date Due:
                                4UDAY REVIEW                 tii 1                       OTHER (               Review) due:
                              A,            EW DUE:
                                     DATE OP HIRE;
             Tit./eER.kORIA.Nq RIVIEW IS BEING PREPA                                D/OR A RESULT OP INPUT FR011 THE FOLLOWING MANAGERS:
Printed Name        >rkt1a -eles , k)714-41\.k.„.. Signature                                          Position
Printed Name                                              Signature                                        Position
Printed Name                                              Signature                                        Position
Printed Name                                              Signature                                        Position
Printed Name                                              Signature                                        Position
Printed Name                                              Signature                                        Position

               KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - l naceeptable
(Draw a line through any skill which isn't applicable.)                                 E V G N U
CUSTOMER SERVICE SKILLS
• Understands that the customer is our main priority and consistently maintains a customer focus.                             E    V          N   U
s" Ensures a prompt, friendly approach to all customers.                                                                      E    V          N
• Escorts customers seeking location(s) of specific merchandise.                                                              E    V (.9 N        ll
* Is alert to customer needs and offers a cart whenever appropriate.                                                          E    V     N
* Determines customer needs and works to add-on/upgrade sell.                                                                 E    V (P       N   U
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                            E    V      ET) N
• Complies with Bridal and Gift Registry program standards when servicing both registrants
  and guests.                                                                                                                 E    V          N   tJ
* Works to expand product knowledge within home department.                                                                   E    V (c.i) N
• Works to expand product knowledge throughout total store.                                                                    E      V 0.*) N    U
4 Answers phone promptly and uses proper phone etiquette.                                                                      E      V (USN

TEAM SKILLS

* Demonstrates initiative and completes projects in a timely manner.                                                           E      VON
I Accepts constructive criticism and acts upon it.                                                                             E              N
4* Maintains a positive outlook toward job.                                                                                    E      V       N   U
    Communicates effectively with Management and other associates.                                                             F      V 0N        U
• Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate.                                                                                                            Eg(INU
• Is a team player,                                                                                                            EOGNU
• Exhibits professional manner, dress and appearance at all times.                                                             E      V €;) N

OPERATIONS & PROCEDURES
8   Understands and utilizes JDA to resolve selling floor inquiries.                                                           E      V et) N     U
• Is familiar with transfers, special orders, ship directs and follows through to completion.                                  E      V 6) N      U
* Has developed knowledge of BridallGift Registry service and adheres to all special
  operating procedures.                                                                                                        E      V C3J N     U
• Responds to phone orders quickly, notifies customer and ensures resolution of orders.                                        E      V a     N   U
4 Handles all paperwork with accuracy and efficiency.                                                                          E      V 0     N   U
* Adheres to shortage reduction and compliance procedures.                                                                     E      V C.6 N     U
* Safely handles equipment and maintains a safety awareness.                                                                   E      V (C.   N   U


       .1; prth.wd; (rev 2000: rev. 5104; rev. 1/07; rev, 3/07,r2v 06/10)
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 53 of 130 PageID #:1193




                       EXHIBIT 7
       Case:
2017-07-22   1:17-cv-05124 Document
           00:11              Store ##:0260
                                        61 Filed: 12/20/17>>Page
                                             5167948677          54 of 130 PageID #:1194
                                                              16319824728              P 6/45



                                                                                   FRONT END ASSOCIATE REVIEW (Page 1 of 2)
 • 3ED BATH &                                 REDACTED
   BEISDINEW
   Beyond any store of Its kind.
                                          Namc, -                                      Store //:           Date of review:


                                          ___,....... ._____ eivele review type & inmente Diii Due:        .
                                     Q:12a REVIEWU',,c__ D _.:; > ,„                     OTHER (...     , Review) due:
                                     ANNUAL REVIEW DUE:
                                  DATE. 011 HIRE:
                TIM PERFORMANCE  REVIEW   IS BEING PRE tED IW AND/OR A RESULT OF INPUT FROM 'HIE FOLLOWING MANAGERS:
   Printed Name .   .1xxa 30 ,:r- (14-1,     Signature   y(/ (, C_LA.4L,lA        Postion FVF.,(1 LC. vi a ei iq„ k,
   Printed Name                                               Signaler':                              Postion

   Printed Name                                               Signature                               Postion

   Printed Num                                                Signature                               Postion

   Printecl Name                                              Signature                               Postion

   Printed Name                                               Signature                               Postion

                   KEY: E Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
   (Draw a line them] ft any skill which isn't a         licable.)                                                       E      VG N
   CUSTOMER SERVICE SKILLS
   * Understands that the customer is our main priority and consistently maintains a customer focus.                     E      V t             lJ
                                                                                                                                          N
   * Ensures a prompt. n'iendiy approach to ail customers.                                                               E      V         NI    U
   * Escorts customers seeking locatiOn(S) of specific merchandise,                                                      F.     V         N     U
   * Is alert to customer needs and offers a cart whenever appropriate-                                                  F.:,   V         N     U
   * Determines customer needs and works to add-on/upgrade sell.                                                         E      V   q,0         U
   * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary,                                    IS     V   G     N     1.1
   * Complies with Bridal and Gift Registry program standards when servicing both registrants
     and guests.                                                                                                                          N     U
   * Works to expand product knowledge within home department.                                                           E      V     G   N     U
   * Works to expand product knowledge throughout total store.                                                           IS     V
   * Answers phone promptly and uses proper phone etiquette.                                                             E      V         N     u

   TEAM SKILLS
   * Demonstrates initiative and completes projects in a timely manner.                                                  E      V 2       1N1   U
   * Accepts constructive criticism and acts upon it,                                                                    E      V         N
   * Maintains a positive outlook toward job-                                                                            E      6-1) 0    N     11
   * Communicates effectively with Management and other associates.                                                      E      vaN
   * Works the schedule set by the Manager but demonstrates flexibility when needs orate,
     business dictate,                                                                                                                    N
   * Is a team player,                                                                                                   13               N
   * Exhibits professional manner, dress and appearance at all times.                                                                     N U
   OPERATIONS & PROCEDURES
   * I landles all sales and return transactions with accuracy and efficiency.                                                            N     U
   4' Maintains a neat and organized register area,                                                                                   G   N     U
   •   Adheres     to shortage reduction procedures: follows special operating procedures in the department-             E      VUN             U
   * Understands and utilizes .,10A to resolve selling Door inquiries.                                                   13     V     G ()      U
       Works to maintain selling floor standards and recovery of the department.                                         13     vgN
   *             handles equipment and maintains a safely awareness,                                                     E      V     G   NU




           J; prsh.wd; (rev 2000; rev. 8/04; rev, 1107; rev. 3/07;rev 08/10)
        Case:
 2017-07-22   1:17-cv-05124 Document
            00:11             Store ##:0260
                                        61 Filed: 12/20/17>>Page
                                            5167948677           55 of 130 PageID #:1195
                                                             16319824728              P 7/45


                                                                                      FRONT END ASSOCIATE REVIEW (Page 2 of 2)

       I. ATTENDANCE & PUNCTUALITY:                                                     Acceptable        X             Not Acceptable

      2. GOALS AND OBJECTIVES
      Objectives Accomplished
      list the spe,cilic goals and objectives accomplished by the associate dating the appraisal period, compared with the results expected
      livro goals established at previous review or during the peripd.
      REDACTED

                                             A AAA(                             44/Ue /4aALe                        a    y     41(0'

    Unaccom pl ished Objectives
    list the specific goals and objectives not accomplished by the tissoolate daring the appraisal period, compared with the expected
    results as, defined in previous review or during the period.
 REDACTED                         41110( \i\i              Pfr.2014 get( 41/ 1110i,U4(5",e 7t) fel -                          drapfitiCit,
                                      1/11..f.                          q,                 tb,t)-(610 ri         A. et l(/' bt-')1-*


       Coals and Objectives for next Review Period:
       Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For
       each goal or objective indicate how accomplishment of goal/objective will he measured and indicate target date for
    accomplishments.)
 REDACTED                            ykairi           10VbC/LCAth                tiVaaja
        - rtf,1 r
 REDACTED                              riAla
                                                   p/) cor..ge,            Af).-,

       Strengths and Weaknesses:
       Describe any or the associate's strengths or weaknesses which you feel arc materially related to their performance and which arc not
                 itheenmilona in this review.
REDACTED                             a, ,t r itu6,) t 14.11,,t,tryLa,,,t 12A, Ix                       Who,,,X.              k--       t..;c1
             ot, -Ear               p kw.;                       041.14.q
REDACTED                                                              C.9.-n.        -(9,(

                                                                                                                              Curd  rating
       3. OVERALL RATING FOR PERIOD                                                                                          E     G N U

       Date of Review:

                                                                                REDACTED
       Reviewed associate's signature after review conference;
                                                                                        Signad.Tie7c
                                                                                                                                       KVA
                                                                                                                                        Date


       Reviewer's signature after review conference:
                                                                                        Signature


                                                                                        Reviewer's Printed Name



               prsh.wd: (rav 2000; rev. 8104; rev. 1107; rev. 3107;rev 06/10)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:18             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           56 of 130 PageID #:1196
                                                            16319824728              P 27/45



              3ATH &                               REDACTED
                                                                                             FRriNT END ASSOCIATE REVIEW (Page 1 of 2)
    BE          HE.
    Beyond any dare of its kind:
                                           Name,                                                   we II:            Date of review:



                               (7_0 DAY REVIEW DUE)                                              OTHER              Review) due:
                               ANNIThr, RINTIMI
                                            t      it!
                                       DATE OF I-IIRl :
                   :rnis PERFORMANCE REVIEW IS BEING PR                         kRED IW AND/OR A RESULT (W INPUT /'ROM 'lift FOLLOWING MANAGERS:
   Printed Ninnel.9±\                                          Signature                  Ca taiXj              Postion101/141(a Mekk-
   Printed Name                                                Signature                                        Postion
    Printed Name                                               Signature                                        Postion
   Printed Name                                                Signature                                        Postion
   Printed Name                                                Signature                                        Postion
   Printed Name                                                Signature                                        Postion

                   KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
    (Draw a line through any skill which isn't applicable.)                                                                        E    VGNU
    CUSTOMER SERVICE SKILLS
    * Understands that the customer is our main priority and consistently maintains a customer focus.                              B    V      N
    * Ensures a prompt. friendly approach to all customers-                                                                             V    IN U
    * Escorts customers seeking location(s) of specific merchandise.                                                               It   V        N   U
    * is alert to customer needs and offers a curt whenever appropriate.                                                           E    V    4i N    U
    * Determines customer needs and           works to add-on/upgrade sell.                                                        E    V            U
        Responds   quickly to customer inquiries and "Passes the Buck" whenever necessary.                                         E    V        N
    * Complies with Bridal and Gill. Registry program standards when servicing both registrants
      and guests-                                                                                                                  E    V    N U
    * Works to expand product knowledge within home department.                                                                    E    V GO ti
    4   Works to expand product knowledge throughout total store.                                                                  E    V o .6)U
    * Answers phone promptly and uses proper phone etiquette.                                                                      E    VON U
    TEAM SKILLS
    * Demonstrates initiative and completes projects in a timely manner.                                                           E    VON          U
    * Accepts constructive criticism and acts upon it.                                                                             E    V    C3 N
    * Maintains a positive outlook toward job.                                                                                     E    V    G N     ti
    * Communicates effectively with Management and other associates.                                                               E    V    G N     U
    * Works the schedule set by the Manager but demonstrates                    flexibility when needs of the
      business dictate,                                                                                                            E    V        N   U
    * Is a team player,                                                                                                            13   V    G   N   U
    • Exhibits professional manner, dress and appearance at all                 times.                                             E    V        N

    OPERATIONS & PROCEDURES
    • Iland les all sales and return transactions with accuracy and efficiency.                                                    E    vaN          U
    * Maintains a neat and organind register area.                                                                                 13            N   U
                                                                                                                                        (G
    * Adheres to shortage reduolion procedures; fellows special operating procedures in the department.,                           E     V       N   U
        Understands and utilizes JIM to resolve selling IlOor inquiries.                                                           E    V    G
    * Works to maintain selling floor standards and recovery oldie department.                                                     E    V        N   U
        Safely handles equipment and maintains a safety awareness.                                                            • E       V (i N       U




              prso,wri: (rev 2000: rev. 8/04; rev. 1/07; rev. 3/07;r4v 00/10)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:18             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 57 of 130 PageID #:1197
                                                           16319824728              P 28/45


                                                                                             FRONT END ASSOCIATE REVIEW (Page 2 of 2)

       L ATTENDANCE & PUNCTUALITY;                                                           Acceptable           V7           Not Acceptable

    2. GOALS AND OBJECTIVES
    Objectives Accomplished
    List the specifie goals and objectives accomplished by the mociate during the appraisal period, compared with the results expected
    from goals established at previous i view or during the period.
REDACTED                                            {-e,r                                    •ri,V
 REDACTED                                                                           ACit,           LISP




       U naccom plished Objectives
       List the specific goals end objectives not accomplished by the associate during the appraisal period. compared with the expected
                  dainorl in orevious review or during the period.
 REDACTED                        vit.t.Ot               WOOL 0 I()                   -q)cl              •Ce I          64A4 of Odd         ,



       Goals and Objectives for next Review Period;
       Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For
       each goal or objective indicate how accomplishment orgeal/objective will he measured and indicate target date for
       accornnlishmenls.)
  RF                           /111ffif   a           . ler   eA                             wk'tige. wieitun                            4YeVi(f/git-
REDACTED                      m mr        r 14i 4 -k- ‘f'oC31 0P            h      )6(.-0.1. ri*T
 REDACTED                                  V , 1.4X          QV\                 ct,T ".or 4-        .tie       KIPr    oaci
       Strengths and Weaknesses:
       Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
       addressed elsewhere in this review.
   REDACTED
                                                            a                                                               crult_c7iN)


                                                                                                                                 Cirelo tine rating
       3. OVERALL RATING FOR PERIOD                                                                                             E V G N U

       Date of Review:
                                                                                             REDACTED
       Reviewed associates signature after review conference;
                                                                                              Signature                                         Date



       Reviewer's signature after review conference:
                                                                                              Signature                                          Date

                                                                                                Day-) \6u- aik9,
                                                                                              Reviewer's Printed Name




             J: prsh.wd: (rev 2000; rev. B/04; rev. 1/07; rev, 3/07;rev 06/10)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:13             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           58 of 130 PageID #:1198
                                                            16319824728              P 12/45


                                                                                         FRONT END ASSOCIATE REVIEW (P go 1 of 2)
                AT &                             REDACTED
   BOVINE"
   .eyond any tiege 01 ils kind! •
                                                                                              Store lit   a ( oO    Date of review:        /

                                                                   Circle review type & Indicate Pate One:
                                      90 DAY REVIEW DUE,':                                     OTHER (             Review) due:
                                     ANNUAL REVIEW DUE:
                                            DATE OF HIRE;
                   THIS PERFORMANCE REVIEW IS BEING PREPARED 1W AND/OR A RESULT 01? INPUT FROM THE FOLLOWING MANAGERS:
   Printed Name,                                             Signature                                         Postion
   Printed Name                                              Signature                                         Postion
   Printed Name                                              Signature                                         Postion
   Printed Name                                              Signature                                         Postion
   Printed Name                                              Signature                                         Postion
   Printed Name                                              Signature                                         Postion

                  KEY: E - Excellent, V - Very Good, G 7 Good, N - Needs Improvement, U - Unacceptable
   (Draws line through any skill whiehiSn't applical)le.)                                                                         E    VGNU
   CUSTOMER SERVICE SKILLS
   * Understands that the customer is our main priority and consistently maintains a customer focus.                              B    V       G NU
   g` Ensures a prompt, friendly approach to ail customers.                                                                       E    V       G )N U
      Escorts customers seeking location(s) of speci(e merchandise.                                                               E    V       G N U
   * Is alert to customer needs and offers a cart whenever appropriate.                                                           E    V       G, N U
   * Determines customer needs and works to add-on/upgrade sell.                                                                  E    V
   * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                             E    V sa .) N
   • Complies with Bridal and Gift Registry program standards when servicing both registrants
     and guests.                                                                                                                       V CON
   * Works to expand product knowledge within home department.                                                                    G    V GIN
     Works to expand product knowledge throughout total Store,                                                                    E    V E N
   * Answers phone promptly and uses proper phone etiquette.                                                                      13   VAN

   TEAM SKILLS

   * Demonstrates initiative and completes projects in a timely manner.                                                           E    v G NU
   * Accepts constructive criticism and acts upon it.                                                                             E    V C )N U
   * Maintains a positive outlook toward job.                                                                                     E    V   N
   * Communicates effectively with Management and other associates.                                                               E    V G N         U
   * Works the schedule act by the Manager but demonstrates flexibility when needs of the
     business dictate.                                                                                                            13   V O N         U
     is a team player.                                                                                                            E    V         N   U
   * Exhibits professional manner, dress and appearance at all times.                                                             E    V         N   U

   OPERATIONS & PROCEDURES
    * Handles all sales and return transactions with accuracy and efficiency.                                                     F,   V
    * Maintains a neat and organized register area.                                                                               E    V         N
   *   Adheres to shortage reduction procedures; follows special operating procedures in the department.                          B    V
   *   Understands and utilizes ,IDA to resolve selling floor inquiries.                                                          E    V
   *   Works to maintain selling floor standards and recovery of the department,                                                  E    V
 — *   Safely handles equipment and maintains a safety awareness,                                                                 E    V




              prEn.wd; (rev 2000: rev. 8/04: rev. 1/07: rev. 3/07:rev 08110)
        Case:
 2017-07-22   1:17-cv-05124 Document
            00:13             Store ##:0260
                                        61 Filed: 12/20/17>>Page
                                            5167948677           59 of 130 PageID #:1199
                                                             16319824728              P 13/45


                                                                                    VIZON'I.' END ASSOCIATE REVIEW (Page 2 of 2)

       ATTENDANCE 4./4 PUNCTUALITY:                                                  Acceptable                      Not Acceptable

    2. GOALS AND OBJECTIVES
    Objectives Ace°              .11
    List the specific goals and objectives accomplished by the associate during die appraisal period, compared with the results expected
    from goals established atprevious review or during the period.     G.                      .,
         ON-0       -e +ed          DEA - 00 \J                   <1,(12\11C.C.             Cit\ In (X-)


    nnaccomplioed        Objectives
    List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected
    results as defined in previous review or during the period.
                  X71t     1-c           ',"DL ,f(n


    Goals and Objectives Cur next Review Period:
    Identify 2-3 quantitative and/or qualitative goals or objectives the associate: should locus On during the next review period. (For
    each goal Or objective indicate how accomplishment of-goal/objective will he measured and indicate, target date for
    accomplishments_)

       A-%                                    Vt• i              ,,
       re.(q 1.N.                              Lo             .p..Y.t.Devl. 91-'1       .
      14/pri k      (Cif                                        651 frAe•                        1:7 Wilt...1   +1           •• --
    Strengths and Weaknesses:
    Describe any of    associate's strengths or weaknesses which you feel are materially related to their performance and which am not
    addr     I elsewhere in this review.
REDACTED               ---Ticityuc..                \\ kkiry\tA



                                                                                                                        Circle merialing
             VER           1M1.1..NG .FOR PERIOD                                                                       fS       G)N


    Date of Review:
                                                                                    REDACTED

    RI:Viewed. assoeiale's signature after review conference:
                                                                                     q raaturc                                            Dale



    Reviewer's signature after rev.ew
                                  ;   conference:                                    .11111                                           l4.[10-1
                                                                                     Signature                                            Date



                                                                                     Reviewer's Printed Name




             J:      (icy 2000; [ay. 8/04; rev •thit; ray. 3/07;rov 06110)
        Case:
2017-07-22    1:17-cv-05124 Document
           00:14              Store # #:0260
                                         61 Filed: 12/20/17
                                             5167948677   >>Page 60 of 130 PageID #:1200
                                                             16319824728              P 18/45
                                                                              i i rh                                                                                                                                                                    i,
               -BED" MTH &                                           REDACTED                                                                                     mERcHANDBINGI STOCK (Page 1 of 2)
               --RVON11120-
                  mr1 orty &loco Cif ilf, Irird:             Nam                                                                 .. .. .... Store H.:           2 0                Date of review: ,.....3 i                    / if
                                                                                                                Circle review type Ai. litatettle mita nue:
                                         90 DAY       mytem outi:                                 1   ,                                                                       oTrnm (.........„..            Rev iow) due: ..,
                                        ANNIJAI.III•NIE,,W DUE:                               2, i. 1.5                                     —

                                        DATE OF HIR1-::
-ruts PERFORMANCEs Iq.-yr KW )S BEING NZE:PARED BY ANDyfra m                                                                            ini' OF till • r FROM' TIMATLLOWING MANAFAkst
                                                                                                                                                                                G

Printed Name WV,- ' (:.-4 turf41)01., ,,, Signaturn   ,---...                                                                                                           Position        0a        7V         WA    L .•                 ..
Pt illltd                  Naar                                                          signotura                                                            .,„. ,,t )mitiiiii

 ivInted                   Filmic-                                                       &vault-a                                                                       Paattiou

 Nriama Nmau........_____ ..                                                             Signature                                                                       Position

 hillier:I Nauru                                                                          Signature: • •                                                                 PO:titian

 P                                                                                           ilcngii1ire,. ,. ,,... ... ..... ...,,, _ ,,,.., ..              .. ,...1...7 rattier'VINIMITKU11.;;JIIILlomm
                                                                  .4'...:1—nci—Ncrcr.:raoi '                                    i n
                           Name
                                                                                          S
      rinled
                                      rmnir^,Serti.F..P.                                                                    I           T   4T44.1   tfilaillY .. 2                                                  acamaitoinualumx.c........ ,
I----                  "
                                            KEY: E - Excelliait, V -                               ell, Good, (w - Good, N - Needs improvernent, U - Unacceptabie
                                                                                                                                                                                                                                   Choose (my) ruling
 T              ram,              it MO
                                      ,.....11
                                            Mah                                                                                 .....                                                                                             E V G N U
 CUSTOMER SERVInt: SKILLS
 * understands that the. customer is our main priority and consistently maintains a‘ custorner focus,                                                                                                                             E          V              N    1.1
 * Ensures a prompt, friendly approach to all customers,                                                                                                                                                                          E          V              N    U
 '" Escorts ckeituniers seeking location(s)aspeoilic merchandise.                                                                                                                                                                 13         V (id N             U
 .*k Is alert to customer needs and otters a curt whenever appropriate,                                                                                                                                                           E          V G                 0
 * Responds quickly to onstoiner inquiries and "Passes the Buck" whenever necessary,                                                                                                                                              li         V 01
                                                                                                                                                                                                                                                -)-14            U
                                  uplies with Bridal and Gift Registry program standards when servic.ing both registrants
                                  guests.                                                                                                                                                                                          E         v              NU
 * Determines onstotner needs and works to add-on sell.                                                                                                                                                                           E          V              N
 * l las developed good product knowledge; keeps abreast. of new items and utilizes this knowledge
   to entumee fmr                                                                                                                                                                                                                  E         V      ci7))        U
     4'          Answers the phone promptly and uses jyropei phone etiquette.                                                                                                                                                      4         V LON
 •             l 1.1                                                                                   ;

     l'IIA Pri SKILLS

     * Demonstrates initiative and completes projectS in a timely manner.                                                                                                                                                          E         V      d AI 1,1
     " Accepts coristructive criticism and acts opoo it.                                                                                                                                                                           13        V      G. N
                 iVtaintainil a positive outlook toward job.                                                                                                                                                                                 V      ON
     * Coranntruiclateg elIttctively with Management and other associates,                                                                                                                                                         E.        VON                  U
     * Works the schedule set by the Manager but demonstrates flexibility when lieu's of the
                 busi fleas d                                                                                                                                                                                                      E.        V 6) N
     * Is a team player.                                                                                                                                                                                                           8         V              N
     ▪                             hits proRtssional manner, dress and                   appearance at all timos.                                                                                                                  13        V        ()N         U
                                                                            ••••••ir


     MERCHANWISING                                         4FL   DErARTmtNT MAINTENANCE
     ▪ Works to maintain selling floor standards and recovery attic: department.                                                                                                                                                             V         ) N
     * is aware orptoduct sell through and completes pall lists.                                                                                                                                                                   E         VON                  U
     * Demonstrates good product knowledge and uses the information to merchandise the
       selling floor elfeotively.                                                                                                                                                                                                   R        V (6)          NI    U
     * Understands and utilizes JDA to resolve. soiling floor                                                      inquiries.                                                                                                      h         V0 . N               U
     " . -- hercu to shortage recluc,tion and en mpliance procedures.                                                                                                                                                              E         V 69           N     U
     * ....ably handles equipment and maintains safety awareness.                                                                                                                                                                  E         V              N     U




                                    J: prrirth.wd(ruv.2000;giort,1/07;3/07:6/10)
         Case:
  2017-07-22   1:17-cv-05124 Document
             00:15              Store ##:0260
                                          61 Filed: 12/20/17>>Page
                                              5167948677           61 of 130 PageID #:1201
                                                               16319824728              P 19/45

                                                                                         MERCHA7SING I STOCK (Page 2 of 2)

        'ENDANCE            PUNCTUALITY;                                             Acceptable                  Not Acceptable

Z. GOALS AND ODUCTIVCS
Objectives Accomplished
Ust the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
goals established at previous review or during the period.


                               - 7)-----TDAVsark                                                    m'c

 Unaccomplisbed Objective*
List the speak goals and objectives not accomplished by the associate during the appraisal period, Compared with the expected results as
defined irirvi ,o,.us review or durAng the period,
                a-0J       1 10 titv                    C




 Goals and Objectives rear next Review Period,:
 identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
 objective indicate how accomplishment of goal/objective will be measured and indicate target date for accomplishments.)
        SV-3C34 "to                        t.30++ta..6           C              .Pbt v
               ft1t       -ro           L


 Strengths and Weaknesses:
 Describe any of the associates strengths or weaknesses which you feel are materially related to their performance and which are not
 addressed elsewhere in this review.
REDACTED                      • , ary
                                                                                 6517--'"    c" •         I
                                                       DA-i:64-
                             7!3•41-
                                 0-                                                                 NI\                              I
                                                                                                                              Circle a    kiting
 3. OVERALL RATING FOR PERIOD                                                                                               E V G1 N I_1

 Date of Review

                                                                                   REDACTED
 Reviewed associate's signature alter review conference:
                                                                                      Signature                                                 Date.


 Reviewer's signature after review conference;                                                                         d                 tar)
                                                                                      Signature                                                 Date

                                                                                      .T/ Cal_ta                                         caa.LL°
                                                                                      Reviewer's Printed Nalne                                 Date


         J: prmtn.tive(r6v,200078/04 ;1/07;,S/0716/1
       Case:
2017-07-22   1:17-cv-05124 Document
           00:13             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           62 of 130 PageID #:1202
                                                            16319824728              P 14/45




      BED BATH &                                RECEIVINC/MAINTFNANCERIVERNIGHT PERFORMANCE REVIEW (Page I of 2)
                                                    REDACTED
      BEYONIE10
      rieyoricI any .5foria of Ifs kind:      Nam                                                      _ StoreI: ().(0      Date of review:
                                                                  Circle review type & Indicate Date Due:
                                            90 DAY REVIEW DUE:                                                  OTI 1ER (        Review) due:
                                           ANNUAL. REVIEW DUE:
                                                  DATE OP HIRE:

                 TIY /44 PlialT0aMANCE itItVirl,W IS 1WANG IllErAtticr)         Aolu/OR A RESULT OF INPUT FROM THE FOLLOWING MANACERSi

     Printed Name               n              121z- l k       Signature                                                    Position    Q.C7s
     Printed Name                                              Signature                                                    Position
     Printed Name                                              Signature                                                    Position
     Printed Name                                              Signature                                                    Position
     Printed Name,                                             Signature                                                    Position
     Printed Name                                              Signature                                                    Position
                    KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
     (Draw H line through any skill whieh isn't applicable.)                                                                                    E    VGNU
     CUSTOMER SERVICE SKILLS
        Understands that the customer is our main priority and consistently maintains a customer focus.                                         E    VONU
     * Escorts customers seeking location(s) of specific merchandise.                                                                           2    V 0 N
     * Is alert to customer needs and offers a cart whenever appropriate.                                                                            V G
     * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                                    N U
     * Complies with Uridal and Gift Registry program standards when servicing both registrants
       and guests.                                                                                                                                       G N U
     + Answers the phone promptly and uses proper phone etiquette,                                                                                     G N
     * Non-selling work is completed with no disruption to customer service,                                                                    E    V   N

     TEANI SKILLS

     ▪ Demonstrates initiative and completes projects in a timely manner,                                                                       E    V G N
     • Accepts constructive criticism and acts upon it,                                                                                         E    V G
     * Maintains a positive outlook toward job.                                                                                                 E    V G
     • Communicates efibetively with Management and other associates.                                                                           E    V 0
     * Works the schedule set by the Manager but demonstrates flexibility when needs of the
       business dictate-                                                                                                                        F.   WU
     * Is a team player.                                                                                                                        E    V     N U
     * Exhibits professional manner, dress and appearance at all times.                                                                         E    V GN      U
                                                                                  •
                                                                                      .•.
                                                                                            ...
                                                                                                  .-
                                                                                                       •
                                                                                                           1,
     MERCHANDISING & DEPARTMENT MAINTENANCE
     * Works to maintain selling floor/stockroom standards and recovery of the department,                                                      E    V G N
     * Maintains a clean, orderly and safe work area.                                                                                           E    V G N U
     * Adheres to shortage reduction and WMplinnee procedures; follows special operating procedures
       01' the department.                                                                                                                      E    V G   I   U
       Understands and utilizes ,IDA to resolve selling floor/stock inquiries.                                                                  E    V G N U
     * Completes pull lists quickly and accurately.                                                                                             E    V    N U
     4' Safely handles equipment and maintains a safety awarencs,s.                                                                             E    V Ci N
     * Communicates problems/progress of daily assignments to supervisor.                                                                       E    V G 1N U




           J: prrmoh.wd: (rev, 2000; rev. 0/04; rev. 1/07; rev. Mg; rev,8/10)
         Case:
  2017-07-22   1:17-cv-05124 Document
             00:14              Store ##:0260
                                          61 Filed: 12/20/17>>Page
                                               5167948677          63 of 130 PageID #:1203
                                                                16319824728              P 15/45

              •




                                                    ECEI V I NG/M A NIT EN A NCE/OV E,RNIC I IT                       Cfl          REVIEW (Page 2 oft)



      1. ATTENDANCE & PUNCTUALITY:                                                                   Acceptable              Not Acceptable


      2. GOALS AND OBJECTIVES
      Objectives Accomplished
      List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected
      from goals established at previous review or during 111c period.
      -•                    r\                 C VV . c„.I‘  d Q, VV..%       ()C 14S r"                    \Lk. ()AC, (1.1,
                                                                 v                 •
                                                            ad' \I            ,3   A                e    131Le                     •




       U oncroniplishccl Objectives
       Lissthe specific goals and objectives nol accomplished by the associate during the appraisal period, compared with (ho expected
       results as defined irr previous review or dining the period.
                  ...4").0p-tfr                          s:1-1:1k.r\CIOI IC k
                                                           r

       Goofs and Objectives for next Review Period;
       idea ify 2 3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period: (For
       each goal or object     indicate how accomplishment of                   will be measured and indicate target date for
       acconlolistaricia$,)                                                                                                                       •
                           (NC.e                    ,;(1N tN,LJA
                                                    C 11 .41LQ ket..0" k               loci(
           S ...14)0A .11(.;     n)       (Q,.. (14.9 e•v•-\                  .fte                                                                    0.1., 01
           ,t yr» 114          4.-0) 9, Ceti.
          5(.1(-1:    VicArYlk_194f ,A1-4-.1 '491471P            hcic 1)e:en opsca1-
                                                                                   v-(1
                           CR-  cC,;,. ‘—‘31,
       Strengths and WeakneSSeS:
       Describe any of the associate's strer             tis or weaknesses which your feel are materially related to their performance and which are not
       addressed elsewhere in this review.

REDACTED                       YZ-K.S                                                   *c_; C 144.0--4                          ble
                                                                                         •(,,, e   4.,,ta,A.S •
                                                                                                                                         Circle n i rating
       3. OVERALL RATING FOR PERIOD                                                                                                    E VG              11


       Date of Review:                           ) 1 4)
                                                                                                    REDACTED

       Reviewed associate's signature               after review conference:
                                                                                                      Signature                                       Date

       Reviewer's signature after review conference.;
                                                                                                                                 (,) A
                                                                                                      Signature                                       Date

                                                                                                         Oaf\               P,
                                                                                                      Reviewer's Printed Name.                        I)Idly
                                                                                                                                                        ate


                  prrmoll.wd; (rev. 2000; rev. 810,1: rev. 1/07; rev. 3/07, rev.6/10)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:16             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           64 of 130 PageID #:1204
                                                            16319824728              P 23/45



  -, RED BATH &                                   REC7EIVING/MAINTENANCE/OVERNIGHT PERFORMANCE REVIEW (Page 1 (42)

     Bricorsinow
       itivond     4ioro nl [fr, kincl:
                                               Name:
                                                       REDACTED
                                                                                                       tore ft: a(.00 Date of review:

                                                                      Ciidt review    type & indicate mitt one,
                                           90 DAY WWIPM DT 1E:                                         OTRIRR (                   Review) dint:
                                          ANNUAL REVIEW
                                                 DATE OP       .            .
                 THIS PERFORMANCE REVIEW !SUING PREPARED DY AND/OR A RESULT OF INPUT FROM IIIE FOLLOWING MANAGERS:

      Pi lilted Narile...1,1.       CI    Le   (2C1'..:"-Ft         Signature ,  INLP,..t.a.rf.,-(,. 6-T.)....fLA-51..,      Position    OP -')         .       .... . ... .......
      Printed Name          x                                       Signature
                                                                                         '•,
                                                                                       fr\:;pi     C., A v ia.-.. et   •-•   Ntii Linn   4   5 "r I r a
      Printed Name                                                  Signature                                                Position
      Printed Name                                                  Sigiralure                                               Peaitimi
      Printed Name                                                  Signature..                     ...... .. . . .          Position
      Printed Mimi:-                                                Signature                                                Position__
                  KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, lI - llnacceptable
      Draw it line through any skill which isn't applicable.)                                                                                     F.        V C N.....1.1
      CUSTOMER SERVICE SKILLS                                                                                                                                     ......
      * Understands that the customer is our main priority and consistently maintains a customer focus.                                           P         V     02 N           U
      * Escorts customers seeking location(s) o(-specific rnerchaiidise.                                                                          E         V ( „!.:i.:1)N       LI
      * fs alert to customer fiends and 0 Ili7Irs- a cart whenever appropriate,                                                                   E         V (01'; N            I.)
      * ResporicIA quickly i.o.CuStOltiOr inquiries and 'Passes the Iluck" wlienewer iieCenfiry.                                                  lf,       V CG\
                                                                                                                                                               ...,)       N     U
      4 CCII)11)1ittti with I hidal       and aft Registry program standards when servicing both registrants
          mid giiests_                                                                                                                            13        V       '?) N        U
      * Answers the phone promptly and uses proper phone etiquette.                                                                               f         V     (1 N           II
      * Non selling work is completed with no disruption to customer service.                                                                     li        V Q.lj N             U

      TEAM SKILLS

      * Demonstrates initiative and completes projects in a timely manner.                                                                        EDON                           U
      * Accepts cum-grim:live criticism and acts upon if.                                                                                         E E 'V) Ci N                   LI
      * Maintains a positive outlook toward job.                                                                                                  I.        V0        )N         u
      * Communicates effectively with Management and other associates.                                                                            E (17), Zi N                   U
      * Works the schodule set by the Manager bill demonstrates flexibility when needs of 1116
        business dictalc_                                                                                                                         E         V              NU
      *   Is a team player.                                                                                                                       E eV 1C                  N     11
      * Exhibits prolessinnal nianne,r, dress and appearance at all times.                                                                                  VGNU


      MERCHANDISING & DEPARTMF,NT MAINTENANCE
                                                                •
      * Works to maintain selling 1100ristOckroom standards and recovery of the department,                                                       E         V(6            N     U
      * Maintains a clean, orderly and sale work area.                                                                                            it        V (i) N              11
      * Adheres to shortage reduction and compliance procedures; follows special operating procedures
        of the department.                                                                                                                        E         V
      • UnderSlandS and utilizes .11)A. to resolve, :;:el 1ing Iloor/siock                                                                        E         V              N     l
      * Completes pull lists quickly and accurately.                                                                                              E         V      (;) N         11
          Saltily bundles equipment and irinirthiim a sarofy aware3=$.                                                                            13        V      ON            U
          conntilliiicacs• problems/progress of daily assignments to supervisor.                                                                            V)(3           N     U




             pariph.wrt; (rev 2000: rev H/04; rev Vat: rev 5/0/; rev.I1/10)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:17             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           65 of 130 PageID #:1205
                                                            16319824728              P 24/45




                                          RECEIVING/MAINTENANCE/OVERNIGHT PERFORMANCE REVIEW (Page 2 of 2)


     I. ATTENDANCE & PUNCTUALITY:                                                     Acceptable             Not Acceptable

     2. GOALS AND OBJECTIVES
     Objectives Accomplished
     List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected
     from goals established at previous review r during the period.
            C .(2-0 CA        PlesDN'     r           CVO 14 1:101 rr"}C*I                        +ci Iill                 s PAO
                   pi eye,          ,r,?,._5t       /1_,i!!4              rtd.ed 1-
                                                                                1-) /3 6 e,


     Unaccomplished Objectives
     List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected
     results as defined in previous review or during the period.
               (r )    aqua evez.,14-                     cleci.r)


     Goals and Objectives for next Review Period:
     Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For
     each goal or objective indicate how accomplishment of goal/objective will be measured and indicate target date for
     accom lishments )
                                                              )
                                                                                                                C\ agno-1- (7)(
                                                                                                          --4 f'd,
                t-et
                                                                                                      P                      at"'     \
     Strengths and Weaknesses:
     Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
     addressed elsewhere in thisjeview.
REDACTED                                (             d rzocki- n ofvt                       opom                      rt.('cix,) 6-rx`l

                          4,'1      ci rirv^.1
                                                                                                                        Circle 0 rating
     3. OVERALL RATING FOR PERIOD                                                                                      E   VG N lj


     Date of Review:         Rho.               LP
                                                                                 REDACTED
     Reviewed associate's signature after review conference:
                                                                                      Signature                                      Date
                                                                                                                                            t-o)
     Reviewer's signature after review conference:                                            tAJL
                                                                                      Signature                                      Date

                                                                                          a0A(04,jc4)(A4                              h(,A
                                                                                                                                        -- 1(0
                                                                                      Reviewer's Printed Name                        late


           prrmon.wd: (rev. 2000: rev. 0/04: ray. 1/07: rev. 3107: rave/la)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:11             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           66 of 130 PageID #:1206
                                                            16319824728              P 8/45


        3ED 341-1&                                            REDACTED
                                                                                                                                   MERCHANDISING / STOCK (Paget off

        BE                N:'                    Name: _                                                      . Start     A.6.10Ditte of review
        1.34;ryoild oily 411010 Of it% Milli:
                                                                                                             types & Indicate Date Doe:
                        91) DAY REVIEW Du 6;                                                                                         (-MIER L             RovioV) dual
                       ANNUAL, REVIE.W                                                      1 2
                       DATE OF I E;                                                  y            ...... .......
 -1111$ rEnitintivi A NCC REVIEW IS BEING PREpAnn BY AND                                           RESU1:r                 MAO:1U VOLLOWING MANAGERS:
  Printed NarneL)                    f ) 1 A,    4,                           $ignature                                                    —11
      .111(cti N111111; 1210        (r          P,),( 6.6A/                   Signature_                                      Pusitioo    . fie-6e1 1- 1:
                                                                                                                                                        17 "
  Primed Nom: ,,,                                                             Signature                                       Position__
  Ptiniqd 1,1Dnio                                                             Sialtuturt                                      Pinuttor,

  Printed Name_                ••                                             smut-limn                                       Position

                                                                                                                            h Aiti n
  Printed Nar               at .t,              - EXCellenty 4 •••                  Cry
                                                                                      .7T 004 :t P"
                                                                                                  '"Craiol •             - Nee • Ilit rovement,                  nacce t a




                                                                                                                                   s
                                                                                                                                                                            Choose one rating
      Drapv Sr lignI2iinnt2i rt2 54 ,1'A/hitt                 isn'tzt4eabla,,                                                                                              EVGN
                                                                                                                                                                  16.71:111=741TWITIMMilr       IWNWMIEMIVINAMM


  CUSTOMER. SERVICE SKILLS
       Understandt thtit. the customer i$ Our maio priority and consistently maintains a customer focus.                                                                  E        V QN                 U
  n Ensures n prompt, friendly upprouch to till nustorners,                                                                                                               R        V   N                U
        Eseorts customen; seeking location(s) ofspecific me,rehaudise,                                                                                                     E       V (T
                                                                                                                                                                                      ,,,) N U
  • 1S nlert to calStOtner needs and offers a cart whenever appropriate.                                                                                                  E        V              N 11-
        Responds quickly to customer inquiries and "Pusses the Huck" whenever necessary,                                                                                  E        V              N U
  * Complies with Bridal and OM Registry program standards when servicing both registrants
       and guests_                                                                                                                                                         E       V ('9N               u
       ')etermines customer necti:i and works to add-on sell.                                                                                                                      vaNu
       ides developed good product knowledge; keeps- abreast 01. new items and utilizes this knowledge
        to enhance service,                                                                                                                                                                        N U
  *     Answers       the phone promptly and uses propel phone etiquette.                                                                                                                          N 11
                                                               win II/1   A


  TEAM SKILLS

        Demonstrates initiative and completes projects in a timely manner.                                                                                                         7Q              N
  * Accepts colkstructive: eritivism and acts upon it.                                                                                                                                      G      N    11
  * Maintains a positive outlook ((Amid job.                                                                                                                               E       42 0            N
  •    r .onurtunicates effectively v.,iith
       ,,                                   managenneul awl other associates.                                                                                              EOGNU
  * Works the schedule set by the Manager but demonstrates flexibility when needs oftlte
    business dictate.                                                                                                                                                      E       V 6j)N
  * Is a team player,                                                                                                                                                                              N    U
             :
       .,:xmoits      professional manner, dress and appearance at. r1ll times,                                                                                            E                0      N    U

  MERCHANDISING & DEPARTMENT 1VIAINTENANCE
  * Woks to iirathititirt soiling flour standards and recovery of the department.                                                                                                           0      N    U
  * Is aware of product sell through and completes pull lists.                                                                                                             E                G N         U
  * Demonstrates good product knowledge and                                      uses tho   information to merchandise the
         Meter effectively.                                                                                                                                                E      (90              N    U
  / Understands and utilizes ;IDA to resolve selling floor inquiries,                                                                                                      E       V        r      N    U
  * Adheres to shortage reduction and compliance ritocedUreS.                                                                                                              E       V G             N
  * Salt/ handles equipment and iirailitairm safety awareness.                                                                                                             E       V              •N    U



                 J: priTI6h,w(1(r(3t(•2000:8/04t1/07:3107;5/10)
         Case:
  2017-07-22   1:17-cv-05124 Document
             00:12             Store ##:0260
                                         61 Filed: 12/20/17
                                             5167948677   >>Page 67 of 130 PageID #:1207
                                                             16319824728              P 9/45


                                                                                                MERCHANDISING I STOCK (Page 2 of 2)

   L ATTENDANCE & PUNCTUALITY:                                                                Acceptable .)‹        Not Acceptable

         JALS AND OBJECTIVES
   Objectives Accomplished
   List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
   go Is e tablished at previous review or during the period.
                                   e S       J GL.                 fvf-,,,
                                                            ale(
        it(Neel
             v 14// 41,v4
   Unaceoruplished Objectives
   List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
   di-filled in previous revii_w or duripg the p iod.          *f.          /}
                              t"NT ittAl                                         • greif.,)




   Goals and Objectives fir next Review Period:
   Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
      ective indicate how accomplishment of goal/objective will be measured and indicate target date for eornplishments.)

   ob'  -ter        p   tqa I- e.._,   h   le th., /14 le   04 4             4,-.1/ 4 0.0        r 01744        d


   L.,....ngths and Weaknesses:
   Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and, which are not
   addressed elsewhere hi this review.
REDACTED
                  I-5 JO" —CLi                                                                                          4./ Le.,,                          I- .7.
REDACTED h
                                                                                                                                    Cirri@ one niting'"
   3. OVERALL RATING FOR. PERIOD                                                                                                           G N U

   Date of Review:             \                                                       REDACTED


   Reviewed associates signature after review conference:                                        fF
                                                                                                     —
                                                                                              Signature                                           Date


   Reviewer's signature after review conference:
                                                                                              Signature                                           Date

                                                                                            f-Dair\\< - Pone:\
                                                                                              Reviewer's Printed Name                               Date



               J: prensh.wd(rfiv,2000;13/04:1/07;3/07:13/10)
2017-07-22Case:    1:17-cv-05124 Document
               00:19               Store # #: 61 Filed:
                                            0260        12/20/17
                                                 5167948677   >> Page 68 of 130 PageID #:1208
                                                                  16319824728             AP 31/45
                                                                                     trap   uf
    1../L11 t -'vI 1Cx      REDACTED
          Beyond cny ecru anis kind.,'                                                 .
                                                                                      Store        ,2,6,. 0 pate of review;
                                                                        tuck rovitiv typo fi Indleale Daft Duo
                   90 DAY REVIEW DUE                                                                        OTHER              Ruvicw) duo:                         -
                  ANNUAL REVIEW DUE:
                  DATE OPIUM              /( - 7
     it     FERPoRMANCE REVIE IR SERN9 PREPARED 13                     NO1 ft A ESOILT OF Itetkr FROM Tint pot.1.0WrNO MANAGF,U7
     Printed Nara           i6    b                          hin.„,„            .1, .....------.       Position

     Printed Mune_t.t1:21                              . Signature                                     Position_     5 4+19
     Printed NatnR                                       Sigiefure                                     Position
     PilOted Nam,                                        Sigristuro                                    PoSitioq

     Printed Nom                                         signotore                                     Position
     Prlowl Ramo                                         Si atom                                       Position
                                                                                                                   rovemont,         nitaF%taP P.
                                                                                                                                           eknose aae rating
     1-,nyra.lin!4212%Ii NI          skill whiek                                                                                                    14. ..11.1
     CUSTOMER SERVICE SEILLS
     * Understands that the customer is our matte priority and consistently maintaitmn customer focus,                                        E    VAN
     * Ensures a prompt, friendly approach to all customers,                                                                                  E    V    N it
     * Escorts customers seeking locatimi(s) of specific merchandise,                                                                         E    V Cr N               r.

     ** Is alert to customer needs and offers a cart whenever appropriate.                                                                    •    V        N
     * Responds quickly, to customer inquiries and "Passes the Buck" whenever necessary.                                                      E         0   N U
     * Complies with Bridal and Gift Registry program standards when servicing both registrants
          and guests.                                                                                                                         E    V 10 1 N
          ietermines customer needi and works to add-on\                                                                                      E    V 11) N
     • Has developed good product IntoWlodg; keepS abreaSt Of tie* ifeths and ittilites this IttlMerike
 •        to enhance service,                                                                                                                 E OG          N   U
 • *      Answers the phone promptly and uses proper. hone etiquette,                                                                         E    V        NU
     TEAM SKILLS

     * Demonstrates initiative and completes projects in a timely manner,                                                                     E    V
     * Accepts constructive criticism and acts upon it.                                                                                       E    V CI N U
     * MaintainS a positive Outlook tetWard job,                                                                                              B    V G          U
     *. Communicates effectively with Management and other associates,                                                                        B    V        N
     * Works the schedule set by the Manager but demonstrates flexibility When needs of the
       business diotate,                                                                                                                      E    V        N   U
     * Is curia player.                                                                                                                       E    -V       N   U
                                                                                                                                                                        4.
     * Exhibits professional manner, dress and appearance.at.all times,                                                                       E    V

     MERCHANDISING & DEPARTMENT MAINTENANCE
     * Works to maintain selling floor standards and recovery of the ticpartrnenr,                                                            5 V           lg U
     *    fa aware of product sell through and completes pail                                                                                 E    V CI N       U
     * Demonstrates good product knowledge arid uses the information to merchandise the
       selling floor effectively.                                                                                                             F.        G N U
     * Understands and utilizes IDA to resolve selling floor inquiries.                                                                       E    V        N   U
     * Adheres to shortage reduction and compliance procedures,                                                                               B    V        NU
     * Satbly handles equipment and Maintains safety awareness.                                                                               Ii   VIN


                J: rirmoh,wdirev.2000:8144;1/07iVa7;13/10)
         Case:
 2017-07-22    1:17-cv-05124 Document
            00:19              Store ##:0260
                                          61 Filed: 12/20/17
                                              5167948677   >>Page
                                                              16319824728              P 32/45
                                                                  69 of 130 PageID #:1209
                                                                                                                        t            1..tt   GA,   V A _cry




   I. A'rFF,NDANCE &             puNcTu.A_urry:                                         Acceptabie      ✓           Not Acceptable_

   2..ciDAIS AND OBJECTIVES
   Objectives Accomplished
   List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected fronn
   goals eStablished at previon. review or during -the period.
                      (                                              sS•




     Unaccompiisbed Objectives
     List the specific goals and objectives not accomplished by the nsseciste during the appraisal period, compared with the expected results as
     defined in pre - us review or doting the period.
   •           C     -.1.05‘n                                        00,0(4            1d)




   Goals and Objectives for next Review ;Period:
   Identify 2-3 quantitative. and/OrqualitAtive goals or °Waives the associate Should focus on during the next veview period_ (t''or enolt goal or
   objective indicate how accomplishment. of goal/objective will be measured and indicate target date for accomplishments-)
                                                       (\Ned,.
                                                       L_J




   %lengths and Weaknesses:
   DeNeribe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which arernot
   addressed elsewhere in this review.
REDACTION
          bHJOU1.3ADICSLOC\ arrt (1.6(Y)Pkta_,A,0,1(c-ti)1IISLIL.
REDACTION (26)44                      matixIottr..
                                                                                                                                Circle        rr4ng
   3. OVERALL RATING FOR MOOT)                                                                                                 E               N
   Date of Review



   Reviewed associate's signature after review conference:
                                                                                         Signature                                                 Date



   Reviewees signature alto- review conference:
                                                                                         Signature                                                 Date



                                                                                        R.ViOwer'SPrinted•Name                                      Date



            .1: prmslIsal (ray.20 0 031(04;1/07;3107:0110)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:20             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 70 of 130 PageID #:1210
                                                           16319824728              P 33/45


                                                                                                         MERCHANDISING /STOCK (Page 1 of 2)
     BED BATH &                            REDACTED
    BEYONEO
    Beyond any store et Iii kind:
                                    Nam,                                            Store it:       &it:, Date of review:
                                                                     circle review type & Inattate Digo Saw
                   90 DAY REVIEW DU.E:                                                                         fER          Review) dun;
                  ANNUAL REVIEW DUE:                      /— 2-   Of —go
            DATE OF HIRE:           ii — v2 et                     07
 Tins PERFORMANCE REYIE IS BEING PREPARED II                            ft A   ESULT OP INPUT FROM THE POLLOwrNG MANAGERS:

 Printed NarnarK             (12                     ,Signature                                     Position

 Priotna Nmne,Qla          SI   A                    SIgrounro                                      Position

 Priniott Ninno                                      Signuture                                      Position

 Printed N nine                                      Agintom                                        PoWm

 Printed Name                                        Signature                                      Position

 Priniqd                                             Signature                                      Position
                                     xcelleot,        •



                                                                                                                                            Choose one rating
 (Draw a line through any skill which Isn't applicable.)                                                                                   E VON          1J
 CUSTOMER SERVICE SKILLS
 * Understands that the customer is our main priority and consistently maintains a customer focus.                                         B    V     N
 * Ensures a. prompt, friendly approach to all customers,                                                                                  E    v     N
 * Escorts customers seeking location(s) of specific merchandise,                                                                          E    V 0   N
 • is alert to customer needs and offers a cart whenever appropriate.                                                                      B    VON  U
 * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary,                                                        .E   VGNU
 4' Complies with Bridal and Gift Registry progrrun standards when servicing both registrants
    and guests.                                                                                                                            E    V     N    U
      'etertnines customer needs and works to add-onisell                                                                                  E    VGNU
 '• I-las developed good product knowledge; keeps abreast anew items and utilizes this knowledge
    to enhance service.                                                                                                                    E ®G N
 * Answers the phone promptly and uses proper phone etiquette.                                                                             E V ON U
                                                          1-^
 TEAM SKILLS
 * Demonstrates initiative and        completes projects hi a timely manner.                                                               E    V    N
 * Accepts constructive criticism and acts upon it.                                                                                        E    V fi N     U
 * Maintains a positive outlook toward job.                                                                                                B    VG    NU
 • Communicates effectively   with Management and other associates,                                                                        E    V ON       U
 4' Works the schedule set by the Manager but demonstrates flexibility when needs of the
    business dictate,                                                                                                                      B    V     N    U
 * Is a team player.                                                                                                                       E    V     N    U
 * Exhibits professional manner, dress and appearance at all times.                                                                        E    V      N

 MERCHANDISING & DEPARTMENT MAINTENANCE
 * Works to maintain selling floor standards and recovery of the department_                                                               E    V G N.
 * Is aware of product sell through and completes pull lists,                                                                              B    V   N U
 • Demonstrates good product knowledge and uses the information to merchandise the
   selling floor effectively,                                                                                                              EI     0 N
 * Understands and utilizes JDA to resolve selling floor Inquiries.                                                                        B    V U N      U
 * Adheres to shortage reduction and compliance procedures.                                                                                E    V   N      U
   Safely handles equipment and maintains safety awareness.                                                                                B    VC    N    U


              prrnsh.wd(re v.200018/04;1107;3/07;6/1 0)
         Case:
  2017-07-22   1:17-cv-05124 Document
             00:20             Store ##:0260
                                         61 Filed: 12/20/17>>Page
                                             5167948677           71 of 130 PageID #:1211
                                                              16319824728              P 34/45


                                                                                            MERCHANDISING STOCK (Page 2 of 2)

   I. ATTENDANCE & PUNCTUALITY:                                                         Acceptable      j           Not Acceptable

   2. 0 ALS AND OBJECTIVES
   Objectives Accomplished
   List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
   goals established at previou review or during the period.
               1:,‘A )1      (        m.
                                       p_79                     -1,..134<rn

   tinaccomplished Objectives
   List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
   defined in pr     us review or during the period.




   Goals and Objectives for next Review Period:
   identify 2,-3 quantitative end/or qualitative goals or objectives the associate should focus on during the next review period. (for each goal or
   objective indicate how accomplishment of goal/objective will be measured and indicate target date for accomplishments).




                          rki
      engths and Weaknesses:
   Describe any ofthe associate's strengths or Weaknesses which you feet are materially related to their performance and which are not
   addressed elsewhere in this review.
REDACTION

REDACTION ..=Qt                       blii7          /14/-4,6                 anct,   .ry)(1..ue-y-a.tx.)                                vc
                                                                                                                                 Grate
   3. OVERALL RATING FOR PERIOD                                                                                                E V            N 1.1
                                                                                   REDACTION




                                                                                                                                         q\
   Date of Review;


   Reviewed associate's signature after review conference:

                                                                                        e .,9‘ture                                               Date


   Reviewer's signature after review conference:
                                                                                                                                                      (0,
                                                                                         Signature                                               Date


                                                                                         lieVieWer'S Prill   e'd Name                             Date


           1: prmsh,ved(rev.2000;13/04:1/07;3/07;01.1 0)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:15              Store ##:0260
                                        61 Filed: 12/20/17>>Page
                                             5167948677          72 of 130 PageID #:1212
                                                             16319824728               P 20/45




     BED BATH &                            RECEIVING/MAINTENANCE/OVERNIGHT PERPORMANCE REVIEW (Page 1 of 2)
                                              REDACTED
     BIEVOIN     EW
         iota% of ;r9 kind:
     Bernd   Q riy
                                        Nam_                           -                   Store #: atop. Date of review;
                                                                 Circle review type& truncate Date Due:
                                    90 DAY    REvTew DUE:                                      OTHER (            Review) due:
                                  ANNUAL REVITAN DUE:                       lA 1 I -4-
                                       DATE OF HIRE:
              THIS PERFORMANCE REVIEW IS BEING PREPARED BY AND/OR A RESULT OF INPUT FROM TIIE FOLLOWING MANAGERS:

    Printed Name                                               Signature                                      Position
    Printed Name                                               Signature                                      Position
    Printed Name                                               Signature                                      Position
    Printed Name                                               Signature                                   .. Position
    Printed Name                                               Signature                                      Position
    Printed Name                                               Signature                                  L Position
                 KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - 'thump able
    (Draw a line through any skill which isn't a limbic,                                                                         E    V G N U
    CUSTOMER SERVICE SKILLS
    * Understands that the customer is our main priority and consistently maintains a customer focus.                            E    V   N U
    * Escorts customers seeking location(s) of specific merchandise.                                                             E    V G N U
    * Is alert to customer needs and offers a cart whenever appropriate.                                                         E    V G N
    * Responds quickly to customer inquiries and 'Passes the Buck" whenever necessary.                                           E    V G N U
    * Complies with Bridal and Gill Registry program standards when servicing both registrants
      and guests,                                                                                                                E    V    N U
    * Answers the phone promptly and uses proper phone etiquette.                                                                E    V (G N U
    * Non-selling work is completed with no disruption to customer service.                                                      E    V G NU

     TEAM SKILLS
     * Demonstrates initiative and completes projects in a timely manner.                                                                   N U
       Accepts Constructive criticism and acts upon it.                                                                                   G N U
     * Maintains a positive outlook toward job.                                                                                             N U
     * Communicates effectively with Management and other associates.                                                                       N U
     * Works the schedule set by the Manager but demonstrates flexibility when needs of the
       business dictate.                                                                                                         B    VON  U
     * Is a team player.                                                                                                         B     G N U
       Exhibits professional manner, dress and appearance at all times.                                                          E

     MERCHANDISING & DEPARTMENT MAINTENANCE
     * Works to maintain selling floor/stockroom standards and recovery of the department.                                       E       N U
     * Maintains a clean, orderly and safe work area.                                                                            E    V GNU
     * Adheres to shortage reduction and compliance procedures; follows special operating procedures
       of the department.                                                                                                        E    V    N   U
     * Understands and utilizes JDA to resolve selling floor/stock inquiries.                                                    E    V    N
     * Completes pull lists quickly and accurately.                                                                              E    V    N   U
     * Safely handles equipment and maintains a safely awareness.                                                                13   V Ca N   U
     * Communicates problems/progress of daily assignments to supervisor.                                                        E    V    N   U




             prrmahmd; (rev. 2000; rev. 8/04; rev. 1/07; rev. 3/07; rev,0/10)
           Case:
    2017-07-22   1:17-cv-05124 Document
               00:16              Store ##:0260
                                            61 Filed: 12/20/17>>Page
                                                 5167948677          73 of 130 PageID #:1213
                                                                 16319824728               P 21/45




                                                 RECEIVINC/IVIAINTENANCE/OVERN Kan' PERFORMANCE REVIEW (Page 2 of 2)



             I, KITRNDANCE & PUNCTUALITY:                                                      Acceptable          Not Acceptable

      2. COALS AND OBJECTIVES
      Objectives Accomplished
       .1st the specific goals and objectives mama Ostler! by the associate during the appraisal period, compared with' the results expected
      iroir1 goals established at previous review or during the periqd.

REDACTED         trvAc-,            IC.(10  d 00A pc:vri 1                    ec.        ',el() 12, krict
          0901                         ryiy.A:k    .400   —C C;




             unaceomplished Objectives
             List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected
             results as defined in preyious review or during the period.
                            ge       "tr.)--VA




       Goals and Objectives for next Review Period:
       Identify 2-3 quantitative and/or qualitative; goals or objectives the associate should focus on during the next review period. (for
       each goal or objective indicate, how accomplishment of goal/objective will be measured and indicate target date for
 •     ilee,01111)11 ments.)1
RFnAcTFri_                nrt . L.:02                   k,"")             QQ NACk     7,:cr                    ig           c„
     • c ur-ry)11- k•c_._ C, 0-"A iTh                      vicr               O' V.
              c(-1t -r -t) NJ CAVC. r -e 0           •1        ne f) (10/A2d,' -t- 8 0                   -.. ,9,Lic"1,JSzlasfi_


      Strengths and Weaknesses:
      Describe any of the asso.ciate's strengths or weaknesses which you feel arc materially related to their performance and which are not
      ntitiee:Fmrtd etlsewhew ju this review. -
REDACTED                     tle- A-cCM-1(-         ,     --r¢2.01() CY) n -C-1.A.. C S -54.2;(,_1Qi-C S                r
REDACTED             hOQ -c) 1-00(0, 441,2.                         (e                b(..1
                                            cAp,
                                           C IL        C na.61-0 eirvin          .:5 1,L•t"                      <, our\ ie->s:--
       v-r\                            v eNt         o cck k                                    11       t     :IN (le
                                                                                                                                   Circle   . rating
             3. OVERALL RATING FOR PERIOD                                                                                      E               N I)


                                          ) I                 -
             Date or Review:                    U
                                                                                              REDACTED

             Reviewed associate's signature after review conference:
                                                                                               SipaIfrt..

             Reviewer's signature after review conference:



                                                                                                    If ) fre. ))17, P re11‘)
                                                                                               Reviewer's Printed Name


                 .1: purnoh.wd; (mv. 2000; my. A/04; rev. 1107; my. 3/07; rey.A/10)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:17             Store ##:0260
                                       61 Filed: 12/20/17>>Page
                                           5167948677           74 of 130 PageID #:1214
                                                            16319824728              P 25/45



                                             RF,C7.1VIN(/MAINTF,NANCP/OVERNIGHT PERFORMANCE REVIEW (Page I of 2)
        BED BATH &                              REDACTED
        BEY0141:Iv                         Nam__                                                Store    A102
                                                                                                          411       Data of review:
        Beyond Div ziom of lis kind:
                                                                     Circic riplielv type & Indicate Mc Due;
                                        90 DAY REVIEW DUE:                                          OTHER                Review) duo:
                                       ANNUAL REVIEW DUE;
                                              DATE OF I-HRE:

                                                           ., AND/OR A Ft SOLT OP INPUT FROM THE FOLLOWING MANAGERS;
                 THIS PERFORMANCE REVIEW Is BEING PREPARED BY
                                                                                         A     V,
        Printed Name           Owl k.        ps.hc                Signature                     LP- t           ,    Position   8eL-
        Printed Name                                              signature                                          Position
        Printed Name                                              Signature                                         _position
        Printed Name_                                             Signature                                          Position
        Printed Name                                                Signature                                        Position
        Printed Name                                            nr._Signature
                                                                   _                                                 Position
                                          .. .
    I         _ KEY:           E-
                               Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
        (Draw a lino through any skill which isn't applicable.)                                 E V G N U
        CUSTOMER SERVICE SKILLS
          Understands that the customer is our main priority and consistently maintains a customer focus.                               E    V G N        U
        * Escorts customers seeking location(s) of specific merchandise_                                                                11   V      N     U
        * Is alert to customer needs and offers a cart whenever appropriate.                                                            E    V G N        U
        * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary,                                              B    VON          U
    .* Complies with Bridal and Gift Registry program standards when servicing both registrants
       and guests.                                                                                                                      E    V G N        U
        * Answers the phone promptly and uses proper phone etiquette.                                                                   E    V
        * Non-selling work is completed with no disruption to customer service.                                                         E    V G,N        U

        TEAM SKILLS

        * Demonstrates initiative and completes projects in a timely manner.                                                            E    V Gr   N
        * Accepts constructive criticism and acts upon it.                                                                              E    V f.r N      IJ
        * Maintains a positive outlook toward job.                                                                                      (;   V G N        U
        * Communicates effectively with Management and other associates.                                                                E    V      N     U
        * Works the schedule set by the Manager bul demonstrates flexibility when needs of the
          business dictate.                                                                                                             E    V      N
        * Is a team player.                                                                                                             E    V      'NI   U
        * Exhibits professional planner, dress and appearance at all times.                                                             B    V      -NT   U

        MERCHANDISING                  & DEPARTMENT MAINTENANCE
        * Works to maintain selling floor/stockroom standards and recovery of the department.
        * Maintains a clean, orderly and safe work area.
        * Adheres to shortage reduction and compliance procedures; follows special operating procedures
          of the department.                                                                                                            E    V
           Understands and utilizes .IDA to resolve selling floor/stock inquiries.                                                      E    V      N
        * Completes pull lists quickly and accurately.                                                                                  E    V G N
        * Safely handles equipment and maintains a safety awareness.                                                                    E    V G) N       U
        * Communicates problems/progress of daily assignments to supervisor.                                                            E    V G N        U




             J; prrmoh.wd; (rev. 2000; rev. 8104; rev. 1/07: rev. 3/07; rev.5110)
       Case:
2017-07-22   1:17-cv-05124 Document
           00:17             Store ##:0260
                                       61 Filed: 12/20/17
                                           5167948677   >>Page 75 of 130 PageID #:1215
                                                           16319824728              P 26/45




                                             RECEIVING/IVIAINTENANCE/OVERNIGHT PERFORMANCE REVIEW (Page 2 of 2)


      I. ATTENDANCE & PUNCTUALITY:                                                       Acceptable      -        Not Acceptable

      2. GOALS AND OBJECTIVES
      Objectives Accomplished
      List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected
      from goals established at previous review or during the p c.tiod. , .                            ,
      --, e n rnet -1                   I/1AI) --1-0    poi k Lvsli):` .1( , •1190( ();5tr"1
      — I eoQ...ne, 0                nt.).4..) -to                  t 0--, 1 at pll

      Unaccomplished Objectives
      List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected
      results astlefined in previous review or during the period.
         Morltec on                         ono i ni-erNt coce
                                   T)fYIP. 1-t -) ea) Y)& :14.4,

      Goals and Objectives for next Review Period:
      Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For
      each goal or objective indicate how accomplishment of goal/objective will be measured and indicate target date for




      Strengths and Weaknesses:
      Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
      ArldrAcepri fkleekWhere in this review.                                   ,
REDACTED                  4s) Oft OrA                      1)ID1 14/          4   c-,.,e,G4e                 I
   REDACTED               V-05 tel afte..6! cr\ I .s                                 6/1              c„ic_      qt .-tJR-6..,N‹..r)11,H
                           rtl 0 e.4             t ry muciL
                                                                                                                            Cireieian rating
      3. OVERALL RATING FOR PERIOD


      Date of Review:           kl

                                                                                        REDACTED
      Reviewed associate's signature after review conference:
                                                                                          Signature'—'                                  Date

      Reviewer's signature after review conference:
                                                                                          Signature                                     Date


                                                                                          Reviewer's Printed Name                       Date


          J:   prrmoh.wd: (my. 2000; rev. 8/04; rev. 1/07; rev, 3/07; rev,6/10)
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 76 of 130 PageID #:1216




                       EXHIBIT 8
        Case:
2017-10-25    1:17-cv-05124 Document
           14:10                 0105#:5163653970
                                        61 Filed: 12/20/17                           P 3/35
                                                           Page 77 of 130 PageID #:1217
                                                    >> 15167268413

                                                                                                             FRONT END LEAD/SUPERVISOR (Page I of 2)
          BED BATH &                             Nowt
                                                          REDACTED
                                                                                                 Store                        Dow of rcv low:         .12:0e.,
          BEYOND
          Beyond any store of its kind:

            int; PERFORMANCE REVIEW is IlEINO PREPARED DV AND/OR A RE8111;1' (}P INPUT FROM THE FOLLOWING NIANACERSI
           Printed Name                                 1•1.2      Signature_                         ......,...,.                        .‘... .1 J, II) it,
                                                                                                                     r./      .
           Printed Name                                            Signature,                                                                                            .„.
           Printed Neale.                                          S gnalure_                                                 ion 14,           '               lc( '
           Printed Nano
           Printed Nettle                                          8 'panne _
           printed Name_                                           S Ottawa                                                Pustion   •


            KEV; E M Excellent, V < Very Coed,_C, "wed, N Needs Im trovent ant, ill Ilntiticelitable

           I. PERFORMANCE SKILLS                                                                                                             E V                (i
                         ER                   overall rating                                                                                                    C              N   11
           I. Always loads by example the customer service slentlards which acute positive experiences
               for employees and thistoom.                                                                                                           r                         N   11
           2. Institutes practices that ensure all opportunities to enhance customer service are putsuitd.                                                          ;          N   II
           3. Crettplies with 13ridel and Gin Ruoultry program titunthills when servicing hoth registrants lind pests.                                                         N            t.ce`i
           4, Ensures that customers are viewed as 8 priority.                                                                                                                 N   II
                                                                            man                  mmicarogoommudy,..amem.,,,,,
           FRONT END SKILLS - ovorall rating
           I, Ensure gill registry purchases 1111: properly recorded.
           2, Maintains stalling levels el registers.
           3. Comitleltis 40811013 0cOurulely and in it timely manner,                                                                        I:, (V..) (                      N
           4. 'Trains (insiders on new policies and procedures.                                                                                                     (;         N
           5, Ensures (1111/Pand rebate glades are up to date unit cashiers me Itainutl an procedures,                                                   v
           Q. MOnitto cushier 840111114, 0/8 t           discusses concerns with tyhmagerricot as necessary,                                                        (I
           7. Communicates soeurity alerts to cashiers,                                                                                                             (i         N
           N. Identifies and communicates imitate and individual store opportunities mousing not the tore cuitiontorlii tteedu.               h                     11         N
           C. Adheres W0111'14/ policies and procedures,                                                                                                                       N   11
                liointret all POS equipment hi le working order.                                                                              1:,               l              N
           I I. Insures that annual Corti amnions and bionntlel Cart Test tire conducted with ell associates,
                                                                                RV          Si

            OPERATIONAL SKILLS - overall rating                                                                                                 F. C..   C7i Pk\ ll
            I. 1.10400ands 1410 oxee111111 principles of PrOeass Improvemaill WO,                                                              J,, • V   (i (,11,,.1 tl
            2, Knosvledgcrible of mid properly implements safety and lass prevention procedures,                                           I.,. 1. , ,' V( i N !I
            3. Properly utilizes and item upon Xiill refititt3,                                                                                I. V k.'ll .'' N      tI
            4, CoropleteS all necessary paperwork accurately and in 0 timely Munliff.                                                      ,.. y ' V,) Cl      N II
            5. Complies whit Company standards Ihr all ogcretionol policies and procedures                                                     h ,,,'Uri (1 N 11
            6. Ensures department maintenance,                                                                                                 I; '‘, .) (1 N 11
            7. Works in a safe manner and maintains sere, dean work environment,                                                                I, ,     t; N 11
            g, 1111(10r$103118the 111111114131
                                            implications of adhering in front end policies and procedures                                  ,e`i,. .,) V 1i N II
            INTERPERSONAI-i/M A NAGEMENT SKILLS - overall rating                                                                                        V                      N   11
            I. Pollows instructions.                                                                                                        ‘',„.1.1•
                                                                                                                                                  ::' V             (1         N   11
            3, Promptly advises Management orally problems.                                                                                           • V           (1         N    11
            3, Seeks advice when appropriate,                                                                                                 t. •                             N   II
            4. Ability to prioritize work, effeetiVely, control time m1(111100 deadlines.                                                                           (i
                Exhibits ability to work independently with minimum thipervisicity, eel fuututntiur                                                  V                         N    I
            6. tixttinita obi* in accept and mg upon constructive criticism.                                                                  1..,A V               (i         N    11
            7, Initiative, self motivation, enthusiasm, attitude and reliability.                                                            '11 ) V                (i         N        I
            It, Communicates and weds well with M110140111011 nod other associates,                                                               •• V              ti         N
            9. Aptitude for dealing with people (met),                                                                                                                         N   11
            Id. Ability to identify critical i$13.108.                                                                                                                         N   II
                AathhitlishOti ribje0(iveit with n slime of urgency.                                                                                                (1         N   II
                                                                                                                                                                                    ;)I
            PERSONAL WORK CHARACTERISTICS t (wend' riding                                                                                                           (          N
            I, Exerciser; proper and ethical behavior at all times.                                                                                                 (          N
            2, Works ittfuotivaly tinder pressure.                                                                                                                  (          N
            3. Sank( 114330 level of resnonslhility,                                                                                                                           N    11
            4, Willing to work Ihr the good of the C03111113y; is n 14.0sittplayer.                                                                                            N    11
            5, Muk00 cifeclive use or time.                                                                                                                         (1         N
           PE Lead rev, 8104; 1(07; 07110
        Case:
2017-10-25    1:17-cv-05124 Document
           14:10                 0105#:5163653970
                                        61 Filed: 12/20/17 Page 78 of 130 PageID #:1218
                                                    » 15167268413                    P 4/35

                                                                                                     FRONT END LEAD/SUPERVISOR (Page 2 of 2)

                     ATTENDANCE & PUNCTUALITY;                                    Acceptable                         Not Acceptable

            GOALS AND OBJECTIVES
         Objectives Accomplished
         List the specific goals end 00:olives accomplished by the associate during ihe appraisal period, compared with the results UNINO;(1 IIM11
         flank bginhlid'rql al previous review r (ludo
                                                    , the period
       REDACTED ka                                     reiv,                                4, a            to .5 4 01-e 0E)                   liret
     REDACTED                                                                                                   t•
     REDACTED                                                                                                                                                       zaid42E,_

                                  ,..—merefflevenrmanwasrmwava..*


             IThaccomplishea Objectives
          List 1110 6110Cillc goals and objectives not accomplished by IN 1100eitlie daring lire tippraisol NNW. compared with the opt:vied results us


            ‘11••••rnt
                                              _iv
           deli„nrl of nh"..5 review or d.t7oirinihil period.
         REDACTED Ian                                                     j          iL11:               rv5v,,5,

                                                                                                            —11mnem•-n•   .....—i-emeaww•nreveax,.•




            7, ...".....

             Goals end Objectives for nest Review r4rioth. REDACTED
             Identity 2.3 quantitative and/or qualitative goals or et ioctivas we aNsoatine should Ibtititi 011 thirill0 tht: 11(g( review pOritlil• (FOr curb µ(10
                                              d iPlishilleill orgoal/oblective will be 1110aglited 1 td indicate target dale Mr accomplishincals.)
             or 0 .0 live I Idiettle how tie 'on
                              I vie„ fir, I .,L;:                    ../_—_LQ l 1                    waize4t4.4,,,:j .              ( pittecre'               ail '"61re.
                                   I           ,it,t..e. IMP.4 sittriat, IA                          12efi ot                              t4.
                                                iiir '.
                                                     .,                    s.kil 1                  .PIY.4.4,4t-f
                                                                                   ......s.e..„
                                              Ito • T.                                   -049                       15 •-?Ai.?!,iftn
          Strengths and Weaknesses:                   614.01-.5,
                                111t6                                       nutterialhrroom' lo their perctirmance and ‘vtlich are not
          1)Q11°11114 a"
          Maenad         t'r Ulu 111"ifile8
                      elsewhere              Mrellgtim wintkN'REDACT.Eb
                                     (his roview,
         REDACTED                   5                  ria2   re 5        c_cd4t5
                       iSe.c                                            inr
                                                                                                                 ..mgrn.,*—rrwrirff

         REDACTED                                                                                  Lta12                          j      c:                                       flee:- (401-7er
                               15                     4 —1."


               OVERALL RATING FOR PERIOD                                                                                                                       ) G         N
                    REDACTED
               Name:                                                                                   Store Name and Number:
               Dot, or Hire;                                                                                         Doi; of Review                   In.Vi ; 7 1   1RI     P




                                                                                                    REDACTED
               Iteviewod assoolates sigogura otter review conrerencel


               Reviewer's signature tiller review conlbrence:
                                                                                                        tglinone                                                          Da te


                                                                                                      RAN(owuiN 141111Ni Nolte                                            1htte




              Pa Lead ray. a/44:1107; 07/14
       Case:
2017-10-25   1:17-cv-05124 Document
           14:11                    #: 61
                                 0105     Filed: 12/20/17
                                       5163653970         Page 79 of 130 PageID #:1219
                                                    >> 15167268413                  P 6/35

      BED 3ATH &                           REDACTED
                                                                                                                        MERCHAN ISI NG / STOCK(Paget 0'2)

      Boyont pny store of its kind!
                                      Name:                                                  Store ft; /e) ("' Date of review:
                                                                              ctrete review type & Indicate Nit Poet
                     90 DAY REVIEW 1)1JE:                    ,                                                         (Y1'11ER (                                  Review) does,
                    ANNUAL REVIEW DLI1?,',             6""

                    DATB 01? l'IME:                          {..? I I   / 7/ 11
  l'IlIS PERFORMANCE 14,EVIEW IS BEING PREPARED Ire AND/OR A RESIXF q1LINPI.rrylION1 TOE MIAOWING' MANAGERS:
                                                                      ---
                                                                                „, ,(: ,,67
  Printed Nn e il:,).)(qc,' (     4 " L'e                811.3nittare 1 s2-74.-:":,4..-.• -- ..-                 Position         /.. '.1+;),t 10.'            ;11,S' Iv
  Printed Nn 11C                            K   kil)     Sig ntsr          77...,A   ,       •-•   .---- -       Pii311i011_,....41/4),LIC,„.16, C.):)!...1, .,. , . if.) k_,A. I, 11:: i.i ),i',.. ',e

   Printed No no._,,,,,„,,,_,.,,.,„,„„„________SignoinK,„„,„„,.„.,,,„_...,...,..._                           .   Pottition_ .... ........

   Printed Nn                                                                                                    Panilion

   Printed Nii ne                                        Signature                       .          .            Position, __-. -•

   Printed No no       r.
                                                         Si flo(n:                                               NINithm
                            V':       w ...,zee eft! - ory yoo
                                                                                                                                                                                                Choose nno rating
     Draw Inc thou h an skill which Isn't a                                                                                                                                                    E VGN IJ
   CUST iVIER SERVICE SKILLS.
   • Undo stands that the customer is our main priority and consistently maintains a customer focus.                                                                                              6,10 N 11
       Ensu s a prompt, friendly approach to all customers.                                                                                                                                    E (V, l,.f N
       Escor s uustomers seeking location(s) of specific merchandise,                                                                                                                                     (y)        Cr      N         11
   '1" IS ale t to customer needs and oilers a cart whenever appropriate.                                                                                                                      I,         V (e)              N
   * Rasp ads quickly to customer inquiries and "Passes the Ruck" whenever necessary.                                                                                                          k                             N
   *,fom lies with Bridal and (lift Registry program standards when servicing both registrants
          :1 g lefts,                                                                                                                                                                          F.         V CO               N         lJ
   44 Deter linCS QIISIQMOI needs and works to fuld.on                                                                                                                                         E          V          to                Li
                                                                                                                                                                                                                                 y
   * Has •eveloped good product knowledge; keeps abreast of new itunt end utilizes this knowledge
       to ortl to cc service.                                                                                                                                                                  E          V 0 ' N                      U
   * Ails% er-i the phone promptly and uses proper phone etiquette.                                                                                                                            E          V (If' IV                    LI

   TEA          SKILLS
   • Dem n. Lrates initiative and completes projects in a                    timely manner.                                                                                                    E          V (tl. N
      ACee'ts constructive criticism and eels upon it.                                                                                                                                         E                     Ci N
   'f Main alas a positive outlook toward job.                                                                                                                                                 E                         NU
      Corn 1 nicates effectively with Management and other associates.                                                                                                                                              (0,/ N
   * Wars the schedule set, by the Manager but demonstrates flexibility when needs of the                                                                                                                            ,e( •



      bush est dictate.                                                                                                                                                                         E          V                 N




   * Is a t Ala player,                                                                                                                                                                                   (1 /1 1    (.;     NU
   4' Exhibit., professional manner, dress and appearance at all times,                                                                                                                                                      N         11
   MERCHANDISING & DEPARTMENT MAINTENANCE
   * Works o maintain selling floor standards and recovery or the department.                                                                                                                   F          V                 N         U
   * Is aware of product sell through and completes pull lists,                                                                                                                                E           V         a           .")   ii
   * Dernmstrates good product knowledge and uses the information to merchandise the
      sa 1111g boor effectively.                                                                                                                                                               E           V                 N
                                                                                                                                                                                                                    ,•••
     .LIndcr6 ands and utilizes iDA to resolve selling floor Inquiries,                                                                                                                        E           V(                N
         .fheres to shortage reduction and compliance procedures,                                                                                                                               B          V )girl)          N
      Safely handles equipment and maintains safety awareness,                                                                                                                                                               N         U




                J! prtnah,wd(rev,2000;8/04;1/071/07:0/10)
         Case:
 2017-10-25    1:17-cv-05124 Document
            14:12                 0105#: 5163653970
                                         61 Filed: 12/20/17 Page 80 of 130 PageID #:1220
                                                     >> 15167268413                   P 7/35

                                                                                                                                 MERCHANDI,SINC / STOCK (Page 2 of 2)

   I. ATTENDANCE & PUNCTUALITY:                                                                                       Acceptable                 /   Not Acceptable

         OALS AND OBJECTIVES
   ()Weak os Accomplished
   List the sr ecific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
   goals estab ished at previous review or during the period.
      1„),'         4)       42Lhl         <04 -1124-4 (6'
     r4G1,-+ i )11Ifit;/ 4,44 eal irk                              14,..( 4 ig"?          2.22t ial_tu



   Unaccomplished Objectives
   List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results Eli
   dill(' in revious review or during the period.




   Goals and Objectives for next Review Period:
   identity 2.2 quantitative and/or qualitative goals or objectives the associate should forais on during the next review period, (For ouch goal or
   objective irdicate how accomplishment of poi/objective will be measured and indicate logo. date for accomplishments.)
                              t/   /e)REDACTED
                                     _
                                       "2:1—.4.4kdiYi
                                                                                    belyil 4 ..)4,61                                  .9:c.4rs IA*
  712,                                R F nA t rTF n.
       1,(04
                                              •               ....T....6.j•   MSS                4•1   41.1.1•MI,F   e•• •   •




   Strengths And Weaknesses!,
   Describe II y of the AS$OCiate'S strengths or weaknesses which you feel are materially related to their performance and which are not
   addressee elsewhere in this review,
REDACTED          / /v.,           .                                                            /Irv,                e           4 Id :1 '(76L1             • ('
               -0711/624.4.4.,..10_                                                 4"1 1,-11                                                                         -../.11=at
                                                  i for ; k   1         44 17 7-                                                  "   111P-4.'


                                                                                                                                                                   Circle ot rating
    3. OV        ALL RATING FOR PERIOD                                                                                                                             E V        N U

    Date of     view:           112- (                                                                               REDACTED

    Reviewer associate's signature after review conference:
                                                                                                                         Siahaturr-                                              Dale

    Reviewer, signature after review conference:

                                                                                                                                                                                 Date
                                                                                                                                                                            491/90
                                                                                                                             eviewer's Printed Name                                Date

            J p
                msimd(rev,2000;0/04;1/07:3/07A/10)
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 81 of 130 PageID #:1221




                       EXHIBIT 9
                     Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 82 of 130 PageID #:1222
                                                                            Name of Candidat
                                                                                                          REDACTED
BED BATH &                                                                  Name of i s' Interviewer ---7 .70                        -1                                                        Date C11
                                                                                                                                                                                                      3-
BEYONIED
Beyond any store of its kind:
                                                                   Please log All comments/answers on form
      Let's start by having you give me a brief overview of your work experience starting with your most recent position.
                                                                                                                                                                                                   _ 3 /1,4-1 • 1) 41
             1) What are/were your main responsibilities as S4k1                                              2) What is/was your work schedule like?                                     41115
                                                                                                                                                                                                      ;,
                                                                                                                                                                                   -Cr4c1.4—            o",      /(
             3) Why did you leave                       ? f i fJ A-k-f       (                                  4) What do you like most about working in retail?
                                                                                                                    Least?


      All associates and managers are expected to approach customers who are actively shopping in our departments and offer service. In many
      cases it's not only the initial greeting, but asking qualifying questions in order to provide an answer that will allow them to
      purchase the ideal product.
             Scenario: Tellme about any item that you own personally and like, andhow would you convince me to buy it?


      Our Bridal registry program is a very important part of our business. Our goal is for all associates to be capable and excited about
      registering and assisting our couples and their guests.
             Scenario: A couple comes in to register with us. What types of things wouldyou say to a new couple to display enthusiasm about
              their wedding andregistering with US7                      (Anything Mich demonstrates that the associate would be able to engage the couple would be acceptable.)




5) Our positions require our associates and managers to move about in a store; sometimes these movements are made quickly
and repeatedly. If considered for a position with us, would you be able to perform the following functions:
(leave tine (or a yes le response for each and mark accordingly)


      ?       Climb ladders up to 10' to replace and retrieve merchandise y Yes                                            ❑No*
      •      Lift up to 40 lbs. O-Yes                   0 No*                                    ? Push/pull up to 40 lbs.                         Yes       0 No`
      ?       Stand for long periods of time. t Yes                      OW
              Maintenance; cleaning of the bathrooms, picking up paper on the selling floor, taking pride in our stores appearance. 312''es ❑No*

                         ?      If the answer is NO' to any question, ask "What wouldbe needed to allow them to perform the functions'?"
     (List response):


              Scenario: While you are on a ladder pulling down stock to merchandise your department you look over and see a customer
               who looks confusedin the next aisle although they haven't asked for help. You then hear a page asking you to come to the office
              immediately. What do you do?


6) Are you able to work: Days                                Yes UN°                   Nights            Yes ON°                      Weekends Eyes ON°
7) Will you need any additional time off during the next 6 months? i.e. vacations planned already?
             DYeS (list dates)                              0 No
    All Associates and Managers are required to adhere to following dress code guidelines. Clothing should be appropriate for the
    workplace and be clean and neat.
      Review Dress code: All Clothing should be well fitting: Shirts not too tight or too low cut. All length of skirts in good taste.
                                                                       The following are not permitted:
          Mid drift shirts or sleeveless shirts (tube, halter or tank lops)                                                    Clothing that is torn or ripped
          T-shirts:undergarment t-shirts"                                                                                      Open toe, open heel shoes (flip flops, sandals)
          Facial Jewelry other than earnings                                                                                   Day-Glo or pastel dyed hair is not permitted
           'Noodles"- any shirt or sweater with a hood.                                                                        Shorts, Leggings, jeggings and athletic pants (sweat, yoga, jogging)
          Brands
       ago.       & Lo os are ermitted on shirts' hcakever the must be small                      vs..



              For all candidates you are not going to hire, please be sure that we are being consistent with our closing message.
Interviewers should say the following: "Thank you for interviewing with us. If we decide to go further with the interview process, we will contact you."
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 83 of 130 PageID #:1223




                      EXHIBIT 10
  Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 84 of 130 PageID #:1224


                                                                                REDACTED
                                                                                                                                                                   Revised 5/2015
                                                        Name of Candidate
ED 3AT &
BEISONElif
Beyond any &Ona of kind;
                      its
                                                        Name ofInterviewer

                                            Pka$104A1frootrimentslan$we
                                                                                                     oz,
                                                                                                f form
                                                                                                                                                          Date
                                                                                                                                                                                    A
44 Let's start by having you give me a brief overview of your work experience starting with your most recent position, -} .0..e,                                                (J/kA
         1) What are/were your main responsibilities asa(Jjzao_t.                  ) What is/was your work schedule like?                                         611.deD ,SS&P

         3) Why did you leave         7 utia;r5 rjZIC/                             4) What do you like most about working. in ret 17 Least?
                                       40 16A6,61,61Y                                                   1) )!    pl2aPel
                                                                                                                     -                                  (20 —,_SRA2
                                                                                                                                                               '
4:,* All associates and managers are expected to approach customers who are actively shopping in our departm nts and offer service. In
     many cases it's not only the initial greeting, but asking qualifying questions in order to provide an answer that will allow them to
     purchase the ideal product,
         Scenario:      Tell m about any item that you own personally and !Ike, and how would you convince me to buy it?
     xf-l5 L .06/9             C/2             -
    Our Bridal registry program Is a very impo i part of our business. Ourgoal is for alt associates to be capable and excited about
    registering and assisting our couples and their guests.
         Scenario: A couple comes in to register with us. What types of things would you say to a new couple to displayenthusiesm
         about their wed& and registeri g with us? (Anylhingwhichdemoaslrole6l t lho associate ould be ale to engage lhe couple would be open ie)
       BA104-9                                                                         („L_P :1126ezt
5) Our positions require our associates and managers to:
          Climb ladders to replace and retrieve merchandise. j2f-E's
          Lift up to 40 lb„.2<es
          Stand for long periods of time         [No*
          maintenance; cleaning of the bathrooms, picking up paper on the soling floor, taking pride in our stores appearance                                                  Yes DNo*
     If considered for a position with us, would you be able to perform these functions?                         (Leave dm" for 8 min f0888858 fat 58:11 and mark accordnyyj



                  *    If the answer is NOR, ask 'What would be needed to allow them to perform the functions?" (Lk response)

          Scenario:    While you are on a ladder pulling down stock to merchandise your department you look over and see a customer
          who looks confused in the next aisle although they vent as edIfor help. You      hear a page asking you to come to the office
          immediately, What do you do?                                  [LS              CCP

 6) Are you able to work:      Days                 ONO           NighrK        : OS    ONo          Weekends ..2Ks oNo
    Will you need any additional time off during the next 6 mon                    ? i.e. vacations planned already?
              OYes (gwicittion)

     All Associates and Managers are required to adhere to following dress code guidelines. Clothing should be appropriate for the
     workplace and be clean and neat.
     Review Dress code:            All Clothing should be well fitting; Shirts riot too tight or too low cut. All length of skirts in good taste.
                                                    The following are not permitted:
 Mid drift shirts or sleeveless shirts (tube, halter or tank tops)                              Clothing that is torn or ripped
 T-shirts-"undergarment t-shirts"                                                               Open toe, open heel shoes (flip flops, sandals)
 Facial Jewelry other than earnings                                                             Day-Glo or pastel dyed hair is not permitted
 Wearing of cell phones or electronic devices                                                   "Noodles"- any shirt or sweater with a hood.
 Shorts, Leggings, jeggings and athletic pants (sweat, yoga, Jogging)                            Brands & Logos are permitted on shirts; however they BMhe Small

 > For all candidates you are not going to hire, please be sure that we are being consistent with our closing message.
   Interviewers should say the following:
                                          .       ..
  "Thar* YcitthriritE*I0Ilig                1f*e-clpcitfelO410,fuilher with Interview process we will contact you."
                               • •

g/5 d                                    921.472861,29( << 6SE2295429 0580                                                                                  047                22-44-LLOZ
        Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 85 of 130 PageID #:1225
                                                                                               REDACTED
                                                                   Name of Candidate-
u     t BATH &                                                     Name of        Interviewer                                                               Date(
    BEYOND"
        of
    Beyond ony store           Is kind'
                                                    Please log All comments/answ                          n form
       Let's start by having you give me a brief overview of your work experience starting with your most re-
       cent position.
            1) What are/were your main responsibilities as                                     2) What i5lres your work chedulo like?
                                                                                                                                              7

            3) Why did youleave                                                                4) What do you like most about working in retail?
                                                    11 '         (•         •                     Least?

    )e All associates and managers are expected to approach customers who are actively shopping in our depart-
       Ments and offer service. In many cases it's not only the initial greeting, but asking qualifying ques-
       tions in order to provide an answer that will allow than to
           purchase the ideal product.
           Scenario:       me about any item t a  2t-k.
                                                     duown personally and like, and how would you convince me to buy it?
                  •
                     .1 V,   (?,,y, ._..:.•)071X,      . • .
            •:; •
    );- Our Bridal registry program is a very important part of our business. Our goal is for all associates
        to be capable and excited about
               registering and assisting our couples and their guests. .
             Scenario: A couple comes in to register with us. What types of things wouldyou say to a new couple to display enthusiasm about
             their wedding and registering wit us,'              (Anything which (iFillOrIAleaten; that the associate would he a 4 lo to engage the couple would he acceptable.)
                                                           /".


    5) Our positions require our associates and managers to move about in a store; sometimes these movements are made quickly
    and repeatedly. If considered for a position with us, would you be able to perform the following functions:
    (Leave time   for   a yesino response for each and mark accordingly)

        ?    Climb ladders up to 150:-to replace and retrieve merchandise ii-- 71,,1/es                0 No*
        ?    Lift up to 40 lbS-..1jyes           No4                                ? Push/pull up to 40 lbs...„0 -e,
                                                                                                          EiNo*
        ?                                         CINOW
             Stand for long periods of timoi- ClYes
        ?    Maintenance: cleaning of the bathrooms, picking up paper on the selling floor, taking pride in our stores appearance;_-1=1.65 ON0-

                               If the answer is NO 'P to any question, task "What wouldbe needed to allow them to perform the functions?'
       (List response) :


             Scenario: While you are on a ladderpulling down stock to merchandise your dopartment you look over and see a customer
              who looks confused In the next aisle although they havernOskedfor help. You than hear a page asking you to come to the office
             immediately. What do you do? /-           .      ,         ( (At
                                                                           - •
    6) Are you able to work: Days ,.EiYes                Nights Dyes ON°
                                                            Elmo                 Weekends ,i,Xes DNo
    7) Will you need any additional time off during the next 6 months? ie. vacatIns plemee14-eady?
                                                                                 •
                                   dales)                                         ONO
         All Associates and Managers are required to adhere to following dress code guidelines. Clothing should
         be appropriate for the
             workplace and be clean and neat.
           Review Dress code: All Clothing should he well fitting: Shirts not too tight or too low cut,
    Ali length of skirts in good taste.
                                     The following are not,permitted:
              Mid drift shirts or sleeveless shirts (tube, halter or tank tops)                Clothing that is torn or
              ripped
              T-shirts -"undergarment t -shirts"                                        Open toe, open heel shoes (fl ip
              flops, sandals)
              Facial Jewelry other than earnings                                 Day-Olo or pastel dyed hair Is not permit-
              ted
              Marino of cell phones or electronic devices                               "Noodles"- any shirt or sweater with
              a hood.
              Shorts, Leggings, jeggings and athletic pants (sweat, yoga, Jogging)                                  Brands &
              Logos        are   permitted on shirts;            howevor tnoy nkRit bn mut 1

                                                                                                                                                                           fthvised 51201a




     S1*7 d                                         922NE64E94 << 652EOSLE9 0880                                                                            6E:44         e2-44-LIA2
       Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 86 of 130 PageID #:1226
               - N1              mTU s --,7„s„±                             REDACTED


                                                                                                                                     4/` 4
                                                   Name of Candidate
           3ATH                                   Name of 14' interviewer                        _71,4                        Date
BEYONIIIIX
Beyond oily store of its kind:           Please log All comments/answer               form
     Let's start by having you give me a brief overview of your work experience starting with your most re -
     cent position.
         1)   ia`t are/were,7ur ain responsibilities as                 2) What is/was our work schedule like?

         3) Why 'd you eave         ?                                    4) What do you like mo
                                                                                              i 0s   o/       ng in retail?
                                                                            Least?

S.   All associates and managers are expected to approach customers who are actively shopping in our depart-
     ments and offer service. In many cases it's not only the initial greeting, but asking qualifying ques-
     tions in order to provide an answer that will allow them to
         purchase the ideal product.
         Scenario: Tell me abou any item that you ow1ji erstyly a
     14.-6- • ()Lai-
                                                                            4    like, ndhow would you convince me to buy it?


     Our Bridal registry program is a very important part of our business. Our                                I is for all associates
     to be capable and excited about
          registering and assisting our couples and their guests.
         Scenario: A couple comes In to register with us. What types of things wouldyou say     to a new couple to display enthusiasm about
         their wedding a regis ming with u ? (Anvthir which clanorMrit s Ltat,f to aaeociate l be able   ngege the couple would be acceptable, )


5) Our positions require our associates arid managers to move about in a s re; sometimes these movements are made quickly
and repeatedly. If considered for a position with us, would you be able   erform the following functions:
 (Leave time for a yeuffic re,monce for each and mark accordingly)

          Climb ladders up to 1 ' o replace and reyieve merchandise yea C11\10*
          Lift up to 4e lbs. r es LING* _,..,----- ' e         ? ush/pull up to 40 lbs_          es DINo*
                                                                                                       ❑                                      ._..
          Stand for long periods of tirn"..-5yes DNo*                                                                                  -,----
          Maintenance; cleaning of the bathrooms, picking up paper on the selling floor, taking pride in our stores appearance       1l OW

                 ? If the answer is NO* to                   n; ask "What would be needed to allow them to perform the functions?"
     (List response):

          Scenario: While you are on a la derpulling down stock to merchandise your department you look over and see a customer
          who looks confusedIn the next aisle although they haven't asked for help, You then hear a page asking you to come to the office
          ImMediately What do you do?

6) Are you able to work: Days_r_,D -,;- oNo          Nigh         EiNo       Weeken              ONo
7) Will you need any additional time off during the next 6 nths? i.e. vacations planned already?
             DYes rom owe                                  No
    All Associates and Managers are required to adhere to fol lowing dress code guidelines. Clothing should
    be appropriate for the
          workplace and be clean and neat.
          Review Dress code All Clothing should be well fitting: Shirts not too tight or too low cut.
All length of skirts In good taste.
                                          The following are not,permitted:
         Mid drift shirts or sleeveless shirts (tube, halter or tank tops)                       Clothing that is tarn or
         ripped
         T-shirts -"undergarment t -shi rts"                                              Open toe, open heel shoes (flip
         flops, sandals)
         Facial Jewelry other than earnings                                       Day-Glo or pastel dyed hair is not permit-
         ted
         Wearing of cell phones or electronic devices                                     "Hoodies"- any shirt or sweater with
         a hood.
         Shorts, Leggings, jeggings and athletic pants (sweat, yoga, jogging)                                        Brands &
         Logos Are permitted on shirts; however they nust Ca mull
                                                                                                                                          Rammed 512018



     SA d                                921.,296404 « 652EO54E9 0510                                                                 22-44-1402
           Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 87 of 130 PageID #:1227
    5    pt.,                                                                                 REDACTED
                                                                         Name of Candidate        _

    BED BATH &                                                           NAM of16t Interviewer                                                         Date
     BEYCONICV
         store of its
     8sYcind any                       kind:
                                                                 nitMitarlM 5AWN

                .4o
                      1) Whp are/were vow' rt,
      • Let's start by having you give me a brief overview of your work experience starting with your most recent position.


                                        A(24
                                                           responsibilities as _... ,?
                                                                         -papge,,,a4,4
                                                                                               2) What ls/ as your work seheole tike?
                                                                                                             -          4-6prh'
                      3) Why did you leave            _1                  Kaf2ices 6,colvehat d              a, like most about working in retail?           cc toI
                                                                                                                              re/AtifrAJ--
                  C      6:LP         q 4LPA-°                   (1.10449 -±0                         14at
           All associates and managers are expected to approach customers who are actively shopping in our departments and offer service. In many
           cases It's not only the Initial greeting, but aging qualifying questions in order to provide an answer that will allow them to
           purchase the ideal product.,
                      Scenario: Tellme about my item that                   PU ownporsonallyzilike,                     ,(fi./.0pvnvinre to buyit?
                                                                                                             andhow ivould)
    ,',,e2 tQu4J                                                                /                                     0 1       48-4 -Z7
     ➢ Our Bridal registry program is a very important part of our business, Our goal is for all associates to be capable and excited about
       registering and assisting our couples and their guests,
           Scenario: ,4 couple comes in to register with tis, What types ofthings wouldyou say to a new eOuple to display enthusZasm about
            their wedding andregisteriV With Us? (MAINMich tfarlIonstratoUlot the associatewourti be able to engno the cooplomug tto acooploblo)


    5) Our positions require our associates and managers to move about in a stores; sometimes these movements ere made quickly
    and repeatedly. If considered for a position with us, would you be able to perform the following functions:
     pan tst for a yOsfau roWonsa for am and oiatk accooliRly)

                      Climb ladders up to 10' o replace and rem                     erchandis"...-0‹: riNo*
           fii>
                      Lift up to 40 lbs. I ea 0No'                                      ? Push/pull up to 40 tbs ..12Aer3No"'
                      Stand for long (erinds of                   es 1:11\16"                                  >
                      Maintenance; cleaning of the bathrooms, picking up paper on the selling floor, taking pride in our stores appearance. „P Os ONO

                                * If the answer is NO to any question, ask "                                             to allow them toperform the functions?'
          (Lisi response):


                      Scenario: While you are on a ladderpulling clown stock tb erchandIseyour department youlook over and sea a customer
                       who looks confusedin the next aisle although they haven't as sd for help, YoOlion heardpage asking you to come to the office
                      immediately. What do you do?


    6) Are you able to work; Days                                 EINo          Nights      YosSI No                 oaken&       es ONo

    7) Will you need any additional time off during the pexti_Mor16? i.e. vacations planned already?
                 °Yes (Iist claw)
    ▪ All Associates and Managers are required to adhere to following dress code guidelines. Clothing should be appropriate for the
        workplace and be clean and neat,
        Review Dress code: All Clothing should be welllitthig: Shirts not too tight or too low cut. All length of skirls in good taste.
                                                                   The following are not permitted:
           Mid drift shirts or sleeveless shirts (tube, halter or tank tops) Clothing that is torn or ripped
           T-shirls-'undergarmentt-shirle                                    Open roe, open heel shoes (flip flops, sandals)
           Fadal Jewelry other than earnings                                 Day-Glo or pastel dyed hair Is not permitted
            "Hoodies"- any shin or sweater with a hood,                      Shorts, Leggings, jogging& and athletic pants (sweat, yoga, fogging)
    yss.mwegezwattgillannalegtilaggabgiilitgawinloore,auw.cmgwrowboilommicont000xitestimswaviAtfi-itaiRm-Adimgiuktagar02,        4                4"" 0
          4. For all candidates you are nn,otRol, Q 0 „iti,rpz pi,e,, selpe,(isorer,thqt.1 ,ar,?..,1,),lostonsVontAl? our                            masse    e.

    Interviewers should say the following:           ,I.t,.44414,004;            ••;h'
                                                                                                fot- '140,0441,01$0,11qt.
                                                                                                       /441: •S‘ '  •




-   )on     I     tAAAilArLA:           ,JIIN    I

5/2 d                                                 822.47286LE-9T                 6- 5'2E295 29—
                                                                                                                                                        •
                                                                                                                 t                           8E:44 22-44-2.402
           Case: 1:17-cv-05124
     fl etiVa) I r -/ rn py
                                                                    Document #: 61 Filed: 12/20/17 Page 88 of 130 PageID #:1228
                                                                    1:s-)                  REDACTED
VI         —7 11     k.1...0
                                                    -1-n-                 moN•rz_.




                                                            I
                                                                                        Mario of Coitriti
      PL) EA[F-1
      onrosvirto
       Beyond rely fAore of ita kind'
                                                                                        ikkariG of    hilowl?wer                                                                             Data 03//47

                                                                            WARIOOlgaii.00.iagege                                 VOA
              Let's start by having you give me a brief ovorview of your work experionce starting with your most recent position.
                      1) VVtiat ace/wero yonr                     respOnSibiliti4;:-;                              2) What is/was your work schedule like?
                                                        J-Le.71-25--)                                                                                c50- 4
                                                                                                                    4) What do Tuu like most shout working in retail?),
                      3) Why did you 10aVO .
                                                                                                                        Least? U,...0/1-             -VC.)        \         a,
                                                                                                                                        oic-(Aka
              All associates and managers aro expected to approach clistoinors who are actively shop log in our departments and offer service. In many
              eases ifs not only tho initial granting, hut tiding qualifying questions in order to provide an answer that will allow them to
              purchase the ideal product,
                      SCerlaity /ulirino about any ;Thin !kit you ow pimsonally andlike, and rho                                                     wouldyou convfrie..v me to buy it?
               ALP01                      cc,S.                                ao.J.)-12--/                                        Le7 e
              Our Bridal registry program is a very important part of our business, Our goal is for all associates to be capable and excited about
              !glistering and assisting our couples and their guests.
                   Scenario; it couple comes In 1.0 iq11.,;tor with us. Areal !wk.!: of things wouldyou                                N a new couple fa di-sigly onthuslasin annul
                   'hob wedding and regtidorinn wi us/ tAnythiqyttich dA114Onstlakt`‘ I/ 31dm .1,,wcptiu bolo Ix! able lo emailidhfl cool&    accenlabla)



                          yo,f/L,         opei-t-}".               -
      5) Our positions require our assOmatos and mane ers to move about in ni storo; sometimes these movements are made, citric:14
                                                       would you
      and rpeatedly_ If r:onidered fora  position with                    to perform     following functions:
                                                                                            us,                  be able                      the-
       II,GJYc Lent tui [,   p9/no [wow far naul dtlll ni•IM rtccOrdinglA

                      (;;limb ladders oil to lo'sto ritptace and rcitirevr morchanclise„../.1-‘                               riNo*                    •
                      I itt up fo 4u Ibt:,/y!!‘i Digo'                                                  ?Pusllltiull lip to 40 lbs. / El<                  nivoh
                       L,,-t,ind tor iong periods of lit                     Yes QI\10*
                      Mairounatitte; cleaning of Oie bufltroot•tis, picking up paper oil the soiling floor, taking pride In our stores appottranco,                                                  >e‘i--1Noih

                                    1•5' if (11Q answer is NO w to any question, ask "What wouldfib needed to allow thorn to potiorin the functions?.

            fl.K,Iropott3o);

                                    w you are on a 18dduipulling doWn stock lrr inw;honcllse your clupalliwnt you loaf( nNW and sue a Gus/Niro'
                       Scenario: ../ti/o
                       who looks conYbsod in the awl als1"altnnunh ey haven? urtfoci ti2r help, Ye( llxtn hoar a ag askto yorzi conx, tee oN:f..
                       immodlately. What d<:).ynu do?


      6) Are you able to work: Days),..1- eo                                                   Nights                   It\to           Wegonds            1,1Yes Diver

      7) Will you need any additional time off during the next 6 montils?-hi_ vacations planned already?
                  filYCS O.( oatoT4
       Y All Associates and Managers are required to adhere' S following dress code guideline::, Clothing should he appropriate for the
         workplace and ho clean and neat,
         Review OTOSS code: Ail Clothing should be well fitting: Shirts nol too tight ark* low cut. All length of skirts in good task!.
                                                                              • 'the following are not permitted:
                      Whit drift :Mt or sleevelet;sdiiita (tube, halter as hulk tops)                                            Cron [Ng that Is torn or flppOti
                      T-sliiiiii-"iin(farganinont (IA                                                                            001too, open heel shoos !lops, s'ilildal;i)
                      Facial Jimicliy eli-ier than oaoliitis                                                                     afiy (;!{) or pastel dyed hair Is not penolited
                      "H0041o2"- Iny :dila or sweater with hood.                                                                 Shojis, I.ouglugs, jegfirtio and athletic p;Jr tis• (sweat, yoga, jogging)
                                                         reg4.21411).W1,i;„!1744.%AfagatIttll,,,,,,,,t‘vg.,w,g,:tt.twukt—,..mtttitimmt,A4.-to—tett,ww,msotiostm-htwtt—orromilkwkank—toimmarrittllina•thotrt—orwtmicetcasi

           4:1, For all candidatos you are not going to hire, please be sure that we are being consistent with our (pain message,
                                         ,                           !iral.ti‘rt,A.,k                   ,mipizopl„yiam- li;gvagslitai4,1
      Interview:is :•',Itould Say the following: Wpgyf?.,(0,rktmlFt?
                                                                , .                                 pp. {Won' t.try,m4V..vM,Rfytyrryfr,IfffejE
                                                                                      ;Si •                                    a ) • A • r.                           • .01103 1 ,,,     .




      G`cg-i 100 0 / 000d                                   -                       f                I I                           ui      inn 1-::11.1
     S/E d                                                       821N964E94 << 6SZEE9S4E9 0590                                                                                         6E:44 22-14-1402
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 89 of 130 PageID #:1229




                      EXHIBIT 11
         Case: 1:17-cv-05124 Document 5163653970
                                      #: 61 Filed: 12/20/17                         P 8/35
                                                            Page 90 of 130 PageID #:1230
                                               0105» 15167268413
2017-10-25 14:12
                                   REDACTED
               Name of Candicial
               Name of interviewer, ,         h e
               Let's start by having you give me a brief overview of your work experience starting with your moat recent
               position,
               1) What are/were your main responsibilities as (040                                  (.


               2) What Ia/was your      work schedule like? (for PT positions explain we schedule 1 to 3 shifts) ./
               $) Why did you leave            ,Wroad                   k.,) 44 -

               4) What do you like most about working in retail? (..1                          t,   4 r,„
               Least'?
               5) All associates and managers are expected to approach customers who are actively shopping in our departments
               and offer service, in many oases Its not only the Initial greeting, but asking qualifying questions in order to provide an
               answer that will allow them to purchase the ideal product ,
                                                                             tirt      5' 11          the (                     '

               Scenario; Tell me about any Item that you own personally and like, and how would you convince me to buy it?

                6) Our Bridal registry program Is a very Important part of our business, Our goal is for all associates to be capable and
                exalted about registering and assisting our couples end their guests,      t                                 .,„s•
                                                                                                               •      •
                Scenario: A couple tomes in to register with us, What types of things would you say to a new couple to display
                enthOtilasm about their wedding end registering with us? Anything which demonstrates that the associate would be
                able to engage the couple would be acceptable,
                   7) Our positions require our associates and managers tV
                       *clirni) ladders to mopes and retrieve merchandise.,
                       "lift up to 40 lbs,
                        *stand for long periods cif tIrrsr,-"'
                        *Meintehanee; plagning of the hethreeme, picking up paper on the selling floor, taking pride 1-6 our
                   atone appoitonoe
                       if considered for a position with us would you be able to perform this function? (leave time for a Yesine
                       response for each)
                           If the answer is NO, ask what would be needed to allow them to perform the functions?
                   8) Scenario •-while you era on a ladder pulling down stock to merchandise your department you look over end see a
                   customer who locks confused in the next aisle although they haven't asked for hole, You then hoer a page asking you
                   to come to the office immediately, What do you do?


                    9) Are you abie'to work nights? Weekends? (leave tints for a yes/no re ponce)
                    if you were to be hired, wouldyou need arty oddltenel the offtr marine tug h                   ie already bem
                   planned?
                    10)   Review Dress code : All shirts should be well fitting . not to tight or too low out
                                • "Leggings" end "Doodles." are not permitted, noodles pertain to any shirt or sweater with a hood,
                                • T.shirtsPundergerment t-shirts" are not permitted,
                                • Brands and Logos ere permitted on shirts, however they must be small in size,
                                6   No mid drift shirts
                                • No open tee or open heel shoes
                                • No Shorts or Sleeveless shirts
                                • Facial Jewelry other than earnings Is not permitted
                                • Length of skirts in good taste
                                • Day-Cols or pastel dyed hair is not Permitted
                                • No wearing of call phones or electronic; devices is Permitted

                    For all candidates you are not going to hire, please be sure that we are being
                                                                                                   consistent with our closing message,
                    interviewers should say the following: "Thank you for interviewing with us, If we
                    the interview process we will contact you.                                                decide to go further with
          Case: 1:17-cv-05124 Document 5163653970
                                       #: 61 Filed: 12/20/17                         P 9/35
                                                             Page 91 of 130 PageID #:1231
                                                    >> 15167268413
                                  0105
2017-10-25 14:13
                                  REDACTED
              Name of Candidate_
              Name of interviawerje,cA t

              Let's start by having you give me a brief overview of your work experience starting with your moat recent
              position,
                                                                                       ).,                     r • ,,,
                                                                                            ,
              1) What are/were your main responsibilities as 41;4 11/ • "          '          •
              2) What is/was your work schedule like? (for PT positions explain we schedule 1 to 3 shifts)                    k.kv!'j          0 1)

              a) Why did you leave
                                                                                                  ,     -, • it
              4) What do you like Moat about Working in retail? f‘,-                        '             '
              Least? ,
              5) All associates and managers are expected to approach customers who are actively shopping in our departments
              and offer service. In many cases ifs not only the initial greeting, but asking qualifying questions In order to provide en
              answer that will allow them to purchase the ideal product.
              Scenario: Tell me about any Item that you own personally a7i 1)kei and how would, you convince me to buy It? IPh             -
                                                                               ct./   I I .c r 1r hoy                     '
              8) Our Bridal registry program Is a very important part of our business. Our goal is for siressoclates to be capable and
              excited about registering and assisting our couples and their guests,           /,1                       ( / "
                                                                                              lb /A
              Scenario: A couple comae in to register with us. What types of things would you say to a new couple to display
              enthusiasm about their wedding and registering with us? Anything which demonstrates that the associate would be
              able to engage the couple would be acceptgle,
               7) Our positions require our associates and managers to ,/
                   *climb ladders to refilace end retrieve merchandlseK
                   lift up to 40 IbaL/
                    *stand for long periods Of time.
                    *Maintenatmi 0104010 of the bathrooms, picking up paper on the selling floor, taking pride in out
               Stores appearance
                   If considered for a position with us would you be able to perform this function? (leave time fora yes/no
                   response for each)
                   ** If the answer is NO, ask what would be needed to allow them to perform the functions?
               8) Scenario -while you are on a ladder pulling down stook to merchandise your department you look over and See a
               customer who looks confused In the next elate although they haven't asked for help, You than hear a page asking you
               to come to the office Immediately, Whet do you do?
                                     (                  • tv, i t       ey                                           .;          r''


                9) Are you able'to work nights? Weekends? (Wave time fora yeWno msponse)                          j   1
                If you were to he hired, would yew peed any additional time offfor mations that neve already Wien
                planned?

                10) Review Dress code Ali shirts should be well fitting M not to tight or too low out
                          • "Leggings" and "Hordes" are not permitted, Hoodies pertain to any shirt or sweater with a hood,
                          •   Tithirteundergerrnent t.ehlrts" are not permitted,
                          • Brands and Logos are permitted on shirts, however they must be small in size,
                          I   No mid drift shirts
                          • No open toe or open heel shoos
                          •   No fShoris or Sleeveless shirts
                          • Facial ,lewelry other than earnings is not permitted
                              Length of skirts In good taste
                          ▪ Dey,Qie or pastel dyed hair Is not permitted
                          • No wearing ofcell phones or electronic devices is permitted
                For all candidates you are not going to hire, please be sure that we are being
                                                                                               consistent with our closing massage,
                interviewers should say the following: 'Thank you for interviewing with us. If we
                the Interview process we will contact you.                                                decide to go further with
         Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17                         P 10/35
                                                            Page 92 of 130 PageID #:1232
                                 0105 5163653970    » 15167268413
2017-10-25 14:13
                                  REDACTED
             Name of Candidate.
             Name of Interviewer•         nttf

             Let's start by having you give me a brief overview of your work experience starting with your moat recent
             position.
             1) What are/were your main responsibilities as .11orP)// 4'14".

              2) What is/was your work schedule like? (for FT positions explain we schedule 1 to 3 shifts) mtgoiriq4#0°
              3) Why did you leave 01101                          e       0 4 4144

              4) What do you like most about working in retail'? l'dorthy                     )1A Josreo
              Leasa
                       vkie      ciriqe r-$`
              5) All associates and managers are expected to approach customers who are actively shopping In our departments
              end offer service, In many oases its not only the Initial greeting, but asking qualifying questions in order to provide an
              answer that will allow them to purchase the Ideal product.
              Scenario; Tell me about any Item that you own personally and like, and how would you convince me to buy It?
              6) Our Bridal registry program Is a vary Important pad of our business. Our goal is for all associates to be capable and
              excited about registering and assisting our couples and their guests,
              Scenario: A couple comes In to register with us, What types of things would you say to a new cow* to display
              enthusiasm about their wedding and registering with us? Anything which demonstrates that the associate would h
              able to engage the couple would be acceptable,
              7) Our positions require our associates and managers to /
                  *climb ladders to replace and retrieve merchandise.V
                  lift up to 40 INA,'
                   *stand for long periods of time.Z
                   'Maintenance; daring of the bathrooms, picking up paper on the salting floor, taking pride In our
              stores appearance
                  If considered for a position with us would you be able to perform this function? (leave time for no
                  response for each)
                  ** If the answer is NO, ask what would be needed to allow them to perform the functions?

               8) Scenario —while you are on a ladder pulling down stock to merchandise your department you look over and see a
               customer who looks confused In the next aisle although they haven't asked for help, You then hear a pang asking you
               to come to the office Immediately, What do you do?
                                                                   10,p      I r e4,0  th-e oriiwov            14#1r

               0) Are you abie'to work nights? Weekends? (Wave lime for a yes/       sponse)
               If you were to be hired, would you need arty additionsi time aft' MaticIns thwttitiVa already been
               planned? no

                10) Review Dress code 1 All shirts should be well fitting not to tight or too low cut
                          • "Leggings" and "bloodies" are not permitted, hfoodies pertain to any shirt or sweater with a hood,
                          • TqlhIrts-"undemarment I-shirts" are not permitted,
                          • Brands and Logos are permitted on shirts, however they must be small In size,
                          • No mid drift shirts
                          • No open too or open heel shoos
                          • No Shorts or Sleeveless shirts
                          • Facial Jewelry other than earnings is not permitted
                          • Length or skirts In good taste
                          6   Day-Glo or pastel dyed hair Is not permitted
                          • No wearing of cell phones or electronic devises Is permitted
                 For all candidates you are not going to hire, please be sum that we are being consistent with our closing
                                                                                                                           message.
                 Interviewers should say the following: "Thank you for interviewing with us, if we decide to go
                                                                                                                         further with
                'the Interview process we will contact you.
         Case: 1:17-cv-05124 Document 5163653970
                                      #: 61 Filed: 12/20/17                         P 11/35
                                                            Page 93 of 130 PageID #:1233
                                                   » 15167268413
                                                 0105
2017-10-25 14:14
                                    REDACTED
              Alarm of Cand
              Nome of Into:viewer
              Let's start by having you Dive me a brief overview of your work experience starting with your‘m tt4elntC „d ;<.)
              position,                                                                                               •
              1) What are/were your main responsibilities as ,               74fiC45P?‘"
              2) What Is/was your work schedule like? (for PT positions explain we schedule Ito 3 shifts) 0-7
              3) Why did you leave                5i°40i—e,
               4) What do you Ilke most about working in retell?
               Leest?t ,0 4,

               t5) All associates end managers are expected to approach customers who are actively shopping In our departments
               and offer service, In many cases it's not only the initial greeting, but asking qualifying questions In order to provide an
               answer that will allow them to purohose the Ideal product,
               Scenario; Tell me about any Item that you own personally and ilke, and how would you convince me to buy it?

               6) Our Bridal registry program Is a very Important part of our business, Our goal Is for all associates to be capable and
               excited about registering and assisting our couples and their guests.

               SCanarIOI A couple comes in to register with us. Whet typos of things would you say to a new couple to display
               enthusiasm about their wedding and registering with us? Anything whioh demonstrates that the associate would be
               able to engage the couple would be acceptable,
               7) Our positions require our associates and managers to
                   *climb ladders to replace and retrieve merchandise.G/
                    *lift up to 40 lbs. V
                    *stand for long periods Of time.pe-
                    *Melntertabse; Owing of the bathrooms, poking up paper on the selling floor, 'taking Pride lb
               stores appearance
                   if oonsiciered for a position with us would you be able to perform this function? (leav0 time fore yes/no
                   response for each)
                    ** if the answer is NO, ask what would be needed to allow them to perform the functions?

                6) 6cenarlo vvhilo you are on a ladder pulling down stock to merchandise your department you look over and see a
                customer who looks confused in the next aisle although they haven't asked for help, You then hear a page asking you
                to come to the Ace Immediately. What do you do?


                   0) Are you ableito work nights? Weekends? (leave time for a yoeno msponse) 0,00V 4/141,
                   If you were to be hired, woufd you Med ariy 80111044ms offibr vsoalions tat haVe sitiady been
                   planned'?

                   10) Review Dress code t All shirts should be wall fitting - not to tight or to low cut
                             •   " Leggings" end "Noodles" are not permitted, Noodles pertain to any shirt or sweater with a hood,
                             • To3hIlls-,"undergarment t-shirts" are not permitted,
                             • Brenda and Logos are permitted on shirts, however they must be small In Lila),
                             a   No mid drift shirts
                             p No open toe or open heel shoes
                             • No Shorts or Sleeveless shifts
                             • Facial Jewelry other than earnings Is not permitted
                             6   Length of skirts in good taste
                             • Day.(.310 or pastel dyed heir is not permitted
                             • No wearing of cell phones or electronic devices 10 permitted
                    For all candidates you are not going to hire, please be sure that we are being consistent with our
                                                                                                                        closing message,
                    Interviewers should say the following: "Thank you for interviewing with us. If we
                   'the interview process we will contact you.                                                decide   to  go further with
           Case: 1:17-cv-05124 Document              >> 15167268413
                                        #: 61 Filed: 12/20/17                         P 12/35
                                                              Page 94 of 130 PageID #:1234
                                   0105 5163653970
2017-10- 25 14:14
                                  REDACTED

               Name of CondHeti
               Name of interviewer      41t, eti ktr,/,,
               Lots start by having you give me a brief overview of your work experience starting with your most recant
               position.
               1) What aretwere your mein responsibilities as fMak f/7//'",                     5‘414*,

               2) Whet is/was your work schedule like? (for PT positions explain we schedule 1 to 3 shifts)                  t A 1431/ 61
               3) Why did you leave $ I /4P
               4) What do you like most about working in retail?
               Least?
                        vr\.teeivrey 1.4         rsp
               5) All associates and managers are expected to approach customers who are actively shopping in our departments
               end offer service. In many cases its not only the Initial greeting, but tasking qualifying questions In order to provide an
               answer that will allow them to purchase the ideal product,
                Scenario; Tell me about any Item that you own personally and like, and how would you convince me to buy It?
                               1;610 "
                8) Our Bridal registry program is a very Important part of our business, Our goal Is for all associates to be capable and
                excited about registering and assisting our apples and their guests.
                                 linir'140 0            Ct 47, 0") 1' "i')
                Scenario; A couple comes in to register with us. whet types of things would you say to a new couple to display
                enthusiasm about their wedding and registering with us? Anything which demonstrates that the associate would be
                able to engage the couple would be acceptable..."
                7) Our positions require our associates end managers to /
                    '011mb ladders to replace and retrieve morchendl$0.17
                     lift up to 40 lbs. /
                     *stand for long periods Of time.
                     IVIelnterionde; okning of the bathrooms, picking up paper on the selling floor, taking pride in out
                Stores appearance %f -
                    Ifconsidered for a position with us would you he able to perform this function? (leave time for                     ino
                     response for each)
                     ** If the answer Is NO, ask what would be needed to allow them to perform the functions?
                 8) Scenario µwhile you are on a ladder pulling down stook to merchandise your department you look over and see a
                 customer who looks confused In the next aisle although they haven't asked for help. You then hear a page asking you
                 to come to the office Immediately. What do you do?       Ito          e JOT r, 0.0 0,1
                  Wibe 44,I yoti re                         f Woo,'
                 9) Are yoU able'to work nights? Weekends? (leave time fore yes/no response)
                 If you were to be hired, would yaw need any additional time offfor vaoat(ona that shalts already been
                 Planned? veve
                 10) Review Dress cede ; All shirts should be wall fitting - not to tight or too low cut
                           6
                               "Leggings° and "1-100dies" ere not permitted. Hoodles pertain to any shirt or sweeter with a hood.
                           • T4hirts-"Undergarment t-shIrts" are not permitted,
                           • Brenda and Logos are permitted on shirts, however they must be small in size.
                           • No mid drift shirts
                           • No open toe or open heal shoes
                           • No shorts or Sleeveless shirtS
                           • Paola, Jewelry other then earnings Is not permitted
                           • Length of skirts in good taste
                           • Day-Glo or pastel dyed hair is not permitted
                           • No wearing of coil phones or electronic devices is permitted
                  For all candidates you are not going to hire, please be sure that we are being consistent with our
                                                                                                                     closing message,
                  Interviewers should say the following: "Thank you for interviewing with us. if we decide to           go further with
                  the Interview process we will contact you,
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 95 of 130 PageID #:1235




                      EXHIBIT 12
           Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 96 of 130 PageID #:1236
       OCT-27-2017 04:00PM               FROM-                                                                                                                       T-250           P 002/003              F-523



BED BATH & buybuy Harmon,
                                                                                                                                           AN EQUAL OPPORTUNITY EMPLOYER
                                                                                                                                           It the policy bl Bid Bah Fi Beyond to recruit, hire, train,
                                                                                                                                           promote, transfer, COMOindatc, and provide MI other condition:
                                                                                                                                           Of employment including Company PpOn3Ottd avant: without

.BEYOMElle BABY                                                                                       DISCOUNT
                                                                                                  Coamollca    ticalth     !hardy
                                                                                                                                           ragard to rem color, creed, religion, national origin, age. Pox.
                                                                                                                                           mantal Halos, Iswful ,lien t•titue,, tekual Orientation. physical
                                                                                                                                           Or Mental chsandity, cilixonship
                                                                                                                                           Giber baba alubibricti by law
                                                                                                                                                                                    veetan SUM, Of any




                                                          Homy* complete all requastcd inlarmotion. Use ink end print.

TODAY'S DATE                                    DATE AVAILABLE FOR WORK:                       POSITION DESIRED:                                                           SALARY DESIRED.

                                                                                                                                                                                 ........
 "AMER    EDACTED
                -
                                                                                                   FULL TIME -           35+ HRS PER WK.                          PART TIME _               -LESS THAN 35 (IRS

                                                                                               AGE OF YOU ARE UNDER II YOU MAY HAVE TO PROVIDE A WORK PERMIT BEFORE STARTING WORM
                                                                                                                                    .,•••'"'"..
 sIT                                                                                           ARE YOU AT LEAST 19 YRS OLD? 7.7- E" _            mo
   REDACTED                                                                                                                       ,
 cn'vREDACTED                                                                             -IMF YOU AT LEAST 16 YIIS OLD?          _ NES          NO


REDACTED                                         ------ --------- -x-Ii                        PLEASE INDICATE   THE HOURS (ROTH DAY AND EVENING( YOU ARE AVAILABLE                               TO WORK:
 IF YOU HAVE WORKED FOR ANY OF OUR COMPANIES BEFORE, STATE WHERE, WHEN,                        SUN Al -r1                 MON              k___             TOES     Pi    ryl                 WED
FINAL POSITION AND REASON FOR LEAVING ILIY36.13, Ottiststas Tree Shop:, Hermon Nor
 buybuy Dabyl
                                                                                               THEM       .                 FRI   Pi-is                      SAT

                                                                                               NOTE ALTHOUGH EVERY          EFFORT TO ACCOMMODATE INDIVIDUAL PREFERENCES WILL BE MADE,
                                                                                                      BUSINESS NEEDS MAY REQUIRE ANY OR ALL OF THE FOLLOWING: EXTENSION OF HOURS,
                                                                                                      A ROTATING WORK SCHEDULE. SATURDAY AND/OR SUNDAY HOURS. OVERtIME.
HAVE YOU EVER APPLIED TO ANY OF OUR COMPANIES BEFORE Meta Chri:Imas Tree
Shops, Hanlon reoc buybuy Baby)/ ....„ YES 2'44; liF YES, WHERE)                                  $ C Nt) 0 ‘            4t_I•1                              ON —N )S`1-.rIA-•
                                                                                                                                           Vol Cr '-t-e At s. 1\ 4-401r ) ,
                                                                                                  0.--rr-w- ? 7°                       vr-cackbAs 1 PA—;\ ;•40-..,\ANuACKI
Haw' YOU EVER BEEN CONVICTED OF A FELONY? [NOTE: OD NOT ANSWER 'YES'    OR PROVDE At:/                                                                _ YES _ NO IF YES,
                                                                                               00 YOU HAVE ANY RELATIVES EMPLOYED BY OUR COMPANY?
NEGAMATiON ilEOAAOINO THE (CROWING, IAI AMESTS TRATE/lb NOT LEAD TO A CONVICTION,
101 CONVICTIONS THAT HAVE HEN SEA D, EXPUNGED, COGLUSSED OR OTHERW6E EfLADLOATED bY •          IDENTIFY BY NAME AND LOCATION TI) AVOID WORK ASSIGNMENT CONFLICTS:
STATUTE OR COUAT OPOCA/ — YES ..a. NO

WORK EXPERIENCE (START WITH CURRENT EMPLOYER AND CONTINUP WM4 POWER EmPLOYERSI
EMPLOYER Al                                                     EMPLOYER E2


ADDRESS                  STREET                 CITY            STATE                ZIP        ADDRESS                    STREET                          CITY             STATE                     ZIP

PHONE                    SUPERVISOR                             TITLE                          PHONE                       SUPERVISOR                                       TITLE

POSITION                 FINAL SALARY                           REASON FOR LEAVING POSITION                                FINAL SALARY                                     REASON FOR LEAVING

DATES OF EMPLOYMENT                                                                            DAMS OF EMPLOYMENT:
                          FROM:                           TO:                                                               FROM:                                     TO.

EMPLOYER AS                                                                                    EMPLOYER 44

AGGRESS                  S1RVE1                 CITY            STATE                    ZIP    ADDRESS                    STREET                          CITY             STXTE                     ZIP

PHONE                    SUPERVISOR                             TITLE                           PHONE                      SUPERVISOR                                        TITLE

POSITION                 FINAL SALARY                           REASON FOR LEAVING POSITION                                FINAL SALARY                                     REASON FOR t FAWNS

DATES OF EMPLOYMENT:                                                                            DATES OF tarLOYMENT:
                          FROM:                           TO:                                                               FROM:                                     TO:

PROFESSIONAL REFERENCES.LIST PERSONS FAMILIAR WITH YOUR WORK ANTI rry taFinDE RELATIVES)
                NAME                          PHONE NUMBER                           How ACQUAINTED                                                                                             HOW LONG

                       NAME                                PHONE NUMBER                                              HOW ACQUAINTED                                                             110W LONG

                       NAME                                PHONE NUMBER                                              HOW ACQUAINTED                                                             HOW LONG

                       NAME                                PHONE NUMBER                                              NOW ACQUAINTED                                                             HOW LONG



           PLEASE COMPLETE REMAINDER OF APPLICATION ON REVERSE SIDE.
                         DO NOT WRITE BELOW THIS LINE.
WIRING PERSONNEL COMPLETE THIS SECTION ONLY AFTER AN OFF                       L P             LOYMENT IS MAITak.
                                                                                                   A                      bT IlliarA               •
                                                                                                                                               tALE!   93         FEMALE
                                                                                                                                                                         TART DATE 5.frip, -            h
                  co      4) 1)Co.                     T (TEMP) OR R (REG.)             FT    OR                                          an           •                           0 J                  '1

                                                                                                                                                                                                                  5..,'
                                                                                                  ..x.-                     ...                                        NEXT REVIE 0 E
          BIRTH
DATE OF                                           0       OR COEFF. MG' -OFFSALARIED
                                                         (PAY TYPE. CIRCLE ONE)      RATE (ONLY IF HOURLY):                           7          PER HOUR                            )) f
                                                                                                                                                                                                 /7           g..,r.:.
     (CIRCLE ONE)                                                                                                                     SOCIAL SECURITY NUMBER
        • BLACK • IIISPANIC/LATINO    ASIAN • AMERICAN INDIAN/ALASKA NATIVE .                                                                  REDACTED
Fl   E HAWAIIAN/PA • FIC ISLANDER • TWO OR MORE RACES (NONE OF WHICH ARE HISPANIC OR LATINO)
SIGNATURE OF 1111 G 0 \ .rU •


                          n                                                          •

NB 170 IR 3/101
                  Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 97 of 130 PageID #:1237
             OCT- 27- 201T        03:52N                 FROM-                                                                                                                   1 - 240        P.001/003                F- 521



                                                                                                                                                                  Ali EQUAL OPPORTUNITY EMPLOYER
                                                                                                                                       Wm"                        It is the polio/ Ut BUJ Bath & Beyond to roues:, hire. train,
aBED BATHE.0                                        HARMON*
                                                     FACE VALUES'                                                                      BABY
                                                                                                                                                                  PlOrnnteN transfer, compinsale, and proyido oil other
                                                                                                                                                                  condilionK of employment inelud.na Company inomoted
                                                                                                                                                                  am% without ragdni to nee. color, cites), ruttuors, hational
                                                                                                                                                                  oriBio, Oiler sea, marital )lotto;, lawful alma smut. r.Oxual
bel.ond any siesre           S.:(41                                                                                                                               orientation, phyReoll Or mental disability,              slatut,
                                                                                                                                                                  vet.Pr1n :btu:, or any other basis eclair:darted by low.



                                                                                  Please torturfoto all tequila-tad information. Use ink and print.
 GEWILIANtORMMIONte-,                                11;, '-',1.b.•*•"-t!'' r7.. .i-S.Intte     S,Pg3.1., P. l'EI-NYfi,1•i%-i.,,, .,, ,'-k 7:4-:.xe-I                                      FIS'4.44.0' 172.1 ,,k                    );A:5-?L%
TODAY'S DATE 1,7            I 1Li           al Z               DATE AVAILABLE FOR WORK:                      POSITION DESIRED:                                                     SALARY DESIRED:

NAME
   uk EDACTE D                                                                                                     FULL TIME ____ 351. HAS PER VIK                            PART TIME    4 LESSTHAN n                  )IRS
       . —
                                                                                                             AGE OF YOU ME UNDER 18 YOU MAY HAVE TO PROVIDE A WORK PERMIT BEFORE STARTING WORK}
'REDACTED
ZITY     .    .              fI                                STATE          ZIP                     -      AN YOU AT LEAST 18 YRS OLD? DYES _                  ND
   REDACTED
TELEPHONE (PRIMARY):                                           TELEPHONE     (SECONDARY):                    ARE YOU AT LEAST 16 YRS OLD/ _YES                 — NO

IF YOU HAVE WORKED FOR ANY OF OUR COMPANIES BEFORE, STATE WHERE, WHEN,                                       PLEASE INDICATE THE HOURS (BOTH DAY AND EVENING) YOU ARE AVAILABLE TO WORK                                     it ,
FINAL POSITION AND REASON FOR LEAVING MEG. Christmas lion Shops, Harmon edoT
                                                                                                             SUN                ykt,   mor4 &                   ",,50 TuEs          kr        14:33     WED    ii(kr -f .30
 buybuy Baby)
                                                                                                             THURS    A WIT' 30 Fru iffier 1-1-36 SAT
                                                                                                             NOTE: ALTHOUGH EVERY EFFORT TO ACCOMMODATE INDIVIDUAL PREFERENCES WILL BE MADE,

HAVE YOU EVER APPLIED TO ANY OF OUR COMPANIES BEFORE HYBRID, Christmas Tree                                          BUSINESS NEEDS MAY REQUIRE ANY OR ALL OF THE FOLLOWING: EXTENSION OF HOURS,
                                                                                                                     A ROTATING WORK SCHEDULE, SATURDAY AND/OR SUNDAY HOURS, OVERTIME
 Shops, Harmon &/or buybuy Baby)? _ YESL
                                       I ND (IF YES, WHERE)


APR/CAWS R1111, MA AND PHSADELPHM, PA SHOULD NOT PESPOND:
HAVE YOUPUN CONNOTED OF A FELONY? MOTE DO NOT ANSWER 'YV.' OR PREFACE ANT INFORMATION
FEDAREHNG THE FCW:YING: (A) ARRESTS THAT DID NOT LEAD TO ACONWCRON, lel CONVICTIONS   DO YOU HAVE ANY RELATIVES EMPLOYED ITV OUR COMPANY?   _ YES                                                           /2(110   IF YES,
TRAIN/WE HEN SEALED. EMDMSED, DISMISSED, OR OTHEIMISE ERADICATED AY ETA TE OR         IDENTIFY BY NAME AND LOCATION TO AVOID WORK ASSIGNMENT CONFLICTS:
COURT ORDER, INCLUDING SEALED OR EXPUNGED JUVENILE CONVICTIONS(,__ YES     NO




                                                                                                             E",q,Ev31'r‘
Vv-6-                                                                                                                                           eTite.
EMPLOYER tsi
    11M i lt                 NC.WS-C CCLSWIO,
                                                                                                          ZIP Aodarss                                                 CITY              STATE
 ADDRESS

PHONE
                              STREET

                              cupcoutcrus
                                             CITY
                                            VCIONA                            , voSTATE

                                                                                  TITLE
                                                                                                               CNEOW1Vysa CI II
                                                                                                             PHO
                                                                                                                                        STREET
                                                                                                                                        &WC,
                                                                                                                                        SUPERVISOR
                                                                                                                                                                      Ca.L?
                                                                                                                                                                                        TITLE
                                                                                                                                                                                                        /          ZiPst-ti3
                               REDAC TED                                                                      5t54O4-a'14'8' REDACTED
        TIO                                  S
                                             z A.                                 RAson FO LEAVINGI POSITION                 Fiwit.sAusp,                                                  AWN FOR LEAVING
            Yr                                                                    Tc,
                                                                                   E                      eks g-etk Von kq Wr i 5                                                           owl    bAsweu..SS Opt
DATES OF EMPLOYMENT:                                                                                DATES OF EMPLOYMENT:
                                    FROM: 312,0 1I                          TO:     1112 Otk                                                FROM: aS)            Z001             TO:         11/201/,
t rACoirrii 3  ,                  , r _.,                                                                    EMPLOYER El
    VIC+Or ;CA ' S              reZT -C.nr Ck
Inn                            ZVET                                                                          ADDRESS                     STREET                       CITY              srATE                   ZIP
                                                               atek           IN            - 7SS - a         UAlat             xAsstrit.s       t,y4                                                         1ic-6 i
                                                                            — erFLE                          Fgt .                      .111,ICR'vmna                                   TTT
 51ha5-2.131 REDACTED                                                                      OloicAitr,                                   REDACTED
 POSITION                         FINAL BAyi_t                         ‘F         REASON FOR LEAVING          WSMON                                                                     REASLIN FOR LEAVING
  YVIIJACAS     •                                                                   OAS:et%                  - }em 9.4k C
GATES OrEhe OvME :
                                    FROM:           ki)zok‘                 TO:
                                                                                   01
                                                                                            1
                                                                                                2 0 17
                                                                                                              DATES OF EMPLOYME
                                                                                                                                            FROM: Ci       I    V)                TO:      CuYYPA
pRoFEssiowhomiammusTrffsoNs ,:amitaiswaiwouchwoRK•Aior                                                                               CF-7747                                                                HOW LONG

                                                                                                                                                                                                                   LON.
                                      mintro                                            !II IMFIrrt                                  HOW
REDACTED
                              REpitkS,,I,Y2„„
                                                    -                                                                1aft                   Acclurg Mos/                                      2/
_REDACTED
 1:                I
                               RFT)ACTFIT _
                           •.A•a rso
                                                                                                             R41(1)jU   d Dri    /Z1/1211
                                                                                                                                                       1"y
                                                                                                                                                       1
                                                                                                                                                                        .                     71            HOW LONG
 REDACTED                    REDACTED
                                                                                                                                             cot INTED
                                                                                                                                                                                               1k           HOW LONG
                                      PRUNE PIUMBPH                                                                      m      art aw
REDACTED                      REDACTED                                                                                                                                                                         {5_

                  PLEASE COMPLETE REMAINDER OF APPLI ATION ON REVERSE aIDE.
                               DO NOT WRITE BELOW THIS LINE.
 (HIRING PERSONNEL: COMPLETE THIS SECTION ONLY. AFTER tkttoquio._EMItoytofiNTil                                                  Ea - ' . : . '' •                                                                              -
 JOB TOL                                                                                                                               STORE a                                       Si-ART OA

 DATE OF BIRTH
                       1
               5 •6 (SCA?. 1.- ''
                                          . . T.fITMF), - QR.- FRE9) . , . ,Fr. . OR                                            . T , 1,3, .                   MALEOR FE                   : .. . 'a.
                                                                                                                                                                                   NEXT RE IEW
                                                                                                                                                                                                              af    :1
                                                                                                                                                                                                                                .
                                                                   OURLY    R COEFF. MGR. OR SALARIED
               69/1P‘(, /                     (PAY TYPE: CIRCLE ONE)        RATE (ONLY IF HOURLY):                                              '616 °                PER HOUR                      t       19 /   ( 5
 RACE (CIRCLE ONE)                                                                                                                                SOCIAL SECURITY NUMBER
         . BLACK • HISPANIC/LATINO • ASIAN • AMERICAN         IAN/ALASKA NglyE •                                                                               REDACTED
 NATIVE HAWAJIA4/PACIFIC ISLANDER • TWO OR MORE.RACES ONE OF WHICH ARE HISPANIC OR LATINO(
 SIGNATURE OF HIRING INDIVIDUA                                       ; .. : .



PHRP25 IR 04/12)
              Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 98 of 130 PageID #:1238

        OCT-27-2017 03:56PM                         FROM-                                                                                                                                       T-240                    P 001/003                    F-522



BED 3ATH &                                                                                                 HARMON°
                                                                                                               FACE VALUES-
                                                                                                                                                                           AN COVAL OPPORTUNITY EMPLOYER
                                                                                                                                                                           It Is IRE volley Of ELC8 Bath & BuyOnd to nacruit, hire, train,
                                                                                                                                                                           promote, transfer, eon..ftnt.w, and provide It ()o'er


BEYCOMMIr 1,71,13YbuY
                                                                                                                                                                           ethodnions Of it7np1Coirm6rit including Cnntp8ny sponored
                                                                                                                                                                           events without regard to race, calm. croct1,religion, national
                                                                                                                                                                           origin, age. sae, marital ;Mut?, lawful dtiEn StattiS, StiAual
                                                                                                                                                                           Otkot4tIOn. oftysit;1 or mental oisabffity,
Beyond any                 store       of its      ki nc:1                                                                                                                 WIMP, Clattn. nr any Olifit natia moitrbarad by law


                                                                            Please complete all requested intomtation. Use ink and print
GENSRIZINVOIATAlloN                                                                                                                                                                                                                               -'.!'         .::.       '
TODAY'S DATE                                                   DATKILAILE FOR WORK:                              POSITION DESIRED:                                                                       SALARY DESIRED!
        CIIV)  /1                      CS1 0    1 0                                                                                                                                                                                 rlilv-i 1. 4:1?5
"'REDACTED                                                             --,---
                                                                                                                       FULL TINE _         3.5* HAS PER WK                                  PART        TIME        _SL       LESS THAN 3S HRS

                                                                                                                 AGE (IF YOU ARE UNDER la YOU MAY HAVE 70 PROVIDE A WORK PERMIT BEFORE STARDNG WORK)
s'REDACTED                                                                                           ,                                         la
cera                                                                              lP                             ME YOU AT LEAST 18 EAR OLD?                YES — NO
 REDACTED
ICI 0014/11,10    fPfIlt.GAIWI.                                TELEfl-IONE /SECONDARY):                          APE YOU AT LEAST 16 YRS OLL1? _YES — NO
RFDACTFD
IF YOU NAVE WORKED FOR ANY OE OUR COMPANIES BEFORE. STATE WIIERE, WHEN,                                          PLEASE INMATE THE HOURS !ROTH DAY AND EVENING! YOU ME AVAILABLE TO WORK:
FINAL POSITION AND REASON FOR LEAVING MBA% Christmas Tukii Shop:, Harmon &Apr
                                                                                                                 SUN            1            !Km      Pay                    ,        TOES                    11\                  WED                    1\
buybuy Etahy1                                                                                              -               -
                                                                                                                 THURS                                                                 SAT


                                                                                                                 NOTE: ALTHOUGH EVERY EFFORT TO ACC MMODATE INDIVIDU L PREFERENCES WILL BE MADE.
HAVE YOU EVER APPLIED TO ANY OF OUR CO,IPANIES BEFORE (BEISIB, Christmas 'Deo,                                           BUSINESS NEEDS MAY REQUIRE ANY OR ALL OF THE FOLLOWING: EMENSION OF HOURS.

Shops, Harmon        filar buovy CWhyI —YES _                 NO   LIF YES, WHERE/                                       A ROTATING WORK SCHEDULE, SATURDAY AND (OR SUNDAY HOURS, OVERTIME,



APPLIGMar, in Ili. MA ADD Ma-Ann-WA PA SHOULD 1107 RESPOND:
HAW YOU [HEN CONVIC1EU SEA fELONY1 WOTE: DO NOT 41,5WER ITS OR f•ROVIOE AllY iNFORMATPON
REORROiNG THE rouovano (At ARRE,'TS TNAT DO or LEAV TO A co/roc-non, let cotmcnorls      DO YOU HAVE ANY RELATIVES EMPLOYED BY OUR COMPANY?    — YES /NO                                                                                              IF YES,
MAT HAVE 6(EN SEALE°, EXPUNGED, 01.1N115SE D. OR °THERMEE (RAO:WED Eil SI:XITE OR        IDENTIFY BY NAME AND LOCATION TO AVOID WORK ASSIGNMENT CONFLICTS'
COURT BROMMUJI       OiNG SEALED OR vouNGE0   juvetint COrwrportgi _..as    . N.0


M
EMPL
    K* gITIERVIgni
      R 1 fi l d                       oh
                                                      ENT          P       RAN CONTINUE'                 TN FORP-LEMO
                                                                                                               EMPLOYER #1
                                                                                                                            RV:7r•II7.7.-,I•I'
                                                                                                                                         --", ',--... ", ..,,,,,,I-7, -"'(', ... ..-a,":'-', IIO,
                                                                                                                                                .' -' —                                                                              ri?...x,    , .',I7P I.'..:;.k.`zIP,,::.

                                                                                                                    \Ae
ADDR                              SIRE                                            TE     I                 ZIP AL4Q SS       2  Ysigli -              (0911              firrieri S A                                                           ZIP
             i(V .                                        .    M                       \                            _D„? .C1                                              0)1Ie        KrY
PHONE                             SUPERVISOR          '                           TITLE. I                     PlIC;1` -          ci (InFRII,I1112 .             -..-         i ' '• TITLE
                                      ACTFD                                                       ell                                         REDACTED                                                                                          1PV
rilON•    / pm            FINAL MARY ,    r „. 0                                       SON 0 LFATNG P I'ITI4w -                               Fitt                                                            REASLt          OR            VING__                     .            _
   Wn
   11                         ....._e   i  --)                                    M)         Kb      LAS          ?I CI-                                                                                                                     (I i ) CO\
D )7 .p Er P_,..01/11ENT:                                                                                        PA S OF EMITOYMENT:
                  A/010             F QM'      JUYIt
                                                               --)nicz To:
                                                               ck
                                                                                                                  1 s, 6201 , 1      FROM:                   ,j11
                                                                                                                                                                . -VI            Qti           a, TO.•
      kI jIL                                                                                                                R tt1
                             DOA , IN                                                                            E P       7_1111.10                                         n       1)
  L)WI .\ li. in              STREE 1LI                        CITY               STATE                   ZIP                                 S                   I.                 CITY                     S I AR1                           ZIP
                                                              Tkorl                   iqi                                                  A- , 'U I vtirC)
"P A OltiE                        --lit'LliVISOR                                  T     •     r     e/N          PHONE                                       TITLE _.
                                                                            Ofink .1 /C0 -'1CP                 Irorpr                        REDACTED       wCw111(
POSITION                          FINAL SALARY                                 REASON FOR LEAVING                POSITION                     LINAI SALARY                   , .                              REASON FOR LEAVING
                                    —1.50
                                                                                                                 DATES OF EMPLOYMENTI ' -'                             A.-h k) '
                                                                                                                                          50
DATES OF EMPLOYMENT:
                                    FROM:                                   TO:                                                                 FROM:                                                  TO:

                                              1- OITIM01
                                                       711C-alLITY                                                                         )L":.7                                      •.'.:                                                                          i'li.:,',./
PflOPMET ICIALREftetelltliST PERSDNS FAMIDARWV                                                                                                         7   777         ,         .                ..     ..         :.            ''. 25".t ....!.\/., .'; ' f..,,.
                                           ^"^'""."""-                                                                                    HOWACOU tiTED                                                                             HOW LONG
REDACTED                                                       REDACTED                                             Lh                     rilp
                                   _
                                                                                                                                          HOW ACCI               TED                                                     7. \l '„Og.-
REDACTED                                                       REDACTED                                                                                            iokCk                                                  ..__Alect  ,-
                                                                                FHO         MEIER                                         HOW COUiU              TE T                                                         HOW LONG

                                                                           - PWIP.IF MIMI=                                                HOW ACQUAINTED                                                                  ,         HOW LONG                    -
   REDACTED       ;REDACTED      --VNIMAITY Avilnr\VP(  1 vciny-
      PLEASE COMPLETE REMAINDER OF APPLICATION ON REVERSE SIDE.
                                                                        DO NOT WRITE BELOW THIS LINE.
(HIRINGPZRSONNEL.CCIMPLETE MIS SECTION ONLYAPTER AN OFFER.OF EMPLOYMERFITS.MADVA .'2.. . ' :4..          '. :. .;
JOS ilTLE                                                                                     SIW_ m,                         STAR
                              -          T (TEMPI OR R (REG.)             FT    OR     P                      MALE OR      1                                                                                                  J
          SuLeo )i%() Ei 6-                                                                     1,- rl                                                                                                                                '/2.-
DATE OF MU                           HOURLY OR COEFF. MGR. OR SALARIED                                                       NEXT                                                                                          W          TE
                                           (PAY TYPE: CIRCLE ONE(      RATE (ONLY IF HOURLY?'      V,(51)          PER HOUR
            -21)
             T1    ONE                                                                                                                                     SOCIAL SECURITY NUMBER
t2 l4C5%
    il       . BLACK • HISPANIC/LATINO • ASIAN • AMERICAII INOIAN/ALASKA NATIVE .
                                                                                                                                                                 REDACTED
             HAWAIIAN/PACIFIC ISLANDER . TW OR MORE RACES (NONE OF WHICH ARE HISPANIC OR LATINO/                                                                       - ,
 SIGNATURE OF HIRING INDIVIDUAL:                    ( e)




B5B170 IR 0?/11)
            Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 99 of 130 PageID #:1239
       OCT-25-201T 03:47PM                                 FROM-                                                                                                                                                               1-242                P.003/004                 F-515


BED BATH &                                                                                                             "                        vAL                            S-
                                                                                                                                                                                               AN EL         OPPORTUNITY EMPLOYER
                                                                                                                                                                                               It is the policy 4)1 Bed Bath & Beyond to recruit. hire:, train,
                                                                                                                                                                                               prornota. Iran:gar, GonlaGnsato, and provide, all other
                                                                                                                                                                                               conditioo.Y ut 6(nplOyfilio5t           Company sponsored

BEYOIMINIIICIV®
Beyond any                 store of its kind.`'
                                                                           BABY                                                                                                                event:without re9ard to race, calor, creed, tat'jion, nsrieddl
                                                                                                                                                                                                        ape, sex, marital stofu:, lawful alien aattl.... sexual
                                                                                                                                                                                               brignIztion, ohy$10.31 W m;razI             eithenzhip status,
                                                                                                                                                                                               vctoran Mato., or cry atoor bazis prohibited by law.



                                                                                    Masa complete all requested information. USd ink                                   and print
        '. I!   :: t'.;1', 0 11:Dril.M,V,V.               .11
                                                            ., '                                                                                           • '-'       `" •             ..,., ' 7',..••            ••*4. ' ....,.•:,..:• .. e.71:1...,, t ...     ," v..-
TODAY                                                               DATE • VATLE FOR WORK:                                 P strict.' DESIRED:                                                                                 ` SALARY DESIRED:
                                                                        0 S    /                                             p,                                                                                                        1(T                    CAC
     .          25       11 .
NA" — "• '                                                          faa                   ••     tel• •                                                                                                                                            .1
   •              A                                                                                                               FULL TIME _....... 35t HRS PER WK                                                    PART TIME                              LESS THAN 35 NHS
STREET ADDRESS                                        -                                                                    AGE (IF YOU ARE UNDER M YOU MAY HAVE TO PROVIDE A WORK PERMIT BEFORE STARTING WORK)
     e nA                                                                                  •,.
                                                                    `•""                                                   ABE YOU AT LEAST la YRS OLD? Y VES _                                    NO
REDACTED
                                                                    TELEPHONE (SECONDARY!:                                 ARE YOU AT LEAST to" YRS OLD? _                         YES _           NO
n'tE'IREDACTED
IF YOU HAVE WORKED FOR ANY or OUR COMPANIES BEFORE. STATE WHERE, WHEN,                                                     PLEASE INDICATE THE HOURS (BOTH DAY AND RENINGI YOU ARE AVAILABLE TO WORK;
FINAL POSITION AND REASON FOR LEAVING (GR5/11, Christina; Tree Shops, Harmon &AN
buybuy RANI
                                                                                                                           SUN AU t( 5 RIFT                MON 11/9 TD - 'tart                                 TUBS             -1-4 pm         -• r oritvED           2-1prn. - CO V YI
                                                                                                                           THURS ApiCe.'Jkp.in FRI '41111 -                                 10erv1SAT                          A 1,31         5141      rT
                                                                                                                           NOTE: ALTHOUGH EVERY EFFORT TO ACCOMMODATE INDIVIDUAL PREFERENCES WILL BE MADE.

HAVE YOU EVER APPUED TO ANY OF OUR COMPANIES BEFORE (HEW. Cluit,trnas Tree                                                             BUSINESS NEEDS MAY REQUIRE ANY OR ALL OF THE FOLLOWING' EXTENSION OF HOURS.
                                                                                                                                       A ROTATING:WORK SCHEDULE, SATURDAY AND/OR SUNDAY HOURS, OVERTIME.
Shop:, Harmon         &Iv hdybuy Lluby)? _YES X                    HO ((F YES, WHERE/
                                                                                                                            II         fn .    ekvati,d-aol e                 FAY       Att         IrtQlt'aCt3S

APPUCANTS P0 111, MA AIM PIMACELPHU, PA 51401RA NOT 11F-.5POMP
NAVE YOU BEEN CONVICTED wafture(' n'AirE 60 NOTANswERne.- OR NOVAE ANY iliFORMATIO4
REGARDING Till TOLLOVANO, (A) ARRESTS THAT 010 NOT LEAD TO A CONVICTON, (01 COMA crioris
THAT HAVE BEEN SEALED, EAPUNGEU, DISMISSED, OA OTHERWISE ERADICATE° IV STATUTE OR
                                                                                                                           DO YOU HAVE ANY RELATIVES EMPLOYED BY OUR COMPANY?                                                                     __ YES         AX.   NO     IF YES,
                                                                                                                           IDENTIFY BY NAME AND LOCATION TO AVOID WORK ASSIGNMENT CONFLICTS:
COAT ORIEL INCLUCKNO SEALED OR EXFUNGEO JUVENILE CO NVICT1ON 5I _ YES                                     _sNO
                                          ‘ .. .     .1.i,1 ..' .1 ' 4tlifl; r•re irk     ' i .r6     "    CF-Wrni . ill                                                           .r.., ;,.../...AD., e‘e                Fil'.77.-.                            W.OZVZ.:,,373P2477:.
                                                                                                                                                                                                                                                                               -
     • OVEB In                                                                                                          EMPLOYER in . ,                                       1.
                                                                                                                                                Iv\ c_DovvAaas     Corpora-hpiiSTM
 .,DO)
PII0
    ,.,_qs . 1)ek.ie
       'I
              - tMEET
                1
                .436
                     00 elrienkat TVektI,PLI Assort
                                    coy 1 , I

                                 SUPERVISOR _
                                                   . '4es
                                               STATE
                                                      Oe.I.AStiaiL YI                         v,11 1Sq 13
                                                                                           TITLE
                                                                                                               -

                                                                                                                all8
                                                                                                             PHONE
                                                                                                             in
                                                                                                                       ZIP ADDRESS



                                                                                                                    - 139/0
                                                                                                                                                       _STREET
                                                                                                                                                 One, do,    a
                                                                                                                                                        St.14 .SOR
                                                                                                                                                            s
                                                                                                                                                                      1 CITY
                                                                                                                                                                    Wasktyr
                                                                                                                                                                    rvIculars
                                                                                                                                                                             , TITLE
                                                                                                                                                                                                                   . + 5 'fire..
                                                                                                                                                                                                                                       „,,,,,,,,,1
                                                                                                                                                                                                                                   nrIckNag e.4--
                                                                                                                                                                                                                                                                        ZIP
                                                                                                                                                                                                                                                                        i 3241el
,iS         82." Mil REDACTED                                                            MS 'PT
POS    ON           Fl L 5    Y                                                           REASON FOR LEAVING POSITION                                       FINAL ALARY                                                      RfASON, FOR LEAVING
DT  OSSt7Stari                  tr.                                                        Siilk emptatied                 Yestster                                ItAlYli - tOr-1-0e                                        filki  Valle 'ow a DTA
DATES OF EMPLOYMENT:                                                                                                       DATES OF EMPLOYMENT:
                     FROM: 10        14_04,5                                       TO: ckurp.nt-                                                               FROM:               9_005'                                         TO.         2005
EMPLOYER i13 ., i                                                                                                          EMPLOYER ea, _ f            .           i

ADDRESS
                  --RatI, irvicutk;
                            STREET
                                    kJ t4r5t CI                                Cielnicer .
                                                                                     STATE                             21P ADDRESS
                                                                                                                                                \N 14A     tes  -rtum auppi
                                                                                                                                                            STREET
                                                                                                                                                                              GI
                                                                                                                                                                       CITY , ..I.                                                          STATE                       ZIP
  111
1751:1
PHONE ....12.71
                Zas t
                A                   .
                                _rutevesa
                                           hit ki 0.
                                 sueEFAMR 2:1,11Avvtcw_heci
                                                            1                                              Bute.             sk
                                                                                                                           PHO
                                                                                                                                              12-   Q,o sz             Igni                  VideiVLN
                                                                                                                                                                                                                                            TITLE
                                                                                                                                                                                                                                                     A                 19,4 At)
                                                                                           8 min ‘s4y-af-ok, B41 - 415 \                      REDACTED                                                                            re los
                                                                                                                                                                                                                               5 REASON
                                                                                                                                                                                                                                      kiFOR LEAVI
pcer                             F.LNAL SA           Y                             ..„1 REASetrLFOR LEAVING POSITiON?ArLS MI
                                                                                        Cum     Lci t marl es
                                                                                                                                                 .. 1 sAre   Li
        (ZS I Sil%VtA ..V. (,S,                                                                                  eS Oi551                   0 •• 1.1, . Vky_                                                                                blf     -kin        Ct ... rvxj      Son.
        OF EMPLOYMENT.                                                                                                     0 TES OF EMPLOYMENT:
DA
                        FROM:
                                                   4 incil
                                                                                                ars
                                                                                    TO: ZIP fl c>                                               Rom         to                      liciq                                         TO: iqq               - i
                                                                                                                              .                                                                                                                                   . . ..f (%,...,,,,?-.t.''v.I.
                                       • ! :1•,iil,..1'-('I.N   eitle .,t,11   TV& . ' " 0 / ' " 0 • '.            •                                 Iv- 4.,..,.., .. . 7%v...1-I ',',I,-                      l:•:        '                rf.S.,p1,.. r
                           1\111111F                                                    PI-IrIN. P.111.14r11                                     HOW ACQUAINTED                                                                                                 HOW LONG
 REDACTED                                                              'REDACTED                                             C.,0 - 1.,,acy tc.c.i -                                                                                         (e)        %.fecer_s
                           NAME -                                                                                                                HOW ACQUAINTED                                                                                         J   HOW LONG
REDACTED                                                              REDACTED                                               Co - to ovki 3k -                                                                                               61         %let-kr- 5
                           NAME                                           punr.ir nu warn                                                 HOW ACQUAINTED                                                                                                  ,     HOW LONG
REDACTED                                                              REDACTED                                              CD - ki.)or Icer                                                                                                 LI         4 eArs
                                                                                                                                                       HOW ACQUAINTED                                                                                   .1 HOW LONG
REDACTED                        •                                    REDACTED                                               CO - WO             v ker                                                                                        /.. up ors in Sgkirke buk
                PLEASE COMPLETE REMAINDER OF APPLICATION ON REVERSE SIDE.
                              DO NOT WRITE BELOW THIS LINE.
                               ArAtitza. *ehinovmetz*mAow-,,:•,k,,,,,,                     .1.— • ,,,•ei-77
                                                              si6,7Ei, a ;,:z77 - --- .t......-!..c.,$5:e--, :'                                                                    ,        ;-... '. ,. f   7 ..   . CI ,..S.:, '.,,,..:,

                                                                                                                                                                                                                                        START DATE
                                                                                                   014                            FT      OR                                               MALE DR                                             .., .
                                                                                                                                                                                                                                        E
                                                                                  Oft cOEFF. MGR. OR SALARIED
                                                                                 (PAY TYPE: CIRCLE ONE(       RATE (ONLY IF HOURLY):                                   3.46                                 PER HOUR
                                                                                                                                                                               SOCIAL SECURITY NUMBER
                                                     NO;•;• . ASIAN •              AMERICAN INDIAN/ALASKA NATIVE
                                                                                                                                                                                   REDACTED
                                                                          illoRg RAMS (NONE OF WHICH ARE HISPANIC OR LATINO)




EIBB170 ift 09/1
          Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 100 of 130 PageID #:1240
            OCT-27-2017 03:49PM                                       FROM-                                                                                                                          T-247           P.005/008          F-520

                                                                                                                                                                                      AN EQUAL OPPORTUNITY EMPLOYER
                                                                                                                                                                                      It ri; 1(10 policy of Bed Bath & Beyond to recruit him. Unlit
                                                            HARMON*
BE D BATH &
firrompir                                                        FACE vALUES'                                                 creeS
                                                                                                                                                                                      WOW% DiO5for, compen=a. and provide all other
                                                                                                                                                                                      tondifions of ernplornerN Including Company PP031Amd
                                                                                                                                                                                      event:, without- favour to ram, color, mud, roTglon. mtIon0
                                                                                                                                                                                      origin, aim,         nurtat stattm lawful alien AlaRre, maul
Beyond any ear., of it, kind.                                                                                                                                                         criem,tion, phyeical or mental ifnability, aticunahro alattia,
                                                                                                                                                                                      veteran atatu,t, or any other       puilltbaed IT, law.



                                                                                              Plaine comprotrr ell rcquastad information. Use ink and print.


TODAY'S DATE 10                       11         I                                 DATE         NOR          WORK,                 POSITION DESIRED:                                                    SALARY DESIRE .


NAME       'REDACTED                                                                                                                      FULL TIME _         3 , FIRS PER WK                     PART TIME ..X.,,_ LESS THAN 3S FIRS

                                                                                                                                   AGE OF YOU ARE UNDER 18 YOU MAY HAVE TO PROVIDE A WORK PERMIT BEFORE STARTING WORKI
  intRgl:),9+C..W                                                              ..........
                                                                                                                                   ARE YOU AT LEAST IS YRS OLD? /YES _NO
REDACTED
                                                     -                         TELEPHONE (SECONDARY):                              ARE YOU AT LEAST 16 YRS OLD7 _YES _               NE)
REDACTED
IF YOU HAVE WORKED FOR ANY OF OUR COMPANIES BEFORE, STATE WHERE, WHEN.                                                             PLEASE INDICATE THE HOURS (130111 DAY AND EVENING, YOU ARE AVAILABLE TO WORIC,
ANAL      rosmoN AND rusoN FOR LEAVING (ROAD, Christmas Trop Shop..., Hermon niak
                                                                                                                                                                       nti-er Lip WI ToEs Etkr
...SAY)                                                                                                                            muss
                                                                                                                                       SUN 011 pct,

                                                                                                                                                ICter3eln
                                                                                                                                                                MON

                                                                                                                                                                   FRI RE- V ie
                                                                                                                                                                                                   Cien WED OAT-I/ gen.

                                                                                                                                                                               Lifirri s,T ri11 Dou-1
                                                                                                                                       NOTE' ALTHOUGH EVERY EFFORT TO ACCOMMODATE INDIVIDUAL PREFERENCES WILL BE MADE.

HAVE
  YOUEVER
       AE111E076
             ANY                                          OF OUR COMPANIES BEFORE IBB&B, Ehrimmal Tine                                        BUSINESS NEEDS MAY REQUIRE ANY OR ALL OF THE FOLLOWING: EXTENSION OF HOURS.

            RAW__YESANO
Shops, Hermon &/or awful',                                                          (IF YES, WHERE)                                           A ROTATING WORK SCHEDULE, SATURDAY AND/OR SUNDAY HOURS, OVERTIME,



Arpuolsrs av Nr. MA MD THMACCUItA, PA SHOULD NOT FrESPOND:
HAVE YOU DEIN COWL-TED OF A FFLOhY1(NOM 00 NOTANSWEE VFW OR PROVIDE ANY INFORMATION
REGAROViG THE FOILOWEVO: (AI ARRE5TS THAT MO NOT LEAD TO A CONVKTION 181 COWICTIONS DO YOU HAVE ANY RELATIVES EMPLOYED BY OUR COMPANY?    ...... YES a, NO                                                                             IF YES,
THATRAYEauti SEALED. EXFUHGEEL DISMISSED. OR OnIEDVASE ERADICATED Elf OWVTO OR      IDENTIFY [Pt NAME AND LOCATION TO AVOID WORK ASSIGNMENT CONFLICTS:
coonORDEFL INCLIJDUJG SEALED On EXPUNGED JUVENILE COMIC-WW1— YES,E14 NO

                                                                                             f '. .",•,.%.''.' ,WP:.!".2.3:11,',:,1;

                                                                                                                                                              1-0Imp vit. ft 5'
EMPLOYER II                                                                                                                            EMPLOYSR 82
    La. beyr..                                                                                                                               LA Aci Li
                 1             Qi1,3‘ \&IIM
                                          - y ...?.‘coc rt                                asl.c;t 4T,ATEu /s4,1 1...,,,,,
                                                                                                                       Z11P ADDRESSom                    ,3      Sili;E:
                                                                                                                                                                      „ ErT
                                                                                                                                                                         uts t       ,... CITY               STATE               ZIP
                                                                                                                                                                                    . ,kia ir (tAS              1\) Y           I '7.cf) ,--/
N I              Litt          A - 111UPERIIIII                                                     NITRE                                                        "UPERVISOR                                 TITLE
                                                                                                                                                        -905
 cotx
                                                                                                                                       P°6     ...701
FtfaTION

DATES OF EMPLOYMENT:
                                      int'.
                                         10
                                            ,,,„,,,,,
                                                . .011To; Avloo !vow)
                                                                                                    NETrS1 ON Frli LEAVING             gratito
                                                                                                                                       DRIES OF EMPLOVATENT:
                                                                                                                                                                 7,A,
                                                                                                                                                                 FINAL SALARY
                                                                                                                                                                                   rIOLAY-
                                                                                                                                                                                                            gEttsoN          LEAVING




`eti1PCOMI f3
                                              FROM:
                                                                                                                                       eapuuN 114
                                                                                                                                                                  FRomOtkk)
                                                                                                                                                                      an`
                                                                                                                                                                            r),aoli-Y. A \,41 4/1 1 I 6 i 0 ) -a
ADORESS                                   STREET                                   CRY,              STATE                   ZIP ADDRESS                         STREET                    CITY              STATE               ZIP

TiTONE                                    SUPERVISOR                                                 TITLE                             PHONE                     SUPERVISOR                                  TITLE

POSITION                                  FINAL SALARY                                               REASON FOR LEAVING POSITION                                 FINAL SALARY                                REASON FOR LEAVING

-6-Airs OF EMPLOYMENT:                                                                                                                 DATES OF EMPLOYMENT:
                                                                                                                                                                   FROM,
                                              FROM:                                            TO:                                                                                                    TO:

                                                         ;,_ 4, ,., .:.;.i. „r_,, .v.,,(41 ,:jiii;w.;;i.N, 11:1i1e41.:1Iti.ii tipAiliiia4(11,416 " f 7.AN*,,.--., 4 ,.r. ,.'-'", P.....;', " • , .!.1.1T,TT'f:'.?' .' tt7y, y; !e., :.,t •!•12 4, -
                                                                                                                                                V.HOW A GT            o                                               NOW LONG
REDACTED . . .                                                   _                  REDACTED                                              t Yr1i \\A \ enA.                               , -74 ear5
         _                                                                                                                                          is HOW ACQUAINTED C., 'on. v,.4 4 ,erci ,1   How LoNa
REDACTED                                                                           :REDACTED                                           \00y1ARA -0,,( 4NpA.. (Ntl. 7,MY\YAIA t-1way's
                                    NAME                                                        PRONE NUMBER                                                  HOW ACQUAINTED                                                 HOW LONG

                                    NAME                                                        PHONE NUMBER                                                  HOW ACQUAINTED                                                 HOW LONG



                    PLEASE COMPLETE REMAINDER OF APPLICATION ON REVERSE SIDE.
                                                                                          DO NOT WRITE BELOW THIS LINE.
1 1-' 41°'..!' ,.                   Tilck'23'.1       .41,!:'0AZA,14P063-030
                                              .1i2,1111                                                  eiriffor0 ' &WW1 MADE4
 1.1.11110.•                                                                                                                                                    SToI- I-                                      ART DATE/
      7 F'
  CF .p .. 1             '..B.•       2        0111!!
                                              ,,Aa                      il .$1,5                    C-95,4 44.1M. • ' ,"!T- 9/3 in                               dip
                                                                                                                                                                                           ,ID•   FEMALE •         . •••Z,                )..... ,
   4                                                         .       ., .
                                                                                   M        I NA COEFE.      MGP.
                                                                                                            OR SALARIED
                                                                                                                                                                           o6PIP
                                                                                                                                                                                                       NEXT REV(        D
    . .F. .....
          ,.
             '''t -"'"
                       f....                                              •    '              (PAYTYPEancLE OW)         RATE (ONLY IF !MUM).                                                PER NOM                     51, /
                                          .          .,                                                       • ,       .                                                    SOCIAL SECURITY NUMDER
                                                                                       ::'! ,:0 4Eilie.AN INDIVRAWKA NATIVE -                            •
                    el'         "
                                                         i4nno
                                                                           •
                                                                         :‘.*M
                                                                        T•StiQ                        S Ktrooiwchnotsmc OR ummm                                                    REDACTED
                                                            ,.            ."
                                                                                              4.:
               4!

PHR025 1R QUIZ(
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 101 of 130 PageID #:1241




                      EXHIBIT 13
      Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 102 of 130 PageID #:1242




                 BED BATH &                                           FACE VALUES
                                                                                                                                  (Ireesvps
                                                                                                                                    ' ILbsiMRS
                 BEItC14411130"
                 Boyeind my more of ill lied.

       ASSOCIATE SEPARATION FORM (Use this form whenever nn associate resigns or is terminated)
                    I. CompIdr     and raviesvacellous I-I I below                                           1. ralfillEC that Sapnrtiiing nasal:Mir routs section 10 111111 signs as inincalte
                    1, llcalm        Mil& al all 110111'Si Change 1101111 ill lime k       AllvanIntIve      1. if applitOblet submit final pay rolptost is 010(11711C Pnyroll
                    5, Cr, GA, 4A, MA, Ni,. Nat NV nail TN:                                                  6. Nont., 'Nix/Equifax 0) Cale 111111111.1'
                             Proem, your STATR''i SEPARATION NOTIC:E

                                                                                                               REDACTED
       1, NAME:            4) rad                                            SOCA Al, SECURITY II                                                          OR             `c3' )
       2. JOB C.:1-ASSIFICA'1IoN (check one):                                        Pail Time                                         :1111 Time                1..--'---1     ,11411 it
                                                                          (1.0.1 none .is lir, per wit)               OS Or Illara bra jaw wit)
       3.   sTAR.TDATH:(V 3/i„; LASTDAY WOR.KM:                                                     11/ e/e62
                                                              nhis dale repregonts the lust day Ill t` It`eillallaa
                                                                                                                               SEPARATION DATE: /// //e/16
                                                                                                                               (sec * * m Itnionn or Form Cur Yltla 110114 wine SIOA RATION
                                                                          physlenlly worked}                                                DATE differs frorn LAST 1M V IVORNIt))
      ,I. REASON FOR I ,EAVINO - Check all that apply: -
       RESIGNA.TION/V0 I A INTARY:                 TERMANATION/IN VOI A IN'rARY:
       __Beller Job Opportunity                             Job Elimination
          Itettim      To
                     School                                 Poor Performance
                                                                                U SEPARATION PROCESSEI/THRt/ CASE lit111,DER
          Medieul                                       -__.Misconduct
          Job Abandonment                                   Oth ' •        %.     ((.:heek box once completed)
         _Scheduled Work I limes U Ion ninny / 0 Ion lt,%v C/ol iaredivl
          other (cave specific mason)                      Ca/r 107@ / 244 ,. /
       5, COMPA         PROPERTY RI3TURNED - Cheek all that apply:                                                    (i. BENEFITS —Check, if applicable:
            LI, s (store, terminals, thermostats)                                                                            Associate informed of COBRA
               Alarm, telephone and computer access codes erased
       PA: jssoeiate loans repaid in full
          I.." Name 'laded
          4/40ther
       7. cAI..
           I        PAY - Check all that apply:                                                                       8. CUR It ENT AI)I)It PAS:
          1
                  neat ion/Floating Holiday/Comp. day adjustment mark
                in Time Ai. Attendance
                    hidie.c.plus or minus days              roevao,vion
                                                               adjustment:
                                                                                                                                /
                                                                                                                      Address ____.1           6 /306., .r.:d.e2
                   ndiente Flouting Hol/Comp. days owed (if applicable)
    Al         A ssoclare/limployer agree on final chm:k:
               Bused on . days worked for salaried tissueiales                                                        City          "4(.11141 (11/4.../
                                                                                                                                   11
f          A Mitisedon ,_hours worked for hourly toot...biles
          NtrAssocitite received final check today in the amount of 5 „
             ,ipplicable, associate loan paperwork Ibrwurded to( /sot,                                                ;tolte                                            Zip ('ode
                  ssactrue, will return to store le pith lip check on ,li , if (9
               If applicable, final paycheck mailed to Address nolo I in tS
       9, USE MCI( Si I)E 01? THIS FORM FOR ASSOCIATE COMMENTS, Iff' ANY,
       10, Separating, associate is to rcarl this section before signing form;
           $   All tItljtl:4[1110/11 may be made to your Raul paycheck Ibr any vac:Winn Hine you had taken but not yet accrued. or Unit you Iola Merited 1)1111101.,'Cl
                  laiunt. Any such ittijullinaqii La WI NMI phOve in Sot:lion 7.
            •     As you leave us, we wanloci to remind you of your combining °Wit/alien itul to dieulase In allYnne any anniiilanlini blminilmi and/it ProlnietalY
                   informality: regarding lied lied, 41e Ueyond and its operations, Please also make sure yon hat 0 reluracd all documents and ether items such as
                  mcords, compoicr files, computer dick; manuals mud notes relating or Ix:loosing In the company. You may not lake any ouch ilinlednIS with you.
                  '1110$(T Ihina$ arc iinporlani lit :he company, as you may toncinkr Iron) your associate handbook. and nail is N‘IlY yeah 0111igalifal 01'Conildc1ClallilY
                  co:ill:1110a even of you [anvil employ:la:1 will: us.
            1 rally itinkvSlitull ane information jImit-l-e ad in Section 0,-1,' there is anything that I dkl not undcislaild. I have asked Sig nil explanation.
                                                       _,
            Associate's Signature: ,,"/ , 9/ 1' "r.-                                        ..,--e -;                                                               •. „ Dote           7/ - el A - /6
       I I, Supervisor's Signature:
                                    /'
                                                                                                                                           —                               Date             41(   '—'06 ..7*, /,   e)
            Stott Manager's/Corp Counterpart's Signature:                                              , -K/te) ketieoltiet)                                               1)ate
      **EXAMPLES OF SEPARATION 1./ATE. Ei11717ERINO PROM I .AST DAY WORKED;
         a, .rk i.uit 1.1.'3, w,,, kw win. 0,11uhily tAatYpil fitill 00 dliplati0A1(01111.11111111 Alla
            Cl     RA AM011011111fillt• Mina no minalnat lq Alma tram work It. (Immo mall1.16: elate lin ii spvellIt: pettinlalllill:.ncyminitut dale Rile thoc Iliad   the dceiquo %%Iulank in 5taiiralt
                   vinploynteni.
            .,     Mt:nett: volven from 1,CIAAVC: din Taaal'alitelfIllnl‘ilto &In that flu: :wintinte art mile:MU ha alum Plant nit npinuml (.(IA in WI Irate.
            ii     I'mlitie In Muni heat ylteteloli, the twitunilinn talc is inc eat in which Inc towline wits schethiled In mom nom II approved varzoloo

                                                                                                                lilt NS lAhln • :).199'. 6/01; Mr.' 3/0.1: IMP% '.1/011:
                                                                                                                                                                  .. 3/10: 2:11: :Id .1; me 4/1.5


      1,1,/1.(1                                     Uthe961191, << 9L5E09ELE9 LEN # aJ04S                                                                                           9E:91, 91,-1,1,-9142
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 103 of 130 PageID #:1243




                      EXHIBIT 14
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 104 of 130 PageID #:1244




         BED BATH &                                       II/414010



         BEVONICW                                         FACE VALUES'                                            9 e7seggops
         Beyond any oloro of la kind:


ASSOCIATE SEPARATION FORM (Use this form whenever an associate resigns or is terminated)
            1. Complete and rector sections 1-11 below                                        2, Ereinre find aeparntheie !emaciate reads scettme 10 mid oboes no Indicated
            3. MAW (nut counitnalt boom change menus la Time & Attendance                     4. 1111110h:01e, submit Pool pay retinue in Corporate Payroll
            5. CT, GA, LA, MA, NJ, NM. NV and 'CN:                                            G. Notify Tals/Equifax via Case Builder
                      ['Moss your 5TX11('S SKPARATIONNOTTC11

                                                                                    REDACTED
1. NAME:        Dap              It        s tka_                 SOCIAL SECURITY II                                                   •i-orti-F.if 2 6 0
2. JOU CLASSIFICATION (check one):                                     Part Time                                 Full Time                     Mgint
                                                             (lAss than 35 Iwo par wit)            (35 nr more two ear wk)

3, START DATE:                          05         LAST DAY WORKED: 69/2i57/                               SEPARATION DATE: C2/2-6/ii
                                                   (misdate represents the lost day Clue associate         (see " at hideout alum for situations where SEPARATION
                                                                physically worked)                                         DATE dIfforo &am LAST DAV WORK ED)

4. REASON FOR LEAVING - Check all that apply:
g.t.i'SiGNATIONNOLUNTARY:                  TERMINATION/INVOLUNTARY:
     Better Job Opportunity                        Joh Elimination
     Return To School                              Poor Performance
     Medical                                  — Misconduct          0 SEPARATION PROCESSED THRU CASE BUILDER
     Job Abandonment                            1.,1fier              (Check box once completed)
     Scheduled Work Hours 0 Inn many/ ID too few
—Other Wive specific roma)
5. COMPANY PROPERTY RETURNED - Check all that apply:                                                  fi.13ENEFITS —Cheek, if applicable:
     Keys (store, terminals, thermostats) —                                                               __Associate informed of COBRA
     Alum, telephone and computer access codes erased ---
  A4Mssociate loans repaid in full
     Name Badge --                                                                                                                         k(c7_,T)
   _`     Other                                                                                                   -p- o isf     'et•

7. FINAL PA Y - Check all that apply:                                                                 S. cuRRENT ADDRESS:
      Vacation/Floating Holiday/Comp. day adjustment made
       in Time & Attendance                                                                           Address .,1_154,_r•Ce_1/1e...C-1.)
        Indicate plus or minus days for vacation adjustment:
        Indicate Floating Hol/Comp. days owed (if applicable) ___
      Assooiatc/Employer agree on final check:
      Based on       days worked for salaried associates                                              City
      Based on       hours worked for hourly associates
 /Yr, Associate received final check today in the amount of
Arff If applicable, associate loan paperwork forwarded to payroll                                     State                                       Zip Code         //76
      Associate will return to store to pick up check on
      If applicable, final paycheck mailed to Address noted in #8
9. USE HACK SIDE OF THIS FORM FOR ASSOCIATE COMMENTS, IF ANY.
10. Separating associate is to read this section before signing form:
    e An adjustment may be made to your final paycheck for any vacation time you hud taken but not yet accrued, or that you had accrued but not yet
         inken. Any such adjustment Is set forth above in Section 7.
    o    As you leave us, we wanted to remind you ofyour continuing obligation not to disclose at anyone any confidential business and/or proprietary
         information A/pilling Bed Beth & Beyond and its operations, Please also make sure you have returned all documents and other items such as
         records, computer tiles, computer disks, manuals and notes relating or belonging to the company. You may not take any such molecule with you.
         These things are important to the company, as yerpinv") rremember from your insulate handbook, and than is why your obligation ofeonfidentiality
         comitutem oven after you Icem emplaymepi with as.
    I luny understand the infOrintetitin    rcadirtScgtIon% It diets Itytbingthat I did not understand, I have asked for an explanation.
 X Assoeinte's Signature;                     ), V . • ‘V                       \'                                         Date
I 1.?(Supery Nor's Signature:                                                                                                                        Date
     Store Manager's/Corp Counterpart's Signature:                                                                                                   Date
4+ ENAlvIPLES OF SEPARATION DATli DIFFERING FROM LAST DAY WORKED:
    a       The Lon Day           nye actually &firma from thy rosionainithetissiandou Jam
    et      Job Abrualosimenl: whim no meter& tc obaent from wadi l Consent nu* the note faro totaled lamina arditurrisvisration halo dm dole duo ihe tledolonIna Mode as separate
            ensploymmi.
                   In Muni from horywc: the mipitniann onto to ti c chic lint the              selualalcd in mita% bin on vowed LOA oe WC lime.
    •       Follow u, rows hem amnion: the stparaliOa dim it the Caitlin which the notaelitle wax Seliglultd td ream awn tat approved vasalinis
                                                                                                 Ha. 043-1A & 11f-2/49: ow: 5/02; 5/04; 8/04; 108: 3/10: 2111: 5/12.; rev 4/15


            d                              82P7e86606 << 56801121.29 £000 # 0.104S                                                                             9E:51. S2-90-2302
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 105 of 130 PageID #:1245




     4/9/09
     Danielle Reha
     DOH 5/9/05
     Operations Mgr.
     Store #770
     Warning

     Today 4/9/09, Tim Palmer (DM) had a conversation with Danielle Reha (OPS Mgr.)
     regarding her performance, specifically regarding cash handling.

     Tim explained to Danielle that through a recent LP investigation it was found that
     Danielle allowed associates to count out register tills alone, which is a violation of
     company policy. In permitting associates to count the register tills alone, Danielle caused
     the company a financial loss. There must be two associates in the cash office when
     counting out register tills as per the company policy and procedurei

     It was outlined for Danielle that as an assistant manager Bed Bath & Beyond expects that
     she is setting the highest standard in the building and is leading by example to her staff at
     all times. Tim specifically reviewed the company expectations for cash handling policy
     and procedures, and Danielle acknowledged that she understood.

     Tim reiterated the expectations that Bed Bath & Beyond has for all managers, and made
     it clear that any reoccurrence of this or any other violations of company policy/procedure
     or inconsistence work performance could result in termination of employment.




    Tim Palmer
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 106 of 130 PageID #:1246




  11
  11 :        441
                      Jen Guide : Pampered Chef concern
                                        Judy Cohen                                             06/15/2017 03:42 PM
                              This message has been forwarded.


  a        on 6/13/17 DM Tim Palmer spoke with DOPs Jen Guide (DOH: 9/8/03)regarding concerns that she
          had allowed #260 ASM Danielle Reha to have a Pampered Chef party at her house, which is a clear
          conflict of interest and demonstrates extremely poor judgment by a member of District Support.
          Pampered Chef is a consultant based on-line retailer specializing in various Housewares and Dining /
          entertaining products. Their website is www.pamperedchef.com
  •       While Jen originally indicated to Tim that no other employee from BBBY other than #260 ASM
          Danielle Reha had attended the 6/1/17 party, it later became clear through conversation that #850
          ASM Amanda Demato and #850 Dept. Mgr Sarah Aronson were also in attendance.
  •       Jen explained that 6/1/17 represented the only time she had hosted such an event and did not appear
          to originally understand why this would represent an issue, stating she was just having a party with
          her friends. Tim explained the Company's concern from a solicitation and conflict of interest
          perspective, as well as the expectation for members of district support relating to judgement.
  •       Jen asked Tim if she was going to be separated, to which Tim explained that the matter was serious in
          nature and would be reviewed with the appropriate parties in the coming days. Tim further explained
          to Jen that she had been making some terrible decisions recently (scheduling / attendance), and also
          reminded her that she had just been administered an overall "Meets Some Expectation" review in May

  •      In addition to the above managers, #260 Dept. Mgr Doreen Dawson was also overhead discussing
         matters pertaining to Pampered Chef on the phone while at work. It was this observation, made by
         DCST Dawn Mihalek, that began our inquiry into the matter. Dawn informed DHRM Renee Ryan of
         her observation of Doreen's phone call as well as the 6/1 party, which Dawn indicated she had
         recently been made aware and had felt uncomfortable about.
  •      Please find attached screen captures confirming ASM Danielle Reha's involvement with Pampered
         Chef as well as the 6/1/17 party hosted by Jen.



      Danielle Reha Pampered Chef 6-15-17.docx

  •      While there have been no conversations with any of the other managers involved at this time „once
         the appropriate action is determined / taken with Jen the intention is to begin reviewing this matter in
         detail with each of the managers involved and holing them accountable as well.
  •      The collective recommendation is to, separate Jen based on her extremely poor judgement as a
         member of the District Support Team.

  Brian Snail
  Regional Human Resources Manager
  21(201) 825-7390 A(201) 825-6810 )(845) 500-7844
  I I brian.sneWbedbath.com
      riothe conNitlyr rh m ir,nu,u nr boion, prinling this orait.
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 107 of 130 PageID #:1247




                      EXHIBIT 15
    Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 108 of 130 PageID #:1248



        BED BATH &                                         FACE VALUES"                                                Crtsiegnsops
        BEYONEW
        Beyond any store of its kind:
ASSOCIATE SEPARATION FORM (Use this form whenever an associate resigns or is terminated)
           1. Complete and review sections I-11 below                                              2. Ensure that separating associate reads section 10 and signs as indicated
           3. Review and confirm all hours: change status in 'rime & ,thentlance                   4.1f applicable, submit final pay request to Corporate Payroll
           5. (1". GA, IA. MA. NJ. NM. NY and TN:                                                  6. Notify Tars/Equifax via Case Builder
                     Process your STATE'S SEPARATION NoTicE

I. NAME: John Dunne                              LAST 4 OF SOCIAL SECURITY                            XXX-XX-4I 74                                   STORE it: 1246
2. JOB CLASSIFICATION (check one):                                           Part Time                                     Full Time               ✓      Mgmt
                                                                 (Less than 35 hrs per wk)                 (35 or more hrs per wk)
3. START DATE: 7/30/2007 LAST DAY WORKED: 8/3/2017 SEPARATION DATE: 8/3/2017
                                                    (this date represents the last day the associate                (see " at bottom of form for situations where SEPARMION
                                                                 physically worked)                                            DATE differs front LAST DAV WORKED)
4. REASON FOR LEAVING - Check all that apply:
RESIGNATION/VOLUNTARY:                     TERMINATION/INVOLUNTARY:
    Better Job Opportunity                     / Job Elimination
    Return To School                             Poor Performance
    Medical                                      Misconduct       / SEPARATION PROCESSED THRU CASE BUILDER
    Job Abandonment                              Other              (Check box once completed)
    Scheduled Work Hours El too many / 0 too few
   Other (Give specific reason)
5. COMPANY PROPERTY RETURNED - Check all that apply;                                                       6. BENEFITS — Check, if applicable:
   _Keys (store. terminals. thermostats)                                                                       /Associate informed of COBRA
           telephone and computer access codes erased
   _Associate loans repaid in full
   _Name Badge
     Other
7. FINAL PAY - Check all that apply:                                                                       8. CURRENT ADDRESS:
   Vacation Reg: 33.7            Vacation OT: 0.0
   Floating Holiday Reg: 18.0    Floating Holiday 01: 0.0                                                 Address: 197 Beach Street
                                                                                                          Address Line 2:
          Associate/Employer agree on final check:
          Based on       days worked for salaried associates                                               City: Bronx
          Based on       hours worked for hourly associates
          Associate received final check today in the amount of $
          If applicable, associate loan paperwork forwarded to payroll                                     State: NY
                                                                                                           Zip Code: 10464
   ✓       Ilapplicable, final paycheck mailed to Address noted in 118                                     Phone Number: (516) 4103724
9. USE BACK SIDE OF THIS FORM FOR ASSOCIATE COMMENTS, IF ANY.
10. Separating associate is to read this section before signing form:
    •     An adjustment may be made to your final paycheck for any %notion time you had taken but not yet accrued. or that you had accrued but not yet
          taken. Any such adjustment is set forth above in Section 7.
    •     As you leave us. we wanted to remind you ofvour continuing obligation not to disclose to anyone any confidential business and/or proprietary
          intbrination regarding tied Bath & Beyond and its operations. Please also make sure you have returned all documents and other items such as
          records, computer files. computer disks. manuals and notes relating or belonging to the company. You may not take any such materials with you.
          These things are important to the company. as you may remember from your associate handbook. and that is why your obligation of confidentiality
          continues even alter you leave snip oyment with us.
    I fully understand the intimnation [Mail d in Section W. If there is anything that I did not understand, i have asked for an expinnatic n.
    Associate's Signature:                                                                                                                                   Date         F         /
I I Supervisor's Signature:                                                                                                                                  Dateate s767. (
                                                                                                                                                             D
    Store Manager's/Corp Counterpat "s•Signature: (cztrn
  EXAMPLES OF SEPARATION DATE DIFFERING FROM LAST DAY WOI
      the Last Day Worked was actually different front the restonation minimum date
           fah AltantIonment: when an assuchne is absent from work does inn notify the store for a specific period duple: separation date is the date that the decision was mode to separate
           employment
           l'atiore to return Gnat LOA - WC: the Separai km date is the date that the as:mei:He was scheduled to return from an approved 1.0A or WC leave.
           Failure to teturn grant nal win: the separation date is doe Me in uhid the assmiate was scheduled to MIMI from an ;wormed taenlion.

                                                                                                     I IR 043-1A wC 113— PR 0/01: 5/02: 5(04: 3/0.1: _2 /03:3/10: 2/1 I: 5/12: rev 4/15
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 109 of 130 PageID #:1249




        John Dunne
        Assistant Manager #553
        DOH: 7/30/07
        NTF
        8/11/12
        Today, 8/11/12, Rob Frazzetta (SM) had a conversation with John Dunne (Assistant
        Manager) regarding his performance; relating specifically to his failure to follow
        company procedure,

        It was explained to John that he had failed to follow proper protocol on 7/18/12 when
        there was a suspicious store credit issued in the amount of $3006.83, John failed to
        follow up with a Security Alert to alert other stores in the area about the incorrect store
        credit, resulting in a $2700.00 loss for the company.

        Rob explained to John that he expects him to be following up on ail areas of .
        responsibility within his role, and that failing to execute the above negatively impacts the
        overall performance of the building and creates potential liability issues. Rob also
        reminded John that these processes and procedures are part of his responsibility, and as
        the Assistant Manager and/or MOD he must follow up on them to ensure that he leads by
        example and protects the company.

        Rob expressed his disappointment in John's actions, and made it clear that any violations
        of these rules or any other action, which in the opinion of Management is detrimental to
        the orderly conduct or integrity of the business, will result in disciplinary action, up to
        and including immediate termination of employment.




       Rob Frazzetta
       Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 110 of 130 PageID #:1250




        John Dunne
        Assistant Manager #553
        DOH: 7/30/07
        NTF
        12/11/12
        Today, 12/11/12, Rob Franetta (Store Manager) had a conversation with John Dunne (Assistant
        Manager), regarding John's poor performance, relating specifically to failure to complete
        appropriate tasks and Managerial responsibilities as it relates to a proper store close. Rob
        reminded John that as Manager he is responsible for the leadership and development of his team
        and he should be leading by example.

        Today, Rob specifically addressed John continually failing to complete a proper recovery and
        close of any of the rooms. In addition, John has been reported to spend a lot of time on personal
        phone calls in the office.

        Rob explained to John, that he is currently performing at a lower standard than expected, of an
        Assistant Manager and he is failing to hold himself and the Associates accountable. Additionally,
        Rob explained to John that as an Assistant Manager, he will be held to a higher standard and he.
        should be leading by example. This is not acceptable for Assistant Manager standards.

        Rob reviewed the expectations that Bed Bath & Beyond has for all managers, and made it clear
        that any violation of company policy, or any other action, which in the opinion of management is
        detrimental to the orderly conduct or integrity of the business, will result in disciplinary action, up
        to and including immediate termination of employment,




        Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 111 of 130 PageID #:1251




        John Dunne
        Assistant Manager #1246
        DOH: 7/30/07
        4-26-13
        ROC

        Today, 4-26-13, Leticia Delrio (Store Manager) spoke to John Dunne (Assistant Manager)
        regarding his performance; relating specifically to his substandard execution of completing his
        front end basics training. It was discussed with John that despite being employed with Bed Bath
        and Beyond for more than 5 years, he failed to make front end training a priority and work on his
        own development, resulting in his failure to properly support service in the store by assisting at
        the front end.

        It was explained to John that by making front end training a priority he is negatively impacting his
        own development and ultimately, the business in failing to develop his knowledge and grow as a
        senior manager. Leticia communicated to John that Bed Bath and Beyond expects all senior
        managers to complete all their training in order to have a global understanding of the building and
        an ability to assist In all aspects of the business. Leticia then gave specific time frames to work on
        his front end training and was also told if he faces challenges In meeting these expectations they
        must be communicated to the store manager. It was explained to John that he had demonstrated
        poor judgment in failing to work on his front end Basics training, and therefore negatively
        impacting the store and his development.


        Leticia expressed her disappointment In John's actions and informed him that any reoccurrence
       of this or any other violations of company policy/procedure or inconsistent work performance may
       resuJ disciplinary action.



        et cia Delrio,
       Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 112 of 130 PageID #:1252



    10-15-'13     37 FROM-                                                                        T-175 P0002/0002 F- 949
        10-09-'13 09:11 FROM-Bed path         a   Bovond410      9145282812                     T-432 P0001/0002 P-561




              John Duane
              Assistant Manager #1246
              DOH: 7/30/07
              My 27, 2013
              Record of Conversation
              Today, 7/27/13, Leticia Delitio (Store Manager) had a conversation with John Duane (Assistant
              Ma"agt1),rvgardittg John's poor performance, relating specifically to failure to complete
              appropriate tasks And lvfanogovilil topcnsibilities.

              Today, Leticia specificallyaddressad John continually failing:
                 41  To have a proper reeovory
                 * window treatment room not completed to standards
                 • 2 Late calendar tasks
                 * Payroll over hours weet 3 and 4
                 • WE papervid due by MI; Front E'ncl Re-certifications not completed

             ',cadet explained to John, that ho is currently performing at a lower standard than expected ef'an , •
             Assistant Manager and he is failing to hold himself and the Asaoolatea =mutable, Additionally,
             Leticia explained to John that as en Assistant Manager, he will be acid to a higher standard and
             he should be leading by example. This Is not acceptable for Assistant Manager standards,

             'Lerma reviewed the expectations that Rod Both &Beyond has for all managers, aml made It clear
              that any violation of company policy, or any other action, which in the elitnton ofmnagement is .
              detrimental to the orderly conduct or Integrity of the business, will result in disciplinary action, up
              to and i ittt lag iminedikno termination of employment,




             Leticia Del Rio
             Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 113 of 130 PageID #:1253



     10-10-'13 01:12 FROM-                                                                           T-197 F0011/0012 F-981
        10-09-'13 09:21 FROM-Bed Bath & Bevond410                 9145282812                      T-433 F0010/0011 F-562




              John Dunne
              Assistant-Manager.#1246
              DWI« 7/30/07
              September 9, 2013
              Record of Conversation
              Today, 9/9/13, Ye& hold (Store Manager) had a conversation with John Dunne (Aatistant
              Manager), regarding /Ohn'e poor Performance, relating spec :Nally to Who to etgrallete
              aPProPrIde to* andlVianagerial responsibilities as it Mates to following up on prism ahan,V4,
                   MIA and proper Planning Jodi melded John that as Manager he is responsible for the
              leadership and development of his team and he should be leading by temple.
              Todayo Jodi specifically addressed John falling to complete priee changes and PUS events in a
              timely manner,
              Jodi explained to John, that this could negatively impact the service standards in the building as
              wall as store sales.

              Jodi reviewed the expectations that Bed. Bath & Beyond has for all managers, and made it dear
              that any vlolatiOn of company policy, or any other action, 'Aloft in the opinion of management is
              detihnental to the orderly conduct or integrity of the business, will result In disciplinary action, up
              to and inaluding tromedlata termination of employment.
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 114 of 130 PageID #:1254




        John Dunne
        Assistant Manager #1246
        DOH: 7/30/07
        December 9, 2013
        Record of Conversation
        Today, 12/9/13, Jodi Gold (Store Manager) had a conversation with John Dunne (Assistant
        Manager), regarding John's poor performance, relating specifically to failure to complete
        appropriate tasks and Managerial responsibilities.

        Today, Jodi specifically addressed John not having the appropriate sense of urgency for daily
        tasks such as:
            1 Daily reality walks
            2 Reacting to daily soft side issues before requiting a complete reset
            3 Signage
            4 , Filling
            5 Display walks
            6 Transfers

        Jodi explained to John, that he is failing to hold himself and the Associates accountable for the
        daily standards expected of him. Additionally, Jodi explained to John that as an Assistant
        Manager, he will be held to a higher standard and he should be leading by example.

        Jodi reviewed the expectations that Bed Bath & Beyond has for all managers, and made it clear
        that any violation of company policy, or any other action, which in the opinion of management is
        detrimental to the orderly conduct or integrity of the business, will result in disciplinary action,
        up to and including immediate termination of employment. •
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 115 of 130 PageID #:1255




          John Dunne
          Assistant Manager #1246
          DOH: 7/30/07
          December 20, 2013
          Record of Conversation
          Today, 12/20/13, Jodi Gold (Store Manager) spoke with John Dunne (ASM) to discuss
          his performance, relating specifically to his poor judgment.

          It was outlined for John that he has been displaying a lack of presence on the sales floor
          during the recovery shift. Jodi explained to John that he has been spending entirely way
          too much time in the.office when he needs to be on the floor running the recovery block.

          Jodi further explained to John that by staying in the office he is unable to manage the
          business and service levels on the floor and it is evident in the condition of the building
          during his shifts.

          Jodi expressed her disappointment in John's actions, and made it clear that any violation
          of company policy, or any other action, which in the opinion of management is
          detrimental to the orderly conduct or integrity of the business, will result in disciplinary
          action, up to and including immediate termination of employment.




          Jodi    ld
          Stor    anager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 116 of 130 PageID #:1256



      05-12-'14 10A9 FROM-Bed Bath & Beyond41@                  9145282812                        T-959 F0001/0001 F-525

         g5-12-'a4 08:53 FROM-                                                                 i'-64 P0002/0008 F-938




                 John Dunne
                 Assistant Manager #1246
                 111011: 7/30/07
                 March 7,21114
                 Report o1Convorgatfou
                Today, 3/7/14;Jodi Gold (Store Manager) spoke with him Dunne (MM) to discuss his
                performance, relating specifically to his poor Judgment when dealing with a customer.

                ft was outlined for John that he had allowed ifs Postrations to show and get in the way of
                appropriately dealing with a, eustorner when ,Jodi overheard him asking a customer, more
                than awl tu, when ho was done, put back the comforters that he had walled down to
                the floor. Each time Jahn said his tone Wane harsher.

                Jodi finther explained to John that as a Senior Manager, he sets the example for the store:
                Jodi utiarstabd that the customers response was very demeaning, but that John needed to
                maintain our level of service with the customer and acljust his tone and body language.

                Jodi expressed her disappointment in John's actions, ancl.made it clear that any violation
                of company policy, or any other action) which in the opinion of management Is
                detrimental to the orderly conduct or integrity of the business, will result in disciplinary
                action, op to and including immediate termination of employment,



                                     W'
                Jo    old
                S ors Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 117 of 130 PageID #:1257




         John Dunne
         Assistant Manager #1246
         DOH: 7/30/07
         March 26, 2014
         Record of Conversation

         Today, 3/26/14, Jodi Gold (SM) had a conversation with John Dunne (Assistant
         Manager) regarding his performance; relating specifically to his failure to follow up on
         MOD walks.

         It was explained to John that the stores compliance in these areas is not acceptable and
         consistently puts the Managers in a position where tasks are not completed and/or results
         in customer service issues. Jodi further explained that this was the third conversation
         addressing the lack of compliance on the MOD forms.

         Jodi explained to John that she expects him and any other Manager to be following up on
         all areas of responsibility within his role, and that failing to do so negatively effects the
         overall performance of the building and creates service issues.

         Jodi expressed her disappointment in John's lack of follow through and explained the
         expectations that Bed Bath & Beyond has for all managers, and made it clear that any
         violation of company policy, or any other action, which in the opinion of management is
         detrimental to the orderly conduct or integrity of the business, will result in disciplinary
         action, up to and including immediate termination of employment.




         Jodi old
         Stor anager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 118 of 130 PageID #:1258




         John Dunne
         Assistant Manager #1246
         DOH: 7/30/07
         March 26, 2014
         Record of Conversation
         Today, 3/26/14, Jodi Gold (Store Manager) spoke with John Dunne (ASM) to discuss his
         performance, relating specifically to his poor judgment when speaking in an
         unprofessional tone.

         It was outlined for John that he had allowed his frustrations to show and get in the way of
         appropriately dealing with Associates and fellow Managers,

         John chose to address his concerns about the recovery of the building with another Senior
         Manager on the walkie talkie. Jodi explained to John that addressing his concern in a
         public forum was a poor decision on his part and he should speak to another Manager
         privately if he has concerns. Additionally, John should keep in mind that there will
         always be situations in the building that may prevent things from happening as we would
         like, but he should be sure to ask the questions first,

         Jodi also explained toJohn that it had come to her attention that he began to argue back
         and forth with an Associate who kept another Associate later than the scheduled shift to
         help deal with lines on the front end. John said that when Stephanie Cifuentes got loud
         with him, he started getting loud back.

         Jodi reminded John that as a Senior Manager, he sets the example for the store. Jodi
         further explained that they do not manage people or situations by screaming, and that is
         the.Managers' responsibility to teach, train and coach the Associates in order to best. .
         correct their actions and ensure that they understand the "whys."

         Jodi expressed her disappointment in John's actions, and made it clear that any violation
         of company policy, or any other action, which in the opinion of management is •
         detrimental to the orderly conduct or integrity of the business, will result in disciplinary
         action, up to and including immediate termination of employment.
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 119 of 130 PageID #:1259




         John Dunne
         Assistant Manager #1246
         D011: 7/30/07
         July 29, 2014
         Record of Conversation
         Today, 7/29/14, Jodi Gold (SM) had a conversation with John Dunne (Assistant Manager) regarding his
         performance.

         It was explained to John that while Jodi was on vacation, he and the other Senior Managers failed to
         maintain standard routines already established in the store, such as;
             • MOD forms being completed to include EAS walks
             • Put away portion of the Merchandise Planner not completed at all
             • Board Meeting paperwork was incomplete
             • EAS Cage audits were incomplete

         Jodi explained to John that he is expected to follow up on all areas of responsibility within his role, and that
         failing to properly execute the above negatively impacts the overall performance of the building.
         Additionally, Jodi reiterated the importance of staying on routines.

         Jodi expressed her disappointment in John's actions, and made it clear that that any violation of company
         policy, or any other action, which in the opinion of management is detrimental to the orderly conduct or
         integrity of the business, will result in disciplinary action, up to and including immediate termination of
         employment.




         Jodi
         Sto      nager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 120 of 130 PageID #:1260




         John Dunne
         Assistant Manager #1246
         DOH: 7/30/07
         August 12, 2014
         Record of Conversation

         Today, 8/12/14, Jodi Gold (Store Manager) had a conversation with John Dunne (Assistant
         Manager), regarding John's poor performance, relating specifically to failure to complete
         appropriate tasks and Managerial responsibilities.

         Today, Jodi specifically addressed to orders that auto cancelled on 8/1/14: John was made aware
         and reminded that the orders were in the system and printed for him, but failed to grab the orders
         to pull the items.

         Jodi explained the importance on following up on these orders and that as the MOD it is his
         responsibility to ensure that the items are pulled promptly and the customers needs are met.

         Jodi reviewed the expectations that Bed Bath & Beyond has for all managers, and made it clear
         that any violation of company policy, or any other action, which in the opinion of management is
         detrimental to the orderly conduct or integrity of the business, will result in disciplinary action, up
         to and including immediate termination of employment.
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 121 of 130 PageID #:1261




          John Dunne
          Assistant Manager #1246
          DOH: 7/30/07
          January 2, 2015
          Record of Conversation


          Today, 1/2/15, Keith Haack (SM) spoke to John Dunne (Assistant Manager) regarding
          his overall performance, as it relates specifically to customer service. It was discussed
          that John had failed to follow the steps of LEAD to appropriately deal with a customer
          situation.

         Keith explained to John that when he realized the customer was returning a different item
         than the one that was supposed to be in the box he denied the return and told the customer
         he would research the information and get back to her. John failed to followup on the
         return and did not contact the customer. Keith further explained that he should validate
         the return by checking the return history to ensure this was not an LP issue. If it turned
         out that he could not accommodate the customer, he should have partnered with DCST to
         assist in addressing the matter, but to not get back to the customer was completely
         unacceptable,

         John did not practice Lead and deliver the service expected by the customer. John failed
         to show the sense of urgency the customer had expected.

         Keith expressed his disappointment in John's lack of commitment to customer service
         and explained that making a customer happy is ALWAYS the top priority in our
         company; Keith also illustrated to John the negative-effeets not empathizing with the
         customer and not resolving their issues can create within the store. Keith explained to
         John that as an Assistant Manager it is his responsibility to lead by example and drive our
         high level of service standards.

         Keith explained to John how he needs to be a champion of service in the store and always
         fester our LEAD philosophy. Keith further explained the expectations that Bed Bath &
         Beyond has for all managers and made it clear that any violation of company policy, or
         any other action, which in the opinion of management is detrimental to the orderly
         conduct or integrity of the business, will result in disciplinary action, up to and including
         immediate termination of employment.




        2-      72/ s
        Keit Haack, Store Manager
                 WI      VIM ilS
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 122 of 130 PageID #:1262



2014-10-15 05:45                         0781 8452980821 >> SpanDSP Fax Ident                                         P 20/21
        04-:19-'15 A3:33 FROM.. •                                                                   T-243 P0003/0003 1-1087




                 John DuAde
                 ANNistuot Matador M1246
                 DOR; 7/30/07
                 March 4, 2015
                 Record of COIDITMIthill

                 Today, 3/4/15, Keith Haack (store Manager) had a convemalip i withJohji butato (Assiatant
                 Manager), vegartling John' poor srformance, telatiog spocifl. illy to thih0. to complete
                 appropriate tasks and Managerial vesponaltdlitlel

                 Tod*, Xelth specifically addressed Jelm'a fiatturo to comple
                                                                             1J    ny of his MOD walks during 1113
                 S MOD walks on the week ending 2/28/15.
                 Keith explained the importance of the MOD program and tha ecordinglua ObServullous and
                 trainintv, (luring a 3hiii is an integral part of the program_
                Keith teVieWed the expectations that lied Bath &Beyond had, all manners, nut] male clear
                that. anYilloIntion of company policy, or nny other action, wh HI in tire, opinion of management is
                detrimental to the orderly conduct or integrity ditto busmen 4111 result in disnipiiiho Action, up
                to awl Including inunedintc tonninntloti of employment_


                                                                                1
                Keith fInnok
                Store Manager

                         {crock

                                                                             NII



                                                                              yi
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 123 of 130 PageID #:1263




          John Dunne
          Assistant Manager #1246
          DOH: 7/30/07
          May 12, 2015
          Record of Conversation
          Today, 5/12/15, Keith Haack (Store Manager) had a conversation with John Dunne (Assistant Manager)
          regarding his performance; relating specifically to his failure to comply with minor laws.

          On 4/30/15 a minor was scheduled from 5:30 to 9:00 pm. Instead, the Associate worked from 6:11 pm until
          10:30 pm.

          It was explained to John that he had failed to follow through on this area of responsibility within the store,
          despite the clear direction and understanding that it Is the Managers responsibility to closely monitor and
          regulate all minor schedules and breaks to ensure compliance. Keith expressed to John that he is ultimately
          failing to hold himself accountable for not executing these specific best practices, allowing two violations
          hi one shift — working over four hours and past 10:00 pm.

          Keith explained to John that he expects him to be following up on all areas of responsibility within his role,
          and that failing to execute the above negatively impacts the overall perfbrmance of the building.

          Keith expressed his disappointment in John's actions, and made it clear that any violation of company
          policy, or any other action, which in the opinion of management is detrimental to the orderly conduct or
          integrity of the business, will result in disciplinary action, up to and including immediate termination of
          employment.




          Keith Haack
          Store Manager
                               lire it) )--ieftlth
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 124 of 130 PageID #:1264


2015-05-30 13:06                            0781 8452980821 » 19148851064                                      P 15/26



           John Dunne
           Assistant Manager #1246
           0011: 7/30/07
           August 24, 2015
           Record of Conversation

           Today, 8/24/15, Keith Haack (Store Manager) had a conversation with John Dunne (Assistant
           Manager) regarding his performance; relating specifically to the following:

               • Failing to complete the weekly store checklist that was due on 8/21/15
               • Failing check for ROPIS orders during his LOD shift on 8/24/15 resulting in an auto
                 Cancel on the order

           Keith explained to John that he expects him to be following up on all areas of responsibility
           within his role, and that failing to execute the above negatively impacts the overall performance
           of the building,

           Keith also explained that it is part ofJohn's responsibility, as a Manager, to 0113(1r0 that she
           completes assigned projects on time,




           Keith Haack
           Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 125 of 130 PageID #:1265




       John Dunne
       Assistant Manager #1246
       DOH: 7/30/07
       January 5, 2017
       Record of Conversation
       Today, 1/5/17, Cian Maggiore (Store Manager) spoke with John Dunne (ASM) to discuss
       his performance, relating specifically to his poor judgment when speaking in an
       unprofessional tone.

       It was outlined for John that he had allowed his frustrations to show and get in the way of
       appropriately dealing with a fellow ASM and the Store Manager,

       Cian reiterated fro John that he had lost is temper and was screaming at Cian and Chun
       about an Associate calling out. John was swearing and yelling at Clan in front of quill.

       Cian reminded John_that.as a Senior Manager, he sets the example for the store. Cian
       further explained that they do not manage people or situations by screaming, and that is
       the Managers' responsibility to teach, train and coach the Associates in order to best
       correct their actions and ensure that they understand.

       John apologized for his behavior and understood that this Would not he tolerated moving
       forward.

       Clan expressed his disappointment in John's actions, and made it clear that any violation
       of company policy, or any other action, which in the opinion of management is
       detrimental to the orderly conduct or integrity of the business, will result in disciplinary
       action, up to and including immediate termination of employment.




                      j        a()
       Clan Maggior6
       Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 126 of 130 PageID #:1266




                      EXHIBIT 16
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 127 of 130 PageID #:1267



             02-28—'14 08:07 FROM—Bed Bath & Beyond                                                    7168254120                                       T-146 P002/003 F-308


         BED BATH &                                        'ace VALuEs.                                                'clittsirmL
                                                                                                                          ifeesuups
                                                                                                                                                                buarbutv
                                                                                                                                                                BABY
         Beyond any stare of its kind!

ASSOCIATE SEPARATION FORM(Use this form whenever an associate resigns or is terminated)
        Complete and review sections t41 belmv                           2. Ensure that separating associate roads section 10 and shins as Indicated
     3. Review And confirm all hears; obange status in Time & Attendance 4.If Applicable, submit anal pay request to Corporate payroll
     5. CT, OA, LA, MA, NJ, NM, NY anti TN;                              6. Notify TSMJC &press via WeltSep
               Process your STATE'S SEPARATION NOTICE

                                                                                                     REDACTED
1.   NAME:                                       SOCIAL SECURITY It                    z                         STORE # ..5;"77
• JOB CLASSIFICATION (check one):                        Part Time                                Full Time               cr Mgmc
                                              (Lest than 35 has par wk)              (35or more hat per wk)
.71. START DATE:                   LAST DAY WORKED:                                         SEPARATION DATE:
                                   (this dote represents the jefi( day the asseefloi        (see ** at buttons of farm far situations where SEPARATION
                                                physically narked)                                      DATE differs from LAST bAY WORKED)
.4. REASON FOR LEAVING - Check all that apply:
RESIGNAT/ONTVOLUNTARY:                      TERMINATION/INVOLUNTARY:                               TALNJUCEXPRESS CODE USED:
      Better Job Opportunity                         Job Elimination                                                  /
      Return To School                               Poor Performance
 _ Medical
      Joh Abandonment
                                                _,_./Misconduct
                                                     Other
                                                                                                                     Z
                                                                                                  EPARATION PROCESSED THRU WEB SEP
                                                                                                   (Cheek box once completed)
      Scheduled Work Rows 0 too many / 0 too few
      Other (Give specie roam)
5.   CO    ANY PROPERTY ftETURNED - Check all that apply:                                                  6. BENEFITS — Check, if applicable:
         eys (store, terntinals, thermostats)                                                                    Associate informed of COBRA
        Alarm, telephone and computer access codes erased
     _Associate loans repaid in :Nil
     e/Narac Badge
        Other
7, FINAL PAY - Check all that apply:                                                                       8. CURRENT ADDRESS:
         Vacation/Floating Holiday/Comp. day adjustment made
         in Time & Attendance                                                                              Address           /5- 7:;
           Indicate plus or minus days for vacation adjustment:
           Indicate Floating Ho VC,omp, days owed (if applicable)
         Associate/Employer agree on final check:
         Based on          days worked for salaried associates                                            City
         Based on          hours worked for hourly associates
        Associate received final check today in the amount of $
         If applicable, associate loan paperwork forwarded to payroll                                      State                                        zip cede / 7,4) (
        Associate will return to store to pick up check on
        If applicable, final paycheck mailed to Address noted in #8
9_ USE BACK SIDE OF THIS FORM FOR ASSOCIATE COMMENTS, IF ANY.
10. Separating associate is to read this section before signing form:
    • An adjustment may he made to your final paycheck for any vacation time you had taken but not yet accrued, or that you had accrued but not yet
          taken, Any such adjustment is set forth above in Section 7.
          As you leave us, we wanted to remind you of your continuing obligation not to disclose to anyone any confidential business and/or proprietary
          Information regarding Bed Bath & Beyond audits operations. Please 430 make sure you have returned all documents and other items such as
          records, computer tiles, computer disks, manuals and notes relating or belonging to the company. You may not take any such materials with you.
          These things are important to company, as yo may remember from your associate handbook, and that is why your obligation of confidentiality
          continues even after you le,           e ployment w us.
    I fully understand the informatio a               dad         ction 10. If there is anything that I did not understand, I have asked for an e%anation.
    Associate's Signature!'                                                                                                                                Dat
I1. Supervisor's Signature:                                                                                                                               Date a
    Store Manager's/Corp Counterpart' Signature:                                                                                                           Date
** ExAMPLES OF SEPARATION DAT DfFlqB                                     OM LAST DAY 'VV
    " MC Litt Day Worked WO aciesIly different then the reeipglen/lenninelien data,
    O     Yob Abandon...It:When en 0,310ehtte Is absent from work St Cleat nee nasty do store fora specific period of dmr, separation am the date that the decision wos made to equate
           umpleynteet.
     o     Failure In return Mink LOAAVC: the separation dela Is the dote thst. the SelOtIete WAS teheduled to mum from an approved LOA ne WC leas o.
     •       &art th drum kolykydgmlow use scparotian deco its the date In which thc Associate wan scheduled to return Doman approved vacation.
                                                                                                              HR 041.1A Se 18 —2194; 610i; 5/02; 5/04; 5/04; 2/01; 3/10; 2/I I; rev 5/12
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 128 of 130 PageID #:1268




        Recap of Conversation in regards to inappropriate comments made by Chris Dykeman


       Chris Dykeman
       ASM Store 515

       On Friday 1/8/10 SM Derrick Cranston and I sat down with Chris to discuss his poor
       judgment and inappropriate comments he was making to another Manager in the
       building.

       I first asked Chris if he knew why I was there to speak to him, he responded that he did
       not. 1 then asked if he remembered the conversation that Sr. DM Brian Walsh and Region
       HR Manager Brian Snell had with him on 11/25/09 in regards to him making some
       inappropriate comments to another individual in the building. Chris responded that he
       did, I then asked him if he had made any comments in particular to ASM Bob Clos in
       regards to SM Derrick Cranston. At that point he referenced a conversation that he and
       Bob-were-having in a -"Joking" manor-in-reference to Bob being-Derrick's favorite-now
       and that bob was in the "circle" and Chris was out. I then asked Chris at any point did he
       stand behind Derrick while he was having a conversation with Bob and rub his nose
       insinuating to bob that he was a "brown noser" (so that derrick could not see him). At that
       point Chris admitted that he had done that.

       I again referenced the conversation that Brian Walsh and Brian Snell had with him on
       11/25 and asked him what part of his job in jeopardy due to poor judgment and
       inappropriate conduct did he not understand.

       I reminded Chris that his job is already in jeopardy for his judgment and conduct,
       and that he needs to refrain from this behavior towards ANY other employee in the
       building going forward. Chris acknowledged that he understood and we ended the
       conversation.



       Robert Schmeer
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 129 of 130 PageID #:1269


 MAR-23-2010 11:28AM   FROM-Bed Ba+h & Beyond 515                    3154467579             T-182   P.002/002   F-400




             Christopher Dykenian
             March 14, 2010
             ASM Store #515
             1)011: 3/3/08
             NTF-Key Turn Approval Violation

              On March 14, 2010, Derrick Cranston (SM) spoke to Chris Dykeman, (ASM) regarding
              his violation of the company policy on key turn authorizations.

              Chris keyed a manager approval on 3/5/10 on an employee sale in which the cashier was
              the employee making the purchase. (Cherese Tones on register 52 at 9:35 pm; transaction
              7943), Bed Bath & Beyond has loss prevention guidelines that do not allow a cashier to
              key his/her own employee sale. The manager approving the sale must confirm the policy
              is being followed.

              Derrick expressed his disappointment in Chris's actions, and Derrick made it clear that at
              no time should Chris approve a transaction that violates company policy. Derrick told
              Chris that further violations of company policy will result in disciplinary action, up to
              and including tenninatio




              Derrick Cranston, Store Manager
Case: 1:17-cv-05124 Document #: 61 Filed: 12/20/17 Page 130 of 130 PageID #:1270




       Christopher Dykeman
       DOH 3:3-08
       ASM # 511
       2-27-14



       RE: Termination of Chris Dykeman


       Today, 2-27-14, Rob Schmeer (District Manager) and John Cairnduff (District HR
       Manager) met with Chris to discuss the resolution of the case regarding the missing
       deposit from 12-13-13 in store 511.

       Rob, John, and Chris were together in the Store Manager's office. Rob advised Chris that
       we were there to discuss the closure of the case that he and Scot Tadusz (Area LP
       Manager)_had discussed_with him previously—Rob advised-Chrs-that atler-reviewing the
       facts and a lot of discussion with district, regional, and corporate personnel, that the
       decision has been made to terminate his employment with Bed Bath, and Beyond.

       Chris replied — wow, this is wrong, this is wrong. Rob asked him what he meant. Chris
       replied — you are going to separate me for a mistake, for one mistake. Rob replied this is a
       very big mistake. A $1200 mistake. Chris replied — you are telling me that all the
       mistakes that people have made throughout the company that they were terminated. Rob
       replied I can't discuss other scenarios as I don't have the facts and I couldn't anyway.
       Rob said - I will tell you that this was a tough decision but it was a decision that had to be
       made. Chris did not have much more to say.

       John provided Chris with the New York State —Benefits separation document. John also
       asked Chris to sign the Bed Bath and Beyond separation document which Chris did. John
       asked Chris for his name tag and his keys which Chris provided. John asked Chris if he
       wanted to take a moment and collect any personal belongings. Chris stated he only had a
       sweatshirt, in the break room which he retrieved. He grabbed his coat and left.

       Rob advised Chris Sweeney to turn off any access codes and take Chris off the alarm list.
       Chris Sweeney advised these were completed.




       John Cairnduff
       District HR Manager
